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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION

United States of America                      §
ex rel. ALEX DOE, Relator,                    §
                                              §
The State of Texas                            §     CIVIL ACTION NO. 2:21-CV-00022-Z
ex rel. ALEX DOE, Relator,                    §
                                              §
The State of Louisiana                        §
ex rel. ALEX DOE, Relator,                    §     Date:       February 21, 2023
                                              §
        Plaintiffs,                           §
v.                                            §
Planned Parenthood Federation of America,     §
Inc., Planned Parenthood Gulf Coast, Inc.,    §
Planned Parenthood of Greater Texas, Inc.,    §
Planned Parenthood South Texas, Inc., Planned §
Parenthood Cameron County, Inc., Planned      §
Parenthood San Antonio, Inc.,                 §
                                              §
        Defendants.                           §
                                              §

            SECOND SUPPLEMENTAL APPENDIX IN SUPPORT OF
        AFFILIATE DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




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                Tex. Mot., Dkt. 99, PPGC v. Smith, 1:15-cv-01058-
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                LY (W.D. Tex.)

                La. Mot., Dkt. 53-1, PPGC v. Kleibert, No. 3:15-cv-
Oct. 14, 2015                                                           App. 897-921
                565 (M.D. La.)

                Excerpts of Hr’g Tr., Dkt. 59, PPGC v. Kleibert, No.
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                3:15-cv-565 (M.D. La.)

                La. Br., Dkt. 22-2, Kliebert v. PPGC, 15-30987 (5th
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                Cir.)

                Excerpts of Rule 30(b)(6) Deposition of Texas Health
Dec. 6, 2022    and Human Services Commission (HHSC) and the            App. 992-93
                State of Texas (Zalkovsky)

                Excerpts of Rule 30(b)(6) Deposition of Texas Health
Dec. 7, 2022    and Human Services Commission (HHSC) and the            App. 994-95
                State of Texas (Goldstein)

Mar. 9, 2022    Defendants’ Rule 26 Disclosures                         App. 996-1004


Aug. 25, 2022   Defendants' Supplemental Initial Disclosures            App. 1005-12

Nov. 22, 2022   Affiliate Defendants’ Production of Documents           App. 1013-14

n/a             Production Download Report                              App. 1015


Dec. 2, 2022    Defendants’ Fifth Supplemental Rule 26 Disclosures      App. 1016-19

                Texas’s Answers to Affiliate Defendants’ First Set of
Jul. 1, 2022                                                            App. 1020-45
                Interrogatories
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

   PLANNED PARENTHOOD OF         §
   GREATER TEXAS FAMILY PLANNING §
   AND PREVENTATIVE HEALTH       §
   SERVICES, INC., et al.,       §
                                 §
        Plaintiffs,              §
                                 § Civil Action No.1:15-cv-01058-SS
   v.                            §
                                 §
   CHARLES SMITH, et al.,        §
                                 §
        Defendants.              §




         REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)


         Aside from using their response as yet another opportunity to repeat their

   irrelevant and tired arguments as to the merits of the case, Plaintiffs’ arguments

   against the actual motion at issue—Defendants’ motion to dismiss—are incorrect.

   Plaintiffs’ complaint is insufficient to state a claim under the Equal Protection Clause

   of the Fourteenth Amendment, and the Provider Plaintiffs’ claim under 42 U.S.C. §

   1396a(a)(23) should also be dismissed because there is no private right of action for

   providers under that provision of the Medicaid Act.

   I.    Plaintiffs Fail to Assert a Cognizable Claim for Equal Protection.

         A.     Plaintiffs have not pleaded a valid claim under a class-of-one
                theory, and they have not properly pleaded any other basis for
                their equal protection claim.



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         Perhaps in recognition of their pleading deficiency, Plaintiffs now attempt to

   recreate their bare-bones equal protection claim as based on the exercise of

   fundamental rights—namely, their provision of abortions and speech advocating for

   abortion rights. But that is not what they pleaded. In considering a motion to dismiss

   under Fed. R. Civ. P. 12(b)(6), the court “may not look beyond the pleadings.” Baker

   v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996). There is no allegation in Plaintiffs’

   amended complaint that bases their equal protection claim on their exercise of

   fundamental rights, nor did Plaintiffs point the Court to one in their response. 1 Thus,

   their pleaded claim is properly viewed as a class-of-one claim, which they cannot

   sustain.

         Plaintiffs first argue that their claim cannot be based on a class-of-one theory

   because they are not “one.” Setting aside the parties’ fundamental disagreement on

   that point for current purposes, Plaintiffs did not allege that they are members of a

   suspect class. 2 The amended complaint also does not allege that Plaintiffs were


   1 There was no allegation in the Amended Complaint that the Individual Plaintiffs

   have a cause of action under the Equal Protection Clause. There were no allegations
   relating to any action taken against the Individual Plaintiffs by the Defendants.
   Plaintiffs appear to concede that. See Pls. Resp. Mot. Dismiss at 5 (“Plaintiffs have
   more than sufficiently pleaded that Defendants singled out the Provider Plaintiffs
   from all other Medicaid providers in the state…”); see also Pls. Resp. Mot. Dismiss at
   6 (defining the supposed “class” as a “class of entities being singled out by Defendants”
   (emphasis added)). Thus, the rest of the discussion referring to “Plaintiffs” refers to
   the Planned Parenthood entities unless otherwise indicated.

   2 Plaintiffs’ claim to be politically unpopular is transparently false, given that they

   receive half a billion dollars in government funding every year. See
   https://www.plannedparenthood.org/files/2114/5089/0863/2014-
   2015_PPFA_Annual_Report_.pdf at 33 ($553 million in 2014-2015). Merely suffering
   political opposition does not grant Plaintiffs membership in a suspect class and does
   not state a claim.
                                              2




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   treated differently based on the exercise of a fundamental right. That they believe

   they are members of a class—of three instead of one—makes no difference for

   purposes of the class-of one theory. The “one” in “class of one” is simply a term of art,

   and does not legally function to limit claims based on a class-of-one theory to merely

   one plaintiff. See, e.g., Enquist v. Or. Dep’t of Agric., 553 U.S. 591, 594 (2008) (an

   Equal Protection claim based on a class-of-one theory is simply one where there is “no

   assertion that the different treatment was based on the employee’s membership in

   any particular class”).

         The Equal Protection Clause functions to prohibit differential treatment based

   on a suspect class or the exercise of a fundamental right without a compelling or

   substantial government interest, depending on the type of classification. Absent

   classification on either of those two grounds, the Equal Protection Clause merely

   prohibits arbitrary governmental classification without a rational basis. That is what

   is known as the class-of-one theory. Id. at 601-02. When the cases discuss

   discrimination based on membership in a “particular class”, they mean a suspect

   class. See e.g. id. at 601 (citing Pers. Adm’r. of Mass. v. Feeney, 442 U.S. 256, 279

   (1979), which involved a claim of sex discrimination, as an example of an equal

   protection case where plaintiffs allege they “have been arbitrarily classified as

   members of an ‘identifiable group’”).

         As the Supreme Court explained in Enquist, however, the class-of-one claim is

   limited to circumstances where there is a “clear standard against which departures,

   even for a single plaintiff, could be readily assessed.” Id. at 603. In situations

   involving state action featuring “discretionary decisionmaking based on a vast array
                                               3




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   of subjective, individualized assessments,” such as a state’s decision to retain a

   particular contractor, a class-of-one claim is not cognizable because it would

   “undermine the very discretion that state officials are entrusted to exercise.” Id;

   Integrity Collision Ctr. v. City of Fulshear, 837 F.3d 581 (5th Cir. 2016) (extending

   Engquist to the context of the state’s discretionary authority in managing its

   contractors).

         Contrary to Plaintiffs’ assertion, states have discretion to exclude providers

   and decide whether or not a particular Medicaid provider is “qualified” for purposes

   of 42 U.S.C. § 1396a(a)(23). The Medicaid regulations recognize a state’s authority to

   exclude a Medicaid provider as a state contractor “for any reason or period authorized

   by State law,” 42 C.F.R. § 1002.2(b), and allow states to set “reasonable standards

   relating to the qualifications of providers.” 42 C.F.R. § 431.51(c)(2). This expressly

   contemplates states filling in any gaps in the program’s administration not addressed

   by the federal statutes and is exactly how programs based on cooperative federalism

   are designed to work.

         In terms of § 1396a(a)(23), the Medicaid Act does not define “qualified.”

   Planned Parenthood Gulf Coast, Inc. v. Gee, 837 F.3d 477, 492 (5th Cir. 2016). While

   Gee held that a state cannot terminate a Medicaid provider for reasons unrelated to

   their qualifications, it was clear in holding that a state has the authority to both make

   determinations regarding qualifications as well as to terminate unqualified

   providers. Id. According to Plaintiffs’ argument, states would never be permitted to

   exclude a provider from Medicaid, but that is plainly inconsistent with the law.



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         Moreover, Gee’s definition of “qualified” is far from the “clear standard against

   which departures, even for a single plaintiff, could be readily assessed.” Gee defined

   “qualified” for purposes of § 1396a(a)(23) as being capable of providing services in a

   “professionally competent, safe, legal, and ethical manner.” Id. While what is “legal”

   may be fairly concrete (though in some circumstances can be reasonably debatable),

   the rest of the standard—professional competence, safety, and ethics—is certainly

   more fluid and involve a “subjective, individualized assessment” involving discretion.

   Thus, this is exactly the type of situation Enquist contemplated when it held that a

   plaintiff does not have a cognizable equal protection claim in situations where the

   government has discretion. Accordingly, Plaintiffs’ equal protection claim should be

   dismissed.

         B.     Even if Plaintiffs could make out a cognizable class-of-one claim,
                they failed to include specific allegations of differential
                treatment compared to similarly situated entities, and there is
                a rational basis for OIG’s actions.

         “Threadbare recitals of the elements of a cause of action, supported by mere

   conclusory statements do not suffice” to state a claim under Rule 12(b)(6). Ashcroft

   v. Iqbal, 556 U.S. 662, 678 (2009). A complaint does not suffice if it tenders only

   ‘“naked assertion[s]’ devoid of ‘further factual enhancement.’” Id. (quoting Bell Atl.

   Corp. v. Twombly, 550 U.S. 544, 557 (2007)). To state their equal protection claim,

   Plaintiffs failed to allege anything more particular than “Defendants’ actions violate

   Plaintiffs’ rights by singling them out for unfavorable treatment without adequate

   justification” and that Defendants’ bases for termination are “highly irregular.” Am.

   Compl. at ¶¶ 52, 89. But failing to allege a single example of a similarly situated

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   entity being treated more favorably is fatal to their claim. In the class-of-one context,

   there must be allegations of more favorable treatment to a party with high similarity

   to the plaintiff. See Jennings v. City of Stillwater, 383 F.3d 1199, 1210 (10th Cir.

   2004). Plaintiffs continually state that “Defendants have identified no other instance”

   in which it has terminated a provider under a similar circumstance, but it is not

   Defendants’ burden to prove Plaintiffs’ case, nor do Defendants have to provide

   anything at the 12(b)(6) stage. The only question is whether the live pleading is

   sufficient to state a claim, and it is not.

          In light of the weakness of their pleading, Plaintiffs attempt to bootstrap their

   claim to claims made by other Planned Parenthood entities in other states, arguing

   that their claims in those cases were not dismissed, so their claims here should

   survive. Aside from the fact that this is contradictory to Plaintiffs’ oft-repeated—and

   incorrect—claim that all Planned Parenthood entities are completely separate, it is

   also an ineffective argument because those cases involve entirely different facts and

   different claims. Planned Parenthood of Cent. N.C. v. Cansler, for example, was a

   decision at the summary judgment phase in which the state failed to provide any

   evidence justifying its decision to withhold certain funding from the state other than

   its disagreement with Planned Parenthood’s pro-choice viewpoint. 877 F. Supp. 2d

   310, 328 (M.D.N.C. 2012). That is clearly not the case here, as Defendants supported

   their termination of Planned Parenthood’s Medicaid provider agreements for cause

   with the video evidence as well as the evidence from the House Select Investigative

   Panel. Am. Compl. ¶¶49, 51.



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         Planned Parenthood Greater Memphis Region v. Dreyzehner is similarly

   distinguishable, as the court stated that the state in that case “failed to offer any

   rationale at all for its decision to terminate Planned Parenthood’s contracts,” 853 F.

   Supp. 2d 724, 737 (M.D. Tenn. 2012) (emphasis added). The other case cited by

   Plaintiffs is distinguishable on the same basis. See Planned Parenthood of Kan., Inc.

   v. City of Wichita, 729 F. Supp. 1282, 1291 (D. Kan. 1990) (“The record fails to reveal

   that at the time of the resolution the defendants even made the pretense of

   attempting [to find] a rational distinction between Planned Parenthood and other

   family planning organizations”). The plaintiffs in Dreyzehner also supported their

   equal protection claim with a dozen examples of similarly situated entities given more

   favorable treatment, which Plaintiffs have not done here. Id.; see also Planned

   Parenthood Ass’n of Utah v. Herbert, 828 F.3d 1245, 1257 n.5 (10th Cir. 2016) (noting

   same).

         Importantly, at the 12(b)(6) juncture, courts will dismiss a plaintiff’s class-of-

   one equal protection claim where there is a facially valid, rational explanation for the

   alleged differential treatment. See, e.g., XP Vehicles, Inc. v. Dept. of Energy, 118 F.

   Supp. 3d 38, 78 (D.C. Cir. 2015) (finding plaintiffs’ complaint did not contain

   sufficient allegations to survive defendant’s 12(b)(6) motion where there was no other

   similarly situated party and there was a rational basis for the differential treatment);

   Miller v. City of Monona, 784 F.3d 1113, 1121 (7th Cir. 2015) (affirming district

   court’s dismissal of plaintiff’s complaint on defendant’s 12(b)(6) motion where there

   was a rational basis for the challenged action); Jabary v. City of Allen, 547 Fed. Appx.

   600, 605 (5th Cir. 2013) (dismissing plaintiff’s equal protection claim where
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   government had an “obvious alternative explanation” for revocation of certificate);

   Louisiana Cmty. Dev. Capital Inv. Fund, Inc., 2015 WL 1737954, *9 (W.D. La. Mar.

   16, 2015) (dismissing plaintiffs’ class-of-one equal protection claim on a Rule 12(b)(6)

   motion where stated explanation for differential treatment was rational); Dennis

   Melancon, Inc. v. City of New Orleans, 2014 WL 1117881, *7 (E.D. La. Mar. 19, 2014)

   (dismissing plaintiff’s equal protection claim on a 12(b)(6) motion where local

   ordinances were rationally related to a legitimate government interest); Bennet v.

   City of New Orleans, 2004 WL 60316, *5 (E.D. La. Jan. 9, 2004) (dismissing plaintiffs’

   equal protection claims on a Rule 12(b)(6) motion because the city’s actions were

   rationally related to the city’s interests).

          Here, the Provider Plaintiffs’ Medicaid agreements were terminated for cause,

   based on the reasons and the evidence stated in the final notice of termination. Am.

   Compl. at ¶¶49, 51. Failure to adhere to medical and ethical standards is a rational

   basis for terminating a provider’s Medicaid agreement, no matter who the provider

   is. Because Plaintiffs have failed to allege any evidence of better treatment of

   similarly situated individuals—other entities found in violation of medical and

   ethical standards by the state—and because the proffered reason for the challenged

   treatment is rational, Plaintiffs’ equal protection claim should be dismissed.

   II.    The Provider Plaintiffs Have No Private Right of Action Under
          Section 1396a(a)(23).

          As set forth in Defendants’ Motion to Dismiss, the Provider Plaintiffs are not

   the intended beneficiaries of the free-choice-of-provider provision and therefore do not

   have a private right of action. The Fifth Circuit in Gee held only that the free-choice-

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   of-provider provision creates a private right of action that the Individual Plaintiffs,

   not the Provider Plaintiffs, may enforce through 42 U.S.C. § 1983. Neither the Fifth

   Circuit nor any other case cited by Plaintiffs has held that the Provider Plaintiffs may

   enforce the free-choice-of-provider provision.

         Plaintiffs’ response to Defendants’ Motion to Dismiss ignores the form and

   substance of their own pleadings, where they misleadingly conflated the claims being

   alleged by the Provider Plaintiffs with those being alleged by the Individual Plaintiffs.

   In other words, in Plaintiffs’ amended complaint, the Provider Plaintiffs attempt to

   assert their own claim—not a third party claim on behalf of their patients—for

   violations of the free-choice-of-provider provision. The law does not support such a

   claim being brought by the Provider Plaintiffs because they are not the intended

   beneficiaries of the free-choice-of-provider provision:

         The notion that respondents have a right to sue derives, perhaps, from
         the fact that they are beneficiaries of the federal-state Medicaid
         agreement . . . We doubt, to begin with, that providers are intended
         beneficiaries (as opposed to mere incidental beneficiaries) of the
         Medicaid agreement, which was concluded for the benefit of the infirm
         whom the providers were to serve, rather than for the benefit of the
         providers themselves. . . . Our precedents establish that a private right
         of action under federal law is not created by mere implication, but must
         be “unambiguously conferred.”

   Armstrong v. Exceptional Child Ctr., Inc., 135 S.Ct. 1378, 1387-88 (2015) (emphasis

   added) (citations omitted). To the extent that the Provider Plaintiffs are attempting

   to assert a cause of action under the free-choice-of-provider provision, their claim must

   be dismissed.




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         The Provider Plaintiffs appear to concede that they cannot bring this claim to

   vindicate their own rights. See Pls. Resp. Mot. Dismiss at 12-13. But they continue to

   argue that they can bring a claim on behalf of their patients based on the doctrine of

   third party standing. Third party standing is irrelevant, however, because the

   Individual Plaintiffs—patients of the Provider Plaintiffs—are parties to this lawsuit.

   The cases cited by Plaintiffs in their response all involve claims alleged by providers

   where no individual patient or Medicaid recipient was a plaintiff in the case. In other

   words, in every case cited where courts have allowed abortion providers or other

   Medicaid providers to assert third-party claims on behalf of their patients, the

   patients were not themselves a party. Third party standing, therefore, is unnecessary

   and is not supported by any of the cases cited by Plaintiffs. Thus, there is no basis to

   allow any claim under 42 U.S.C. § 1396a(a)(23) by the Provider Plaintiffs.

                                      CONCLUSION

         Defendants respectfully request that the Court grant Defendants’ Motion to

   Dismiss.

                                           Respectfully submitted.

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                            CERTIFICATE OF SERVICE

         I certify that on February 17, 2017, this document was served through the

   Court’s CM/ECF Document Filing System or through e-mail, upon the following

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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA

    PLANNED PARENTHOOD GULF
    COAST, INC.; JANE DOE #1; JANE
    DOE #2; AND JANE DOE #3,                                               NO. 3:15-cv-00565-JWD-SCR
                           Plaintiffs,
    v.

    KATHY KLIEBERT, SECRETARY,
    LOUISIANA DEPARTMEN OF HEALTH AND
    HOSPITALS,
                         Defendant


     MEMORANDUM IN SUPPORT OF MOTION TO DISMISS COMPLAINT FOR LACK
       OF SUBJECT MATTER JURISDICTION AND FAILURE TO STATE A CLAIM

           NOW INTO COURT, through undersigned counsel, comes Defendant Kathy Kliebert in

    her official capacity as Secretary of the Louisiana Department of Health and Hospitals, who, after

    being served with a copy of Plaintiffs’ Complaint (Doc. 1) and First Amended Complaint (Doc.

    43) (collectively, the “Complaint”), files this Memorandum in Support of her contemporaneously

    filed Motion to Dismiss. Defendant seeks dismissal of all claims brought in this lawsuit on the

    grounds that Plaintiffs fail to present a justiciable case or controversy (FED. R. CIV. P. 12(b)(1))

    and fail to state claims as to which relief can be granted (FED. R. CIV. P. 12(b)(1)).

                                   I.      PROCEDURAL POSTURE

           This lawsuit originally stemmed from notice sent by the Louisiana Department of Health

    and Hospitals (“LDHH”) to Planned Parenthood Gulf Coast (“PPGC”) on August 3, 2015,

    providing that, effective thirty (30) days from receipt of the notice, PPGC’s four Louisiana

    Medicaid provider agreements would be terminated. The notices of termination were provided

    pursuant to La. R.S. § 46:437.11, subsection D(1), which allows a provider agreement to be

    terminated by either party thirty (30) days after receipt of notice.


                                                      1




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            The August 3rd notices were then rescinded and PPGC was notified of this rescission by

    letters dated September 14, 2015. Letter from LDHH to Judge deGravelles, Doc. 46-1 at 27.

    Thereafter, on September 15, 2015, LDHH notified PPGC that DHH would be

    terminating/revoking PPGC’s four Louisiana Medicaid provider agreements based on an

    investigation of PPGC and in accordance with Title 50 of the Louisiana Administrative Code and

    the Louisiana Revised Statutes. See Letters from DHH to PPGC dated September 15, 2015, Doc.

    46-1 at 38-49. The notices explained that PPGC had a right to seek an informal hearing and/or

    administrative appeal of the termination, both suspensive. Specifically, the notices provided, “This

    action will take effect following final determination, judgment, completion, withdrawal from, or

    termination of all administrative and/or legal proceedings in this matter.” Id. To date, there has

    been no final determination.

              II.     MEDICAID: A COOPERATIVE FEDERAL-STATE PROGRAM

            The Medicaid program, created by Title XIX of the Social Security Act, is a form of

    cooperative federalism. It is a program “through which the federal government provides financial

    aid to states that furnish medical assistance to eligible low-income individuals.” S.D. ex rel.

    Dickson v. Hood, 391 F.3d 581 (2004). States which participate in the program must comply with

    the Medicaid Act’s requirements and regulations imposed by the Secretary of Health and Human

    Services (“HHS”). Id. (citing Evergreen Presbyterian Ministries, Inc. v. Hood, 235 F.3d 908, 915

    (5th Cir. 2000). To obtain federal funding, the state must submit a “State plan for medical

    assistance.” 42 U.S.C.A. § 1396a. “The State plan is a comprehensive written statement . . .

    describing the nature and scope of its Medicaid program. . . .” 42 C.F.R § 420.10 (2010).1



    1
     Louisiana’s State Medicaid Plan was approved by the Center for Medicaid Services (“CMS”). CMS is the agency
    within the Department of Health and Human Services which administers Medicaid. Hood, 391 F.3d at 586 (citing
    Louisiana v. United States Dep’t of Health and Human Servs., 905 F.2d 877, 878 (5th Cir. 1990).


                                                          2




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           Providers may be excluded from the Medicaid program by either the Secretary of HHS or

    the states themselves. The Social Security Act contains mandatory grounds upon which the

    Secretary of HHS must exclude providers from a federal health care program, including Medicaid.

    See Guzman v. Shewry, 552 F.3d 941 (9th Cir. 2008). Likewise, the Social Security Act contains

    discretionary grounds upon which the Secretary may exclude providers. Id.; see also, 42 U.S.C.A.

    § 1320a-7. Additionally, Part 1002 of the Medicaid regulations provide for “State-Initiated

    Exclusions from Medicaid.” Section 1002.2 recognizes a state’s authority to exclude a Medicaid

    provider;

                           General authority. (a) In addition to any other authority it
                   may have, a State may exclude an individual or entity from
                   participation in the Medicaid program for any reason for which the
                   Secretary could exclude that individual or entity from participation
                   in the Medicare, Medicaid and other Federal health care programs
                   under sections 1128, 1128A or 1866(b)(2) of the Social Security
                   Act.
                           (b) Nothing contained in this part should be construed to
                   limit a State's own authority to exclude an individual or entity from
                   Medicaid for any reason or period authorized by State law.

           As part of the state-initiated provider exclusion process, the federal regulations require

    state Medicaid agencies, such as LDHH, to allow the provider “‘the opportunity to submit

    documents and written argument against’ such exclusion and ‘any additional appeals rights that

    would otherwise be available under procedures established by the State.’” Guzman, 552 F.3d at

    951 (quoting 42 C.F.R. § 1002.213). In other words, federal law requires that a state provide a

    state-determined appeals process.

           Louisiana law sets forth several circumstances under which a provider may be terminated

    or excluded from participating in Medicaid. La. R.S. § 46:437.11; La. Admin. Code § 50:4147

    (also referred to as Surveillance and Utilization Review Subsystem or “SURS”). Those reasons

    include but are not limited to failure to comply with federal or state laws and regulations, failure



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    to comply with the Medicaid provider agreement, entering into a settlement agreement under the

    Federal False claims Act, and making false or misleading statements. See La. Admin. Code §

    50:4147.

      III.     OVERVIEW OF THE LOUISIANA ADMINISTRATIVE APPEAL PROCESS

             All Louisiana Medicaid providers must sign a provider agreement with the State of

    Louisiana providing, among other things, that they must abide by all federal and state laws, rules

    and regulations. La. Admin. Code § 50:10501; La. R.S. § 46:437.11. This includes the

    administrative process when LDHH seeks to terminate a provider agreement. When LDHH seeks

    to terminate a provider agreement, the provider is given written notice of the adverse action with

    the initial opportunity to seek an informal reconsideration. La. Admin. Code §§ 50:4161, 4203.

    As part of the informal reconsideration, providers are afforded the opportunity to seek more

    specific information as to the reasons for termination and are able to put forth evidence showing

    that termination was improper. La. Admin. Code § 50:4203. Providers also have the opportunity

    to file a formal administrative appeal. La. Admin. Code § 50:4211. If an administrative appeal is

    filed, the actions of LDHH are suspended and a full evidentiary hearing, complete with the

    opportunity to conduct discovery, is held by an independent Division of Administrative Law Judge

    to determine whether adequate reasons exist for termination. La. Admin. Code §§ 50:4169, 4211;

    see also, La. R.S. § 49:956. Because administrative review is suspensive, the failure to request

    review is tantamount to acceptance of the termination.

                                     IV.     LAW AND ARGUMENT

    A. The Court Lacks Subject Matter Jurisdiction.

             A challenge to subject matter jurisdiction pursuant to FED. R. CIV. P. 12(b)(1) may be raised

    at any time, by any party, or by the court sua sponte. Giles v. NYLCare Health Plans, Inc., 172



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    F.3d 332, 336 (5th Cir. 1999). Whenever a FED. R. CIV. P. 12(b)(1) challenge is raised in

    conjunction with another Rule 12(b) motion, “the court should consider the jurisdictional attack

    before addressing any attack on the merits.” Id.

           The burden of proof lies with the party invoking the court’s jurisdiction. Ramming v. U.S.,

    281 F.3d 158, 161 (5th Cir. 2001). “Lack of subject matter jurisdiction may be found in any one

    of three instances: (1) the complaint alone; (2) the complaint supplemented by undisputed facts in

    the record; or (3) the complaint supplemented by undisputed facts plus the court’s resolution of

    disputed facts.” Id.

          1.   Plaintiffs’ claims are not yet ripe for consideration; and thus, there is no case or
               controversy.

           Federal courts, pursuant to Article III, may only decide actual cases or controversies.

    Choice Inc. of Texas v. Greenstein, 691 F.3d 710, 714-15 (5th Cir. 2012) (citing New Orleans Pub.

    Serv., Inc. v. Council of New Orleans, 833 F.2d 583, 586 (5th Cir.1987)). Accordingly, “a court

    should dismiss a case for lack of ‘ripeness’ when the case is abstract or hypothetical.” Id. As

    recognized by the Fifth Circuit:

                   Article III of the United States Constitution provides that federal
                   courts have the power to decide only actual cases or controversies.
                   The justiciability doctrines of standing, mootness, political question,
                   and ripeness “all originate in Article III's ‘case’ or ‘controversy’
                   language ....” The ripeness doctrine also is drawn “‘from prudential
                   reasons for refusing to exercise jurisdiction.’” The ripeness
                   doctrine's “basic rationale is to prevent the courts, through
                   avoidance of premature adjudication, from entangling themselves in
                   abstract disagreements ....”

    Choice Inc. of Texas, 691 F.3d at 714-15 (internal citations omitted). The Fifth Circuit has

    repeatedly recognized that “[a] ripeness inquiry is often required when a party is seeking pre-

    enforcement review of a law or regulation.” Roark & Hardee LP v. City of Austin, 522 F.3d 533,




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    at 544 (5th Cir. 2008) (citing Poe v. Ullman, 367 U.S. 497, 81 S.Ct. 1752, 6 L.Ed.2d 989

    (1961); Lake Carriers' Ass'n v. MacMullan, 406 U.S. 498, 92 S.Ct. 1749, 32 L.Ed.2d 257 (1972))

           To determine whether claims are moot, a court must “evaluate (1) the fitness of the issues

    for judicial resolution, and (2) the potential hardship to the parties by declining court

    consideration.” Lopez v. City of Houston, 617 F.3d 336, 342 (5th Cir 2010), Choice Inc. of Texas,

    691 F.3d at 714-15 (citing Abbott Labs v. Gardner, 387 U.S. 136, 148, 87 S.Ct. 1507, 18 L.Ed. 2d

    781 (1967)). Generally, a case is ripe if purely legal questions remain and, conversely, not ripe “if

    further factual development is required.” Id. (citing New Orleans Pub. Serv., Inc. v. Council of

    New Orleans, 833 F.2d 583, 586. Nevertheless, if an issue is purely legal, “the plaintiff must show

    some hardship in order to establish ripeness.” Id. (citing Cent. & S.W. Servs., Inc. v. EPA, 220

    F.3d 683, 690 (5th Cir. 2000). “In this sense, the doctrines of ripeness and standing ‘often overlap

    in practice, particularly in an examination of whether a plaintiff has suffered a concrete injury.”

    Lopez, 617 F.3d at 342 (citing Texas v. United States, 497 F.3d 491, 498 (5th Cir. 2007), cert

    denied, 55 U.S. 811 (2008)). “If the purported injury is ‘contingent [on] future events that may

    not occur as anticipated, or indeed may not occur at all,’ the claim is not ripe for adjudication.”

    Id. (citing Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 580-81 (1985)).

                   a. Plaintiffs’ claims are not fit for judicial resolution.

           This lawsuit is not ripe for adjudication because Plaintiffs have suffered no injury and

    further procedural and factual development is required, as demonstrated by Plaintiffs’ due process

    claim (challenging the sufficiency of a suspended process that has barely begun) and their request

    to conduct expedited discovery in this proceeding. To be clear, this jurisdictional challenge is

    based on ripeness, not exhaustion. See Williamson County Reg’l Planning Comm’n v. Hamilton

    Bank of Johnson City, 473 U.S. 172, 191-92 (1985) (recognizing that the judicial doctrine of




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    exhaustion of administrative remedies is conceptually distinct from the question of whether an

    “initial decisionmaker has arrived at a definitive position on the issue that inflicts an actual,

    concrete injury.”) see also Rush v. Barham, -- Fed. Appx. --, 2015 WL 4467848 (5th Cir. 2015)

    (per curiam) (unpublished opinion affirming dismissal by Judge Brady based on lack of ripeness

    and noting that plaintiffs “confuse ripeness with an exhaustion requirement”), and Alvin v. Suzuki,

    225 F.3d 107, 116 (3rd Cir. 2000) (“exhaustion … is analytically distinct from the requirement

    that the harm alleged has occurred …”).

             Plaintiffs’ argument that their rights will be negatively impacted (in any way) “without an

    order from this Court prior to the morning of October 19, 2015” begs for an advisory opinion,

    which Plaintiffs can then use to decide their course of action. Two facts are certain: (1) Plaintiffs

    have not yet suffered any injury, and (2) Plaintiffs will not suffer any injury unless and until a

    decision is rendered at the end of the administrative review process to affirm the termination. No

    doubt, Plaintiffs’ rights may be impacted if PPGC inexplicably decides to forego the review

    process. But that contingency and how it may alter the rights of the parties are not before the

    Court.

             Rush, although unpublished, is instructive. In that case, the Fifth Circuit affirmed a decision

    by this Court (USDC No. 3:13-CV-723) dismissing a claim under 42 U.S.C. §1983 because further

    factual development was required to adjudicate the Plaintiffs’ claims. In particular, there was a

    pending state court proceeding (following an administrative proceeding) that may produce “fact

    findings relating to the issues in this suit.” For example, according to the Fifth Circuit, the

    plaintiffs complained about the lack of a hearing, yet there was a pending proceeding in state court

    addressing that same issue. Further, the court noted that there may be no basis for a constitutional

    claim if the agency orders are nullified.




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           Monk v. Huston, 340 F.3d 279 (5th Cir. 2003), is further instructive. In that case, the district

    court denied a motion to dismiss and entered a preliminary injunction enjoining state officials from

    considering permit applications relating to a landfill. The Fifth Circuit reversed on ripeness,

    reasoning that “[e]ven assuming plaintiffs have identified constitutionally protected property

    interests that would be harmed by approval of the permit application, they have not suffered any

    deprivation, because the [state agency] permitting process has not yet run its course. The

    application may or may not be granted, and thus plaintiffs may or may not be harmed.” Id. at 282.

    See also Pillar Panama v. Delape, 326 Fed.Appx. 74 (5th Cir. 2009) (per curiam) (unpublished

    opinion finding Lanham Act claim unripe because of uncertainty regarding property rights being

    adjudicated in Panama), and Zepeda v. Boerne Independent School District, 294 Fed. Appx. 834

    (5th Cir. 2008) (unpublished opinion finding claim against enrollment decision of school district

    both moot and unripe “when filed”).

           In the instant matter, PPGC is asserting a due process violation while simultaneously

    hinting that it may voluntarily elect not to participate in the process about which it complains. The

    Court should not help PPGC develop its strategy by previewing its inclinations about legal issues

    that are not properly before the Court.

                   b. Plaintiffs will suffer no hardship by withholding judicial review.

           The second factor in the test for ripeness is the hardship on the parties by withholding

    judicial review. Lopez, 617 F.3d at 342. The party seeking to invoke jurisdiction has the burden

    of demonstrating hardship. Choice Inc. of Texas, 691 F.3d at 715-16. That factor cannot be

    satisfied here because the review process is suspensive. PPGC omits any mention of this critical

    fact, despite great care by the Secretary to emphasize it in the notice letters.




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             2.   Plaintiffs lack standing because they have suffered no injury.

              The doctrines of ripeness and standing are closely related as both are justiciability doctrines

    originating in Article III.2 Both consider “whether the harm asserted has matured sufficiently to

    warrant judicial intervention.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).

    Specifically, they share the “requirement that the injury be imminent rather than conjectural or

    hypothetical.” Brooklyn Legal Servs. Corp. v. Legal Servs. Corp., 462 F.3d 219, 225 (2nd Cir.

    2006).

             The central focus in evaluating standing is “whether the litigant is entitled to have the court

    decide the merits of the dispute or of particular issues.” Mississippi State Democratic Party v.

    Barbour, 529 F.3d 538, 544-45 (5th Cir. 2008) (quoting Warth v. Seldin, 422 U.S. 490, 498

    (1975)). To establish standing, “a plaintiff must show: (1) it has suffered, or imminently will

    suffer, a concrete and particularized injury-in-fact; (2) the injury is fairly traceable to the

    defendant's conduct; and (3) a favorable judgment is likely to redress the injury.” Id. (quoting

    Houston Chronicle Publ'g Co. v. City of League City, Tex., 488 F.3d 613, 617 (5th Cir. 2007)

    (citation omitted)). An injury in fact is an invasion of a legally protected interest which is “actual

    or imminent, not conjectural or hypothetical.” Id. (quoting Lujan v. Defenders of Wildlife, 504 U.S.

    555, 560, 112 S.Ct. 2130, 2136, 119 L.Ed.2d 351 (1992)).

             Plaintiffs have not suffered nor are they about to suffer an “injury in fact” which is concrete

    and particularized, or actual or imminent. See American Forest and Paper Ass’n. v. U.S. EPA,

    137 F.3d 291, at 296 (5th Cir. 1998). The termination of PPGC’s provider contracts has not gone

    into effect. The Jane Doe Plaintiffs have not lost their ability to seek medical services from their



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      Justiciability concerns not only the standing of litigants to assert particular claims, but also the appropriate timing
    of judicial intervention.” Renne v. Geary, 501 U.S. 312, 320 (1991); see also LeClerc v. Webb, 419 F.3d 405, 413
    (5th Cir. 2005).


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    provider of choice. That PPGC’s contracts may be terminated or that the Jane Doe Plaintiffs may

    lose their ability to seek medical services of their provider of choice is speculative and insufficient

    to establish standing. Plaintiffs’ claims should be dismissed for a lack of standing.

    B.      Alternatively, Abstention is Appropriate.

         The purpose of abstention doctrines is to preserve the balance between state and federal

    sovereignty: “[T]he Supreme Court [has] ‘instructed federal courts that the principles of equity,

    comity, and federalism in certain circumstances counsel abstention in deference to ongoing state

    proceedings.’” Wightman v. Texas Supreme Court, 84 F.3d 188, 189 (5th Cir.1996) (quoting

    Fieger v. Thomas, 74 F.3d 740, 743 (6th Cir. 1996)).

         Pullman abstention applies where the state court has not been afforded “a reasonable

    opportunity to pass on underlying issues of state law and to construe the statutes involved.”

    Harman v. Forssenius, 380 U.S. 528, 534 (1965), citing Railroad Comm'n of Texas v. Pullman

    Co., 312 U.S. 496 (1941):

                   In applying the doctrine of abstention, a federal district court is
                   vested with discretion to decline to exercise or to postpone the
                   exercise of its jurisdiction in deference to state court resolution of
                   underlying issues of state law. Where resolution of the federal
                   constitutional question is dependent upon, or may be materially
                   altered by, the determination of an uncertain issue of state law,
                   abstention may be proper in order to avoid unnecessary friction in
                   federal/state relations, interference with important state functions,
                   tentative decisions on questions of state law, and premature
                   constitutional adjudication.

            Burford abstention is appropriate where there is a “possibility of unwarranted disruption of

    a state administrative process.” England v. Louisiana State Bd. of Medical Examiners, 375 U.S.

    411, 415 (1964), citing Burford v. Sun Oil Co., 319 U.S. 315 (1943). Burford abstention applies

    if the following two factors pertain, both of which are present in this case: “First, the presence of

    a complex state regulatory scheme which would be disrupted by federal court review; and,



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    secondly, the existence of a state-created forum with specialized competence in the particular

    area.”

             “[I]n the case of Younger abstention, the [Supreme] Court [is] concerned with federal court

    interference with a state’s ability to function. By blocking proceedings involving state

    governments, federal courts could interfere unduly with the state's ability to govern.” Royal Ins.

    Co. of America v. Quinn-L Capital Corp, 3 F.3d 877, 886 n.10 (5th Cir. 1993) (citing Younger v.

    Harris, 401 U.S. 37 (1971)).       Younger abstention “is appropriate where, absent bad faith,

    harassment, or a patently invalid state statute, federal jurisdiction has been invoked for the purpose

    of restraining state criminal proceedings or proceedings similar to criminal proceedings, such as

    nuisance proceedings antecedent to a criminal prosecution.” Towson v. Crain Bros., Inc., No. 06-

    10545, 2007 WL 2402634, *1, n.2 (E.D. La. Aug. 17, 2007) (quoting Woodward v. Sentry Select

    Ins. Co., No. 03-2481, 2004 WL 834634, at *3 (E.D.La.2004)) (internal citations omitted).

             Colorado River abstention holds that “Where timely and adequate state-court review is

    available, a federal court sitting in equity must decline to interfere with the proceedings or orders

    of state administrative agencies: (1) when there are ‘difficult questions of state law bearing on

    policy problems of substantial public import whose importance transcends the result in the case

    then at bar’; or (2) where the “exercise of federal review of the question in a case and in similar

    cases would be disruptive of state efforts to establish a coherent policy with respect to a matter of

    substantial public concern.” New Orleans Public Service, Inc. v. Council of City of New Orleans,

    491 U.S. 350, 361 (1989) (quoting Colorado River Water Conservation Dist. v. United States, 424

    U.S. 800 at 814 (1976)). Colorado River abstention is prudential and discretionary, resting on

    “considerations of wise judicial administration, giving regard to conservation of judicial resources

    and comprehensive disposition of litigation.” 424 U.S. at 817.




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              Because independent and adequate state agency and judicial proceedings exist to challenge

    LDHH’s termination of a Medicaid provider agreement, the federal court should abstain in favor

    of such proceedings under settled doctrines enunciated in Railroad Comm'n of Texas v. Pullman

    Co, Burford v. Sun Oil Co., Younger v. Harris and Colorado River Conservation District v. United

    States.

              Although these doctrines overlap to some degree in their scope and application, the

    principle animating them is clear, and has obvious application to the instant case: where state

    administrative proceedings and judicial review afford claimants adequate opportunity to test the

    constitutionality of state law, and the exercise of federal jurisdiction would jeopardize state efforts

    to establish state policy on matters of public concern, the court should abstain from hearing the

    case. The operation of abstention principles has been recognized by courts in the abortion context.

    See, e.g., Roe v. Rampton, 394 F.Supp. 677 (Dist. Utah 1975). Plaintiffs should not be indulged

    in their attempt to invoke the jurisdiction of this Court in the absence of State agency action against

    them that would delineate the LDHH’s interpretation of the challenged provisions, and in the

    presence of adequate state administrative and judicial procedures if that eventuality were to occur.

    C. FED. R. CIV. P. 12(b)(6) requires dismissal because Plaintiffs have failed to state a claim
       upon which relief can be granted.

              Dismissal is proper under FED. R. CIV. P. 12(b)(6) when the moving party demonstrates

    that the complaint fails to assert a “legally cognizable claim” upon which relief could be granted.

    Ramming, 281 F.3d at 161. The court may not look beyond the pleadings,3 which are to be

    considered by the Court “in a light most favorable to the plaintiff, and the allegations contained

    therein are taken as true.” Id. The pleading standard recently elucidated by the Supreme Court in



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      Sonnier v. State Farm Mutual Auto Ins. Co., 509 F.3d 673, 675 (5th Cir. 2007); Baker v. Putnal, 75 F.3d 190, 196
    (5th Cir. 1996); Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir. 2000).


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    Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662, 129

    S.Ct. 1937 (2009), has retired the “no-set-of-facts test”4 of Conley v. Gibson, 355 U.S. 41 (1957),

    in favor of a “plausibility” standard, which demands more than “an unadorned… accusation” of

    unlawful harm. Iqbal, 129 S.Ct. at 1949, citing Twombly, 550 U.S. at 555. Determining whether

    a complaint states a plausible claim for relief is a “common sense,” “context-specific task,” Iqbal,

    129 S.Ct. at 1950; and “where the well-pleaded facts do not permit the court to infer more than a

    mere possibility of misconduct, the complaint has alleged – but it has not ‘show[n]’ – ‘that the

    pleader is entitled to relief.’” Id. (quoting FED. R. CIV. P. 8(a)(2)).

             1. Plaintiffs have no property interest in the Medicaid provider contracts.

             The United States Supreme Court has held that the requirements of procedural due process

    apply only to the deprivation of interest encompassed by the Fourteenth Amendment’s protection

    of liberty and property. “To have a property interest in a benefit, a person clearly must have more

    than an abstract need or desire for it. He must have more than a unilateral expectation of it. He

    must, instead have a legitimate claim of entitlement to it.” Board of Regents of State Colleges v.

    Roth, 408 U.S. 564, 569 (1972). “Property interests, of course, are not created by the Constitution.

    Rather they are created and their dimensions are defined by the existing rules or understandings

    that stem from an independent source, such as state law – rules or understandings that secure

    certain benefits and that support claims of entitlement to those benefits.” Id. Other Federal circuits

    have consistently held that no protected property rights are implicated when states take various

    actions which may be adverse to Medicaid providers. Senape v. Constantino, 936 F.2d 687 (2nd

    Cir. 1991).



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      See, e.g., Piotrowski v. City of Houston, 51 F.3d 512, 514 (5th Cir. 1995) (holding dismissal warranted if it appears
    certain that the Plaintiffs cannot prove any set of facts in support of their claims that would entitle them to relief)
    (citing Lefall v. Dallas Indep. Sch. Dist., 28 F.3d 521, 524 (5th Cir. 1994)).


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            Three decisions by the Second Circuit are particularly applicable to the matter before this

    Court. In Plaza Health Laboratories, Inc. v. Perales, the court noted that, as in this case, “the

    combination of rights reserved by the State with regard to Medicaid providers, allowing DSS to

    terminate without cause on 30 days’ notice or to terminate or suspend immediately in certain

    circumstances, casts doubt on whether the provider’s interest in continuing as a provider, either

    indefinitely or for any period without interruption, is a property right that is protected by due

    process.” Plaza Health Laboratories, Inc. v. Perales, 878 F.2d 577, 691 (2nd Cir. 1989) (emphasis

    added). The Second Circuit later referred to this determination in Senape v. Constantino, where it

    found the same reservation of rights by the state, saying those circumstances “convince us that our

    doubts in Plaza Health were well-founded and that appellant has no property right to continued

    enrollment as a qualified provider.” Senape, 936 F.2d 687, 691 (2nd Cir. 1991) (emphasis

    added).5

            Likewise, the Second Circuit referred to Plaza Health in the Kelly Kare, Ltd. v. O’Rourke

    case. 930 F.2d 170 (2nd Cir. 1991). Kelly Kare involved termination of a Medicaid provider

    contract without cause. While distinguishing Plaza Health, the holding in Kelly Kare was the

    same: a provider has no property interest in continued participation in the Medicaid program. Id.

    at 176. The court explained that the state laws and regulations at issue allowed the provider to be

    terminated without cause. “Such vast discretion over the conferral of a governmental benefit –

    namely, continued, uninterrupted participation in Medicaid – is fatal to a claim of entitlement to

    that benefit.” Id. In the present matter and in regards to a “for convenience” or a “for cause”

    termination, the Medical Assistance Program Integrity Law (MAPIL) statute and the LDHH rules,



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     See also, Guzman, 552 F.3d at 953 (quoting Erickson v. United States ex rel. Dep’t of Health & Human Servs., 64
    F.3d 858, 862 (9th Cir. 1995)) (“a provider such as Guzman, does not ‘possess a property interest in continued
    participation on Medicare, Medicaid, or the federally-funded state health care programs.’”).


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    including SURS cited above, give the Secretary of LDHH various reasons for which a provider

    agreement may be terminated. La. R.S. 46:437.1, et seq; 50 La. ADC Pt I, § 4147. This right

    subjects Louisiana Medicaid providers to the same type of regulatory framework governing the

    New York Medicaid providers in Plaza Health, Senape and Kelly Kare

           Also relevant to the State’s determination is the Medicaid exclusion statute, found at 42

    U.S.C.A. § 1396a(p). That statute provides in part:

                    (p) Exclusion power of State; exclusion as prerequisite for
                    medical assistance payments; “exclude defined

                    (1) In addition to any other authority, a State may exclude any
                    individual or entity for purposes of participating under the State plan
                    under this subchapter for any reason for which the Secretary could
                    exclude the individual or entity from participation in a program
                    under section 1320a-7, 1320a-7a, or 1395cc (b)(2) of this title
                    [Medicare].
                                                     ....

                    (3) As used in this subsection, the term “exclude” includes the
                    refusal to enter into or renew a participation agreement or the
                    termination of such an agreement.

           The First Circuit has determined that the italicized language in the Medicaid exclusion

    statute (“In addition to any other authority”) “permit[s] a State to exclude an entity from its

    Medicaid program for any reason established by state law.” First Medical Health Plan v. Vega-

    Ramos, 479 F.3d 46, 53 (1st Cir. 2007) (emphasis added). Such a conclusion is supported by 42

    C.F.R. § 1002.2 which provides, “Nothing contained in this part should be construed to limit a

    State’s own authority to exclude an individual or entity from Medicaid for any reason or period

    authorized by State law.” As recognized by Vega-Ramos, “[w]hile Medicaid is a state-run

    program, [the state] accepts federal Medicaid funds and thus must comply with federal Medicaid

    laws.” Id. In reaching its conclusion, the First Circuit quoted from the legislative history of the

    Medicaid Act:



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                   The [Medicaid exclusion] statute expressly grants states the
                   authority to exclude entities from their Medicaid programs for
                   reasons that the Secretary could use to exclude entities from
                   participating in Medicare. But it also preserves the state’s ability to
                   exclude entities from participating in Medicaid under ‘any other
                   authority.’ The legislative history clarifies that this ‘any other
                   authority’ language was intended to permit a state to exclude an
                   entity from its Medicaid program for any reason established by state
                   law. The Senate Report states:

                         The Committee bill clarifies current Medicaid Law by
                         expressly granting States the authority to exclude
                         individuals or entities from participation in their
                         Medicaid programs for any reason that constitutes a basis
                         for an exclusion from Medicare. . . . This provision is not
                         intended to preclude a State from establishing, under
                         State law, any other bases for excluding individuals or
                         entities from its Medicaid program.

    Id. (emphasis by the court) (quoting S. Rep. 100-109, reprinted in 1987 U.S.C.C.A.N. at 700).

           Pursuant to 42 C.F. R 1002.100, and the Medicaid Exclusion statute discussed above, it is

    clear that a state agency, such as LDHH, may impose broader sanctions against a provider if it has

    authority to do so under State law. Pursuant to state law, Louisiana Medicaid provider agreements

    can be terminated for a variety of reasons. Plaintiffs have not argued that LDHH is without

    authority to terminate provider agreements. The LDHH has stated several such reasons in its

    termination letters. Thus, by clear application of federal regulation, in concert with State authority,

    LDHH has the authority to proceed against PPGC.

           In short, Medicaid providers do not have a property right in their Medicaid provider

    agreement and the income stream that it generates. Thus, PPGC has suffered no constitutional

    deprivation.

           2. Even if Plaintiffs have a property interest, due process has been satisfied.

           Even if Plaintiffs have a property interest, which they do not, due process has been satisfied.

    Due Process requires that a deprivation of life, liberty, or property “be preceded by notice and



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    opportunity for hearing appropriate to the nature of the case.” Mullane v. Central Hanover Bank

    & Trust Co., 339 U.S. 306, 313 (1950). “The root requirement” of the Due Process Clause is “that

    an individual be given an opportunity for a hearing before he is deprived of any significant property

    interest.” Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985) (quoting Boddie v.

    Connecticut, 401 U.S. 371, 379 (1971)). Accordingly, the essence of due process is notice plus an

    opportunity to be heard.

           The state plan in conjunction with the Louisiana Revised Statutes and Administrative Code,

    as set forth in previous sections of this memorandum, provide a detailed procedure by which

    providers may seek suspensive review of state adverse agency decisions. The procedure complies

    with the mandates of due process as well as the requirements of 42 C.F.R. § 1002.210; it includes

    notice given by DHH as well as the opportunity to conduct discovery, participate in informal

    hearing and then appeal adverse decisions following the hearing. In compliance with this process,

    PPGC was given notice that unless it requested an informal hearing or administrative appeal, its

    provider contracts would terminate thirty (30) days after notice of termination. (See Letters from

    DHH to PPGC dated September 15, 2015, Doc. 46-1 at 38-49).

           Additionally, the Jane Doe Plaintiffs cannot complain that their due process rights have

    been offended by virtue of not being given the opportunity to choose PPGC as its health care

    provider. First and foremost, PPGC’s provider agreements are still effective. Thus, the Jane Doe

    Plaintiffs have suffered no interruption in their services. Second, as recognized in Kelly Kare

    when Medicaid recipients urged a similar due process argument:

                   [A] Medicaid recipient’s freedom of choice rights are necessarily
                   dependent on a provider’s ability to render services. No cognizable
                   property interest can arise in the Medicaid recipient unless the
                   provider is both qualified and participating in the Medicaid program.
                   When the source of government benefits runs dry through legitimate




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                   state action, beneficiaries are hard-pressed to establish a legitimate
                   entitlement to that benefit.

    930 F.2d at 178 (citing O’Bannon v. Town Court Nursing Center, 447 U.S. 773, 798 (1980)). For

    these reasons, the Jane Doe Plaintiffs have no cognizable property interest in PPGC’s provider

    contracts nor can they complain of a denial of their due process rights.

           3. PPGC does not have a private right of action under 42 USC 1396a(a)(23) as a
              Medicaid provider.

           A plaintiff seeking §1983 redress must assert the violation of a federal right, not merely of

    federal law. Golden State Transit Corp. v. Los Angeles, 493 U.S. 103, 106 (1989). Determining

    what remedies are available for violations of a statute is a matter of statutory construction.

    Alexander v. Sandoval, 532 U.S. 275, 286 (2001) (“The judicial task is to interpret the statute

    Congress has passed to determine whether it displays an intent to create not just the private right

    but also a private remedy”).

           There are three factors used to determine whether a statutory provision creates a privately

    enforceable right: (1) whether the plaintiff is an intended beneficiary of the statute; (2) whether the

    plaintiffs’ asserted interests are not so vague and amorphous as to be beyond the competence of

    the judiciary to enforce; and (3) whether the statute imposes a binding obligation on the State.

    Blessing v. Freestone, 520 U.S. 329, 338 (1997).

           In accord with the reasoning in the U.S. Supreme Court’s recent pronouncement in

    Armstrong v. Exceptional Child Center, Inc., 135 S.Ct. 1378, the Medicaid Act’s exclusive

    provision for the enforcement of 42 U.S.C.A. §1396a(a)(23) is the withholding of Medicaid funds

    by the Secretary of Health and Human Services. See 42 U.S.C. § 1396c.

           Medicaid regulations permit States to establish “reasonable standards relating to the

    qualifications of providers.” 42 C.F.R. § 431.51(c)(2). By conferring judgment of a State’s




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    conduct upon the Secretary of Health and Human Services alone, Congress clearly “wanted to

    make the agency remedy that it provided exclusive,” thereby achieving “the expertise, uniformity,

    widespread consultation, and resulting administrative guidance that can accompany agency

    decision-making,” and avoiding “the comparative risk of inconsistent interpretations and

    misincentives that can arise out of an occasional inappropriate application of the statute in a private

    action.” Armstrong, 135 S.Ct. at 1386, citing Gonzaga Univ. v. Doe, 536 U.S. 273, 292 (2002)

    (Breyer, J., concurring in judgment).

           Issued by the U.S. Supreme Court on March 15, 2015, Armstrong held that the neither the

    Medicaid Act itself, nor the Supremacy Clause, provided a private right of action for Medicaid

    providers or recipients to seek a private remedy against a State official who has allegedly violated

    the terms of the Medicaid Act’s provisions. Id. According to the Supreme Court “the Medicaid

    Act implicitly precludes private enforcement,” 135 S.Ct. at 1385, of one of its provisions.

    Therefore the Court concluded:

                   [T]he sole remedy Congress provided for a State’s failure to comply
                   with Medicaid’s requirements—for the State’s “breach” of the
                   Spending Clause contract—is the withholding of Medicaid funds by
                   the Secretary of Health and Human Services. 42 U. S. C. §1396c.
                   As we have elsewhere explained, the ‘express provision of one
                   method of enforcing a substantive rule suggests that Congress
                   intended to preclude others.’

    Armstrong, 135 S.Ct. at 1385 (quoting Alexander v. Sandoval, 532 U.S. 275, 290 (2001)).

           As discussed in Armstrong, Section 1396a of the Medicaid Act establishes the requirements

    to which a State must adhere before the CMS will approve its Medicaid state plan. Id. at 1382.

    The state plan is an agreement between CMS and the State. Neither PPGC nor any of the

    individual recipient plaintiffs in this case are parties to that agreement. “Spending Clause




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    legislation like Medicaid ‘is much in the nature of a contract.” Armstrong, 135 S.Ct. at 1387

    (quoting Pennhurst State School and Hospital v. Halderman, 451 U.S. 1, 17 (1981)). Accordingly,

                   . . . the modern jurisprudence permitting intended beneficiaries to
                   sue does not generally apply to contracts between a private party and
                   the government—much less to contracts between two
                   governments. Our precedents establish that a private right of action
                   under federal law is not created by mere implication, but must be
                   ‘unambiguously conferred,’ Gonzaga, 536 U.S., at 283. Nothing in
                   the Medicaid Act suggests that Congress meant to change that for
                   the commitments made under §30(A).

    Armstrong, 135 S.Ct. at 1388 (some internal quotes omitted) (emphasis added).

           Thus, in accord with Armstrong, PPGC and the individual plaintiffs are not the intended

    beneficiaries of 42 U.S.C. 1396a(a)(23) and may not pursue equitable relief pursuant to 42 U.S.C.

    § 1983. Armstrong, 135 S.Ct. at 1387 (“We doubt, to begin with, that providers are intended

    beneficiaries (as opposed to mere incidental beneficiaries) of the Medicaid agreement, which was

    concluded for the benefit of the infirm whom the providers were to serve, rather than for the benefit

    of the providers themselves.”).

           Similarly, the Tenth Circuit has considered the issue of whether a nursing facility is entitled

    to a preliminary injunction “prior to a hearing to ascertain whether the facility is in compliance

    with state and federal regulations.” Geriatrics, Inc. v. Harris, 640 F.2d 262 (10th Cir. 1981). In

    analyzing this issue, the Geriatrics, Inc. court recognized that “a protectable property interest must

    be an interest secured by statute or legal rule or through a mutually explicit understanding.” Id. at

    264. In reaching its decision to reverse the preliminary injunction granted by the District Court,

    the Court reasoned that the nursing facility “is not the intended beneficiary of the Medicaid

    Program. Instead, the purpose underlying the funding of the program is to extend financial benefits

    to the patients eligible to receive their medical care at government expense.” Id. at 264. The




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    argument by the nursing facility that the termination of its provider agreement would require it to

    close was even unpersuasive to the Court.

           The second prong of the test is whether the Plaintiffs’ interests are vague and amorphous

    as to be beyond the competence of the judiciary to enforce. The Medicaid Act’s “free choice of

    provider” provisions are found at §1902(a)(23) of the Social Security Act, 42 U.S.C.

    §1396a(a)(23). Under subsection (A), State Medicaid plans must allow beneficiaries to obtain

    medical care from “any institution, agency, community pharmacy or person, qualified to perform

    the service or services required.” 42 U.S.C. §1396a(a)(23)(A)(emphasis added).

           LDHH contends that the terms of §1396a(a)(23), like Section 30(a) in the Armstrong

    decision, are vague and subject to State interpretation in so far as the statute lacks any definition

    of “qualified to perform the service or services required.” The term “qualified” could be

    interpreted by the State to mean that the provider simply holds the requisite license for the

    applicable scope of service. The term could also be interpreted by the State to mean that the entity

    is completely free of any government proceeding whether civil or criminal or departmental. The

    term could also be interpreted by the State to mean that the provider is free from any Medicaid

    billing problems amounting to fraud or abuse. The term could also be interpreted by the State to

    mean that the provider conforms to the ethical standards shared by the State in which it seeks to

    operate. Finally, the term could also be interpreted by the State to stand for the proposition that

    lack of a signed provider agreement evidences lack of being qualified. In short, the State’s

    determination of “qualified” is a “judgment-laden standard” that was intended by Congress and

    the Medicaid statute to be enforced by CMS and the federal Secretary of Health and Human

    Services alone. Armstrong, 135 S.Ct. at 1385.




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           The final prong of the test is whether the statute imposes a binding obligation on the State.

    The purpose of §1396a(a) is to establish the parameters a State must be willing to agree to in order

    for CMS to approve its state plan. LDHH agrees that it must comply with its approved state plan

    in order to received federal funds. LDHH is indeed offering freedom of choice required by the

    statute. In fact, as of the submission of this brief, the recipients can still choose PPGC. The

    recipients will only be prohibited from choosing PPGC if PPGC is found unwilling or unqualified

    via the administrative process or the failure of PPGC to pursue their administrative remedies. In

    either case, PPGC would no longer be a qualified provider pursuant to Louisiana law. Therefore,

    none of the prongs of the test are sufficiently met in order for §1396a(a)(23) to create a privately

    enforceable right.

           In the present matter, the agreed upon, and statutory process, is a suspensive administrative

    appeal. This process would allow PPGC the opportunity to continue providing care to its patients

    while administratively determining whether it is still “qualified” and “willing.” As it stands

    however, PPGC has refused to avail itself of the agreed upon procedure instead attempting to

    establish a federal right that simply does not exist. It appears that PPGC is attempting to formulate

    a new process not followed by any other Louisiana Medicaid provider by trying to bypass the

    administrative process. PPGC is attempting to “single themselves out” for a different process that

    has afforded due process to other Medicaid providers for decades while arguing on the other hand

    that DHH is singling them out in pursuing this termination.

           Finally, PPGC wrongly argues that the State’s authority is limited to determining whether

    a provider is competent to provide the services. CMS has acknowledged that there may be other

    reasons a state may terminate a provider agreement in accordance with state law. See CPI-CMCS

    Informational Bulletin, at http://www.medicaid.gov/Federal-Policy-Guidance/downloads/CIB-




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    01-20-12.pdf. Rather, the very cases cited by PPGC establish that under Medicaid law, the

    Secretary of LDHH has “broad authority” to determine whether a provider is “qualified” under 42

    U.S.C. § 1396a(a)(23).

           The two cases that PPGC most heavily relies upon actually provide a roadmap for State

    Medicaid administrators to make determinations that a particular provider is not “qualified. In

    Planned Parenthood of Indiana v. Comm’r, the Seventh Circuit concluded that while States could

    not exclude abortion providers as a class simply for their provision of abortion, states do have

    “broad authority to exclude unqualified providers from its Medicaid program.” Notably, the

    Seventh Circuit set forth an array of broad categories that may underlie the Secretary’s judgment-

    laden decision of whether a provider is qualified:

                   Although Indiana has broad authority to exclude unqualified
                   providers from its Medicaid program, the State does not have
                   plenary authority to exclude a class of providers for any reason—
                   more particularly, for a reason unrelated to provider qualifications.
                   In this context, “qualified” means fit to provide the necessary
                   medical services—that is, capable of performing the needed medical
                   services in a professionally competent, safe, legal, and ethical
                   manner.

    Planned Parenthood of Indiana v. Comm’r, 699 F.3d 962, 968, 978 (7th Cir. 2012), cert. den., 133

    S.Ct. 2738 (2013)(emphasis added). Here, LDHH termination letter set out several grounds based

    on the Secretary’s determination that PPGC has violated various legal and ethical standards.

           PPGC also cites the Ninth Circuit decision in Planned Parenthood Arizona v. Betlach, 727

    F.3d 960 (9th Cir. 2013). Notably both the District Court and the Ninth Circuit Court of Appeals

    in Planned Parenthood Az. v. Betlach, concluded that “[s]tates retain the authority to set standards

    for participation in the Medicaid program, but only reasonable standards related to the ability of

    the provider to perform Medicaid services.” Notably, rather than stating that the standards are

    related to medical competency to provide services only, the Ninth Circuit explained that a provider



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    can be terminated “’for reasons bearing on the individual’s or entity’s professional competence,

    professional performance, or financial integrity.’” Id.. at 973 (quoting 42 U.S.C.A. §

    1320a(7)(b)(5); see also Planned Parenthood v. Betlach, 922 F.Supp.2d at 865 (emphasis added).

           Federal courts have also held that States may terminate a medical provider during a pending

    investigation. Guzman, 552 F.3d at 949. The Secretary’s termination for cause letter provides

    notice of termination pursuant to La. R.S. 46:437.11(D)(2) based on the pending Louisiana

    investigations that make PPGC “the subject of a . . . departmental proceeding.” LDHH also set

    forth a number of grounds for the termination and outlined the available administrative review

    process, including the opportunity to “further inquire as to the reasons for our determination.”

    Letter of Secretary Kliebert to PPGC, September 15, 2015. That inquiry belongs in the state

    administrative review process, and not in any federal court.

           A State participating in Medicaid retains the power to establish “reasonable standards

    relating to the qualifications of providers....” 42 C.F.R. § 431.51(c)(2). A State may also exclude

    health care providers from participation in Medicaid “for any reason for which the Secretary could

    exclude the [provider] from participation [in Medicare, such as fraud, misrepresentation or other

    malfeasance],” “[i]n addition to any other authority.” 42 U.S.C. § 1396a(p)(1).

                                         V.     CONCLUSION

           For the reasons set forth above, Plaintiffs claims should be dismissed.



    Respectfully submitted,

                                                 FAIRCLOTH, MELTON & KEISER, LLC


                                                 By:     s/ Jimmy R. Faircloth, Jr.
                                                       Jimmy R. Faircloth, Jr. (La. #20645)
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                                                     ATTORNEYS FOR DEFENDANT, KATHY
                                                     KLIEBERT, IN HER OFFICIAL CAPACITY
                                                     AS SECRETARY OF THE LOUISIANA
                                                     DEPARTMENT OF HEALTH AND
                                                     HOSPITALS

                                   CERTIFICATE OF SERVICE

          I hereby certify on this 14h day of October, 2015, that the above and foregoing Motion to
    Dismiss and Memorandum in Support was electronically filed by using the CM/ECF System.

                                        /s/ Jimmy R. Faircloth , Jr.
                                     JIMMY R. FAIRCLOTH, JR.




                                                   25




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 1                       UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA
 2

 3    PLANNED PARENTHOOD GULF COAST,
      INC.,ET AL                              : CIVIL ACTION
 4
      VERSUS                                  : NO. 15-565
 5
      KATHY KLIEBERT                          : HON. JOHN W. DEGRAVELLES
 6
                                         : OCTOBER 16, 2015
 7    ==============================================================

 8                               MOTION HEARING

 9    ==============================================================

10                           A P P E A R A N C E S

11    BY PHONE:
      FOR PLANNED PARENTHOOD GULF COAST INC.:
12
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      BY PHONE:
16    FOR KATHY KLIEBERT:

17       MR. JIMMY ROY FAIRCLOTH, JR.
         FAIRCLOTH, MELTON & KEISER
18       105 YORKTOWN DRIVE
         ALEXANDRIA, LOUISIANA 71303
19

20

21                  REPORTED BY: GINA DELATTE-RICHARD,CCR

22    _______________________________________________________________

23                         UNITED STATES COURTHOUSE
                         BATON ROUGE, LOUISIANA 70801
24                              (225) 389-3564

25




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 1    JUST GOING TO HAVE TO DO THE BEST WE CAN UNDER THE

 2    CIRCUMSTANCES.    BUT LET'S START WITH THE MOTION TO DISMISS.

 3               AND, MR. FAIRCLOTH, ARE YOU GOING TO ARGUE THAT FOR

 4    THE DEFENDANT?

 5               MR. FAIRCLOTH:     YES, YOUR HONOR.     THANK YOU.

 6               THE COURT:    YOU MAY PROCEED.

 7               MR. FAIRCLOTH:     YES, SIR.   THE MOTION TO DISMISS IS

 8    BASED VERY SIMPLY ON THE LACK OF RIPENESS IN THIS PROCEEDING

 9    AND I WANT TO POINT OUT ONE FACTUAL MATTER.         IN READING THE

10    MEMORANDUM THAT WAS FILED BY PLANNED PARENTHOOD YESTERDAY

11    STATING THAT -- ON THE ISSUE OF EXHAUSTION, I BECAME CONCERNED

12    THAT THEY DID NOT REALIZE THEY HAVE TILL MONDAY IN ORDER TO

13    MAKE THEIR REQUEST FOR REVIEW OF THE SECRETARY'S DECISION.

14    AND THAT'S NOT BASED ON THE DISCRETION OF THE SECRETARY, THAT

15    BY OPERATION OF LOUISIANA LAW WHICH SAYS THAT ANY LAW OR ORDER

16    OF THE COURT THAT HAS A FILING DATE THAT ENDS ON THE WEEKEND

17    OR A LEGAL HOLIDAY IT CONTINUES UNTIL THE NEXT DAY.          SO THE

18    CONTRACT, THE 30 DAY WINDOW, EXPIRES THIS WEEKEND, BUT BY

19    OPERATION OF LOUISIANA CODE OF CIVIL PROCEDURE THAT RULE, THAT

20    LOUISIANA RULE, GIVES THEM UNTIL MONDAY.

21               SO AS WE SIT HERE NOW ON THE FACE OF THE PLEADINGS

22    THERE IS ABSOLUTELY NO INJURY.       I MEAN THERE IS NO INJURY.

23    THEIR CONTRACT HAS NOT BEEN TERMINATED.        THE JANE DOE

24    PLAINTIFF HAS NOT BEEN DENIED CARE, AND I THINK IT'S HIGHLY

25    IMPROPER FOR -- FOR THE COURT TO TIP THE CAN ON HOW IT VIEWS




                                                                   App.0923
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                                NO. 15-30987
            ____________________________________________________

                IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT
           ______________________________________________________

          PLANNED PARENTHOOD GULF COAST, INCORPORATED;
              JANE DOE #1; JANE DOE #2; AND JANE DOE #3,
                                            Plaintiffs-Appellees

                                     V.

                     KATHY KLIEBERT, SECRETARY,
          LOUISIANA DEPARTMENT OF HEALTH AND HOSPITALS,
                                               Defendant-Appellant
     _________________________________________________________________

             APPEAL FROM THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA
                          NO. 3:15-cv-00565-JWD-SCR
     __________________________________________________________________


     ORIGINAL APPELLANT BRIEF OF KATHY KLIEBERT, SECRETARY,
         LOUISIANA DEPARTMENT OF HEALTH AND HOSPITALS


                                    FAIRCLOTH MELTON, L.L.C.

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                                    Fax 225-343-9538




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                      CERTIFICATE OF INTERESTED PERSONS
          As required by Fifth Circuit Rule 28.2.1, the undersigned counsel of record

    submits the following:

    A. Number and Style of Case:

                 No. 15-30987. KATHY KLIEBERT, SECRETARY,
                 LOUISIANA DEPARTMENT OF HEALTH AND
                 HOSPITALS, Defendant-Appellant, v. PLANNED
                 PARENTHOOD GULF COAST, INC.; JANE DOE #1;
                 JANE DOE #2; AND JANE DOE #3, Plaintiffs-Appellees

    B. The following listed persons and entities as described in the fourth sentence of

       Rule 28.2.1 have an interest in the outcome of this case. These representations

       are made in order for the judges of this Court to evaluate possible

       disqualifications or recusal.

         1. Defendant-Appellant is a governmental party outside the scope of this
            certificate under Fifth Circuit Rule 28.2.1.

         2. Counsel for Defendant-Appellant in this Court are the following:

                 a.    Faircloth Melton, LLC
                 b.    Jimmy R. Faircloth, Jr.
                 c.    Brook L. Villa

         3. Counsel for Defendant-Appellant in the District Court also included the
            following attorneys for the Louisiana Department of Health and Hospitals:

                 a.    Stephen Russo
                 b.    Kimberly Humbles
                 c.    Kimberly Sullivan
                 d.    Ryan Romero

         4. Plaintiffs-Appellees are the following:


                                           -i-



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                a.    Planned Parenthood Gulf Coast, Inc.
                b.    Jane Doe #1
                c.    Jane Doe #2
                d.    Jane Doe #3

         5. The Jane Does are Medicaid patients who use health centers operated by
            Planned Parenthood Gulf Coast, Inc. Planned Parenthood Gulf Coast, Inc.
            is an affiliate of Planned Parenthood Federation of America.

         6. Counsel for Plaintiffs-Appellees in this Court are the following:

                a.    Carrie Y. Flaxman (Planned Parenthood Federation of America)
                b.    Melissa A. Cohen (Planned Parenthood Federation of America)
                c.    Rittenberg, Samuel & Phillips, LLC
                d.    William E. Rittenberg

         7. Counsel for Plaintiffs-Appellees in the District Court also included the
            following attorney:

                a.    Charles M. Samuel

         8. Counsel for the United States in the District Court included the following:

                a.    John J. Gaupp
                b.    Megan A. Crowley

         9. Pursuant to the fifth sentence of Rule 28.2.1, the following is a generic
            description of all persons who are or may be interested in the outcome of
            this litigation: anyone who provides service for, receives health care
            services through, or is involved in the Medicaid program, including, but
            not limited to, state governments or departments that participate in the
            Medicaid program, Medicaid recipients, and health care providers that
            participate in the Medicaid program.

                                                     /s/ Jimmy R. Faircloth, Jr.
                                                    Jimmy R. Faircloth, Jr.
                                                    Attorney for Defendant-Appellant,
                                                    Kathy Kliebert, Secretary, Louisiana
                                                    Department of Health and Hospitals

                                           - ii -



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                          REQUEST FOR ORAL ARGUMENT
          Appellant, Kathy Kliebert, Secretary, Louisiana Department of Health and

    Hospitals, respectfully requests oral argument. This is a case of national importance,

    involving important and complex issues concerning the Medicaid Act and program,

    separation of powers, and cooperative federalism. The ruling below conflicts with

    Supreme Court precedent and is predicated on a misreading and misunderstanding

    of the Medicaid Act and program; accordingly, oral argument would aid the Court

    in reaching a decision. Additionally, this Court’s decision in this case may impact

    or conflict with the decision in a substantially similar case pending before the United

    States Court of Appeal for the Eight Circuit, Planned Parenthood Ark. & E. Okla. v.

    Selig, No. 15-3271. For these reasons, this Court should grant oral argument.




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          A.         Standard of Review ..................................................................................10

          B.         PPGC and the Individual Plaintiffs Lack Article III Standing.................11

               1.        Neither PPGC nor the Individual Plaintiffs have been injured. ...........14

               2.        Plaintiffs’ alleged injury is not traceable to LDHH. ............................17

          C.         The Claims are not Ripe for Judicial Review. .........................................18

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                    b.     Further factual development is required. ...........................................23

               2. Plaintiffs will suffer no hardship by withholding judicial review
               at this early stage of the administrative process. ..........................................24

         II.         Plaintiffs Do Not Have a Private Right of Action....................................25

          A.         Standard of Review ..................................................................................25



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         B. The District Court’s expansive interpretation of 42 U.S.C. §
         1396a(a)(23) – to provide for a private right of action to challenge the
         decertification of a provider – is at odds with Armstrong and in direct
         conflict with O’Bannon. ....................................................................................25

         C. Under the Rationale of Armstrong, Section 1396a(a)(23) Does Not
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                               JURISDICTIONAL STATEMENT
           Planned Parenthood Gulf Coast, Inc. (“PPGC”) and the three Jane Doe

    plaintiffs (the “Individual Plaintiffs”) (collectively referred to herein as the

    “Plaintiffs”) asserted constitutional and statutory claims under 42 U.S.C. § 1983

    against Defendant, Kathy Kliebert, Secretary, Louisiana Department of Health and

    Hospitals (referred to herein as the “Secretary” or “LDHH”). The District Court

    granted Plaintiffs’ motion for temporary restraining order and preliminary

    injunction, enjoining DHH from terminating any of its Medicaid provider

    agreements with PPGC, and denied LDHH’s motion to dismiss for lack of subject

    matter jurisdiction and failure to state a claim. ROA.886, 965.1 The corresponding

    Order was signed on October 29, 2015. ROA. 966. LDHH filed its notice of appeal

    on November 4, 2015. ROA.972. This Court has jurisdiction over this appeal

    pursuant to 28 U.S.C. § 1292(a)(1).2




    1
      After initially granting Plaintiffs’ request for a temporary restraining order (ROA.746), the
    District Court converted the temporary restraining order to a preliminary injunction after the
    parties stipulated that neither further discovery nor further argument was necessary for the
    conversion and to allow for an immediate appeal. ROA.886, 888.
    2
     See also In re Seabulk Offshore, Ltd., 158 F.3d 897, 899 n. 2 (5th Cir. 1998) (quoting Magnolia
    Marine Transp. Co., Inc. v. Laplace Towing Corp., 964 F.2d 1571, 1580 (5th Cir. 1992)) (“Once
    an order under § 1292(a)(1) has been deemed appealable, the ‘entire order, not merely the propriety
    of injunctive relief, comes within our scope of review.”).




                                                    1



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                                  ISSUES PRESENTED

       1. Whether the District Court erred in finding subject matter jurisdiction,
          specifically that:

             a. Plaintiffs established Article III standing when:

                    i. Plaintiffs have not been injured because PPGC’s provider
                       privileges have not been terminated and the Individual Plaintiffs
                       have not been denied care from a qualified provider; and,
                   ii. Plaintiffs alleged injury will be caused by PPGC’s forfeiture of
                       the administrative process and, therefore, is not traceable to
                       LDHH;

             b. Plaintiffs’ claims are ripe for judicial review:

                    i. During the pendency of the suspensive state administrative
                       review process which is required by the Medicaid program and
                       could result in favor of PPGC thereby obviating any need for
                       judicial review; and,
                   ii. While additional factual development is necessary at the
                       administrative level.

       2. Whether the District Court erred in holding that Plaintiffs have a right of
          action pursuant to 42 U.S.C. § 1396a(a)(23) to collaterally attack an agency’s
          decision to disqualify a provider as opposed to merely the right to choose from
          a pool of qualified providers, in conflict with a Supreme Court decision on
          point. O’Bannon v. Town Court Nursing Center, 446 U.S. 773 (1980).

       3. Whether the District Court erred by issuing the preliminary injunction,
          specifically by:

             a. Narrowly defining “qualified” as used in 42 U.S.C. § 1396a(a)(23) as
                mere medical competence and rejecting the state’s reasons for
                disqualification based on fraud, misrepresentations and pending
                investigations, as provided by Louisiana law;
             b. Finding that Plaintiffs are likely to suffer irreparable harm based solely
                on the risk that the termination of PPGC’s provider agreements will
                become effective; and,



                                              2



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               c. Finding that the public interest would be disserved in the absence of an
                  injunction.

                                     STATEMENT OF CASE
           The case arises out of the disqualification of PPGC as a Medicaid provider by

    the State of Louisiana following an investigation that found violations of provisions

    of PPGC’s provider agreements. PPGC was initially disqualified “for convenience”

    or “at will” on April 3, 2015. This action was rescinded and replaced with a “for-

    cause” notice of termination on September 15, 2015.

           During July 2015, amidst the release of a series of undercover videos and

    allegations that Planned Parenthood and its affiliates were contracting with

    companies to sell aborted human fetal tissue and body parts, Governor Bobby Jindal

    directed the Louisiana Department of Health and Hospitals (“LDHH”) and the State

    Inspector General to investigate the activities of PPGC to ensure that it was not

    engaging in illegal practices.3 In response, LDHH began inquiring into PPGC’s

    involvement or knowledge of the information and allegations contained in those

    videos. See Letter of July 15, 2015 from LDHH to PPGC requesting information




    3
      On July 15, 2015, the Governor’s Executive Counsel directed a letter to the Inspector General
    requesting a joint investigation with LDHH “to determine whether Planned Parenthood Gulf Coast
    [“PPGC”] is engaged in the illegal harvesting and trafficking of human body parts” or the violation
    of other provisions of state and federal law. The letter noted that Houston-based PPGC “is an
    affiliate of this parent organization” that is “currently building an abortion clinic on Claiborne
    Avenue in New Orleans, Louisiana.” See Press Release (July 15, 2015), available at
    http://www.gov.louisiana.gov/ index.cfm?md=newsroom&tmp=detail&articleID=5031


                                                    3



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    concerning its activities. ROA.511-512. See also PPGC’s response of July 24, 2015.

    ROA.514-518.

           On August 3, 2015, with the Louisiana joint investigation on-going in

    consultation with Texas authorities, LDHH informed PPGC that it was exercising

    its statutory right to terminate PPGC’s Medicaid provider agreements on an at-will

    basis, noting that each provider agreement is a “voluntary contract,” and citing La.

    R.S. § 46:437.11(D)(1) providing that each agreement “shall be terminable by either

    party thirty days after receipt of written notice.” ROA.478-485.4

           Among other facts gathered in the Louisiana investigation, recorded

    statements made by senior management of PPGC raised concern about

    misrepresentations in PPGC’s responses to LDHH’s inquiries, prompting a second

    set of inquiries from LDHH to PPGC on August 4. ROA.520-521.                          PPGC‘s

    response of August 14 continued to deny participation in the sale or donation of fetal

    organs despite the apparently contrary statements on the PPGC-CMP videos. ROA.

    523-526.

           On August 25, 2015, rather than initiating an administrative appeal of

    LDHH’s August 3, 2015 decision to terminate its Medicaid provider agreements



    4
      Specifically, the letters advised PPGC that its four Louisiana Medicaid provider agreements
    would be terminated for the following provider types: Laboratory (provider no. 45802); Physician
    Group-New Orleans (provider no.133673); Physician Group-Baton Rouge (provider no. 133689)
    and Family Planning Clinic (provider no. 91338).



                                                   4



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    with Louisiana, PPGC, along with three Jane Doe patients, initiated this lawsuit

    seeking relief pursuant to 42 U.S.C § 1983 and contending that LDHH had violated

    the Medicaid free-choice-of provider requirement found at 42 U.S.C. §1396a(a)(23),

    as well as the United States Constitution. ROA.13-28. Plaintiffs also moved for

    entry of a Temporary Restraining Order and Preliminary Injunction on August 25,

    2015. ROA.49-51. A hearing was held on September 2, 2015, and the matter was

    taken under advisement. ROA.291, 533-558.

           On September 14, 2015, LDHH voluntarily rescinded the August 4 at-will

    termination letters.5 ROA.342-351. That same day, LDHH informed the District

    Court of its belief that the rescission mooted the pending Temporary Restraining

    Order and resolved all issues before the Court. ROA. 342. Accordingly, LDHH

    requested PPGC to dismiss the matter. Id.

           Thereafter, by certified letters dated September 15, 2015 (the “Second

    Termination Letters” or “September 15 Letters”), LDHH notified PPGC that it was

    “terminating/revoking” PPGC’s Medicaid provider agreements with Louisiana for

    “cause” pursuant La. R.S. §§ 46:437.11, 437.14. ROA.498-509. In accord with its

    customary practice, LDHH broadly listed several grounds: fraud, misrepresentation,



    5
     This action followed a telephone conference with the court on September 9 during which the
    District Court judge indicated that it would consider whether a “for cause” notice of termination
    with suspensive administrative appeal rights (allowing PPGC to continue to be reimbursed by the
    State during the administrative review process) would moot Plaintiffs’ action challenging the “at-
    will” termination. ROA.339-343.


                                                    5



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    and pending investigations into PPGC’s conduct. LDHH again informed PPGC of

    its right to request an informal hearing and/or institute a suspensive administrative

    appeal. See, e.g., ROA.500. Finally, in accord with La. Admin. Code § 50:4211(D),

    the September 15 letter made clear that “[i]f you do not request an Informal Hearing

    or an Administrative Appeal, your termination will become effective thirty (30) days

    (including Saturdays and Sundays) from the date of your receipt of this letter.” 6 Id.

    Thirty days from PPGC’s receipt of the letters fell Saturday, October 17 and Sunday,

    October 18. See ROA. 992, Hr’g Tr. 4:9-20, Oct. 16, 2015. By operation of

    Louisiana law, the deadline was extended to Monday, October 19, 2015. La. C.C.P.

    art. 5059 (providing that in computing legal delays, “[t]he last day of the period is

    to be included, unless it is a legal holiday, in which event the period runs until the

    end of the next day which is not a legal holiday.”).

           On October 7, 2015, again, rather than initiating the process to suspensively

    appeal, Plaintiffs filed a motion to amend their complaint, still seeking relief

    pursuant to 42 U.S.C § 1983 and contending that LDHH violated the Medicaid free-

    choice-of provider provisions of the Medicaid Act (42 U.S.C. § 1396a(a)(23)), as



    6
      La. Admin. Code § 50:4203 requires the party seeking an appeal of LDHH’s decision to request
    an informal hearing in writing within fifteen (15) days of receipt of the notice. Following the
    informal hearing, the party is entitled to seek an appeal before the Division of Administrative Law.
    La. Admin. Code § 50:4211. The appeal must be requested within thirty (30) days of receipt of
    the notice of termination. The appeal process is fully suspensive. La. Admin. Code §§ 50:4169,
    4211.



                                                     6



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    well as the First and Fourteenth Amendments of the United States Constitution.

    ROA.369-392. Plaintiffs renewed their request for a Temporary Restraining Order

    and Preliminary Injunction on October 9, 2015. ROA.417-428.

          In response, LDHH filed a motion to dismiss on October 14, 2015 based on

    Fed. R. Civ. P. 12(b)(1) and 12(b)(6). ROA.695-721. A hearing was held on Friday,

    October 16, 2015 on both Plaintiffs’ Motion for Temporary Restraining Order and

    Preliminary Injunction and LDHH’s Motion to Dismiss. ROA.805-806. During that

    hearing, in response to LDHH’s argument on ripeness, counsel for PPGC stated that

    PPGC did not intend to file a request for administrative appeal. ROA.1008-1009.

    On Sunday, October 18, 2015, the day before PPGC’s filing deadline, the Court

    issued an Order denying LDHH’s Motion to Dismiss and granting Plaintiffs’

    Renewed Motion for Temporary Restraining Order and Preliminary Injunction in

    part. ROA.746-804. The Court also set a telephone conference for October 19,

    2015. ROA.804.

          During the October 19, 2015 conference, counsel for both parties stated no

    objection to converting the temporary restraining order to a preliminary injunction

    to allow for an immediate appeal. ROA.809-810. 7




    7
      Counsel for LDHH did not agree that additional discovery or factual development was
    unnecessary on the merits, as wrongly stated by the District Court in its Amended Ruling.
    ROA.922. Rather, LDHH has consistently and repeatedly insisted that additional factual
    development is necessary but that such should occur in the administrative proceeding.


                                               7



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          On October 29, 2015, the Court issued an Amended Ruling (ROA.886) and

    Order (ROA.966) denying LDHH’s Motion to Dismiss and granting Plaintiffs’

    Renewed Motion for Temporary Restraining Order and for Preliminary Injunction.

    The District Court preliminarily enjoined LDHH from terminating its Medicaid

    provider agreements with PPGC. ROA.966.

          The District Court found that the case was ripe for review, that Plaintiffs had

    established Article III standing, and that 42 U.S.C. § 1396a(a)(23) creates a private

    right of action for Medicaid patients which can be enforced via § 1983, but noting

    that “because the Court finds that the Individual Plaintiffs have a private right of

    action … it need (and will) not decide whether PPGC also has such a right, either on

    its own behalf or on behalf of its recipient patients.” ROA.935. The District Court

    made no findings regarding the constitutional claims. Finally, the District Court

    concluded that Plaintiffs were entitled to a preliminary injunction. LDHH now

    appeals from the October 29, 2015 Amended Ruling (ROA.886) and Order

    (ROA.966).

                              SUMMARY OF ARGUMENT

          First, the Ruling at issue wrongly inserts the District Court into the early stages

    of a state-run administrative process that is effectively compelled by the Medicaid

    Act. PPGC’s provider agreements have not been terminated and will not be

    terminated unless and until PPGC forfeits its right to that process by inexplicably



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    failing to timely appeal the Secretary’s disqualification decision or until the decision

    becomes effective following completion of that process, which provides for

    discovery and a hearing before an administrative law judge. And even then, PPGC

    will have the right to challenge the decision in state court. Jurisdiction is lacking

    because Plaintiffs lack standing, and the matter is not ripe for adjudication.

           Second, Medicaid’s choice-of-provider provision, 42 U.S.C. 1396a(a)(23)

    (“Section 1396a(a)(23)”) does not create a private right of action for Medicaid

    recipients to challenge qualification decisions by the agencies charged with

    determining provider eligibility. The District Court failed to recognize the important

    distinction between the right to choose from a pool of qualified providers and the

    right to challenge qualification decisions for providers in the pool, as was expressly

    recognized by the Supreme Court when evaluating the “contours” of the statute in

    O’Bannon, 446 U.S. 773.

          Third, on the merits, the District Court’s narrow interpretation of “qualified”

    under Section 1396a(a)(23) – to mean merely medical competence – is at odds with

    the broad discretion afforded by Congress to agencies to utilize their experience and

    expertise for successfully administering the Medicaid program and, in addition, the

    express language of the Act allowing states to exclude providers for any reason

    authorized by state law. The grounds for termination in this instance fall within the

    statute’s broad meaning of “qualified.” Moreover, Plaintiffs cannot demonstrate



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    irreparable harm and the public will be disserved in the absence of injunctive relief.

    Again, PPGC’s provider agreements have not been terminated and will not be

    terminated unless and until the administrative process required by the Medicaid Act

    is exhausted. The public’s interest will be protected by permitting the process

    envisioned by Congress to run its course.

                                       ARGUMENT

    I.    The District Court Lacked Subject Matter Jurisdiction.

          A.     Standard of Review
          Issues related to subject matter jurisdiction such as standing and ripeness are

    legal questions for which review is de novo. Lopez v. City of Houston, 617 F.3d 336,

    339 (5th Cir. 2010) (citing Bayou Liberty Ass'n v. U.S. Army Corps of Eng'rs, 217

    F.3d 393, 396 (5th Cir. 2000)). “As a court of limited jurisdiction, a federal court

    must affirmatively ascertain subject-matter jurisdiction before adjudicating a suit.”

    Sawyer v. Wright, 471 Fed.Appx. 260, 261 (5th Cir. 2012). A challenge to subject

    matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1) may be raised at any time, by

    any party, or by the court sua sponte. Giles v. NYLCare Health Plans, Inc., 172 F.3d

    332, 336 (5th Cir. 1999). Further, it “may be raised for the first time on appeal.”

    Paulsson Geophysical Servs., Inc. v. Sigmar, 529 F.3d 303, 306 (5th Cir. 2008)

    (quoting Veldhoen v. U.S. Coast Guard, 35 F.3d 222, 225 (5th Cir. 1994)). The

    plaintiff bears the burden of establishing subject matter jurisdiction. United States



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    v. Hays, 515 U.S. 737, 743 (2007).

          B.     PPGC and the Individual Plaintiffs Lack Article III Standing.

          “Article III of the Constitution limits federal courts’ jurisdiction to certain

    Cases and Controversies. . . . One element of the case-or-controversy requirement is

    that plaintiffs must establish that they have standing to sue.” Clapper v. Amnesty

    Int’l USA, 133 S. Ct. 1138, 1146 (2013) (internal quotation marks and citations

    omitted).    The “irreducible constitutional minimum of standing” requires

    satisfaction of each of three elements: (1) that the plaintiff has suffered “an injury in

    fact—an invasion of a legally-protected interest which is (a) concrete and

    particularized, and (b) actual or imminent, not conjectural or hypothetical”; (2) “a

    causal connection between the injury and the conduct complained of”; and (3) a

    likelihood that the injury will be “redressed by a favorable decision.” Lujan v.

    Defenders of Wildlife, 504 U.S. 555, 560–61 (1992) (internal quotation marks and

    alterations omitted); accord, e.g., Duarte ex rel. Duarte v. City of Lewisville, Tex.,

    759 F.3d 514, 518 (5th Cir. 2014). If a plaintiff lacks standing to bring an action, the

    court is without subject matter jurisdiction. E.g., Duarte, 759 F.3d at 518. The

    plaintiff bears the burden of establishing standing to assert a claim. Lujan, 504 U.S.

    at 561.

          The central focus in evaluating standing is “whether the litigant is entitled to

    have the court decide the merits of the dispute or of particular issues.” Mississippi



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    State Democratic Party v. Barbour, 529 F.3d 538, 544-45 (5th Cir. 2008). While

    correctly noting that standing focuses on “who may bring a ripe action,” (ROA.924

    (emphasis added)), the District Court failed to evaluate the individual standing of

    PPGC and the Individual Plaintiffs separately, which obscured the analysis.8 By

    tethering Plaintiffs’ claims, the District Court avoided discussion of the frailty of

    PPGC’s legal authority,9 as well as the consequences of PPGC’s decision to abandon

    an administrative process sanctioned by the Medicaid Act for the very purpose of

    preventing inter alia arbitrary disqualification of providers.10 At base, the ruling

    wrongly allowed PPGC to piggyback the standing of the Individual Plaintiffs on the

    “choice-of-provider” provision of Section 1396a(a)(23) but without addressing how




    8
      For example, the District Court found that “Defendant’s threat of harm is sufficiently clear to
    establish Plaintiff’s standing.” ROA. 926. However, it either grouped all Plaintiffs in the same
    class or failed to specify which “Plaintiff” established standing.
    9
     PPGC has no right of action under 1396a(a)(23), as correctly concluded by the District Court in
    Selig, an opinion cited repeatedly by the District Court below. Planned Parenthood Ark. & E.
    Okla. v. Selig, Doc. 45 (Amended and Substituted Preliminary Injunction Order), No. 15-cv-
    00566-KGB (E.D. Ark.). Further, PPGC’s constitutional claims are facially specious.
    10
       States are required to allow Medicaid providers “‘the opportunity to submit documents and
    written argument against’ such exclusion and ‘any additional appeal rights that would otherwise
    be available under procedures established by the State.’” Guzman v. Shewry, 552 F.3d 941, 951
    (9th Cir. 2008) (quoting 42 C.F.R. § 1002.213).



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    PPGC was entitled to such a free ride. 11

           A proper standing analysis begins with identification of the alleged injury

    suffered by each plaintiff. In this case, PPGC alleges that its right to participate as

    a Medicaid provider has been or will be terminated by the Secretary’s decision to

    disqualify PPGC from the Medicaid program. The Individual Plaintiffs, on the other

    hand, allege that they have been or will be denied the right to receive care from a

    provider of their choice based on Section 1396a(a)(23). While both alleged injuries

    are rooted in the disqualification of PPGC, the protected interest of PPGC is

    materially different than that of the Individual Plaintiffs under the Medicaid Act.

    For purposes of Article III, this difference matters greatly because injury-in-fact is

    defined as “an invasion of a legally protected interest.” Lujan, 504 U.S. at 560-61.

    Thus, the starting point for evaluating standing is to determine whether the plaintiff

    has a legally protected interest that has been or will be invaded by the defendant’s

    alleged misconduct.

           In this case, PPGC’s legally protected interest is limited to enforcing its

    administrative rights under the Act, which has not been impaired and is not




    11
       LDHH agrees that the Individual Plaintiffs have a private right of action under Section
    1396a(a)(23) to receive care from any “qualified” Medicaid provider. This right, however, does
    not extend to the determination of whether an individual provider is qualified or should be
    disqualified, for the reasons expressed in O’Bannon v. Town Court Nursing Center, 446 U.S. 773
    (1980). See argument infra at page 25 on the District Court’s failure to dismiss.



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    threatened in any way, shape or form.12 The Individual Plaintiffs’ legally protected

    interest, as provided by Section 1396a(a)(23), is not threatened because the

    Individual Plaintiffs have not and will not be denied care from a qualified Medicaid

    provider. The District Court’s conflated analysis fails to account for this critical

    distinction.

           When properly considered, the record reveals that PPGC and the Individual

    Plaintiffs lack standing because they have not suffered actual or threatened harm to

    their individual legally protected interests. Moreover, the alleged harm – PPGC’s

    disqualification from Medicaid and the Individual Plaintiffs’ corresponding loss of

    PPGC services - is traceable to PPGC’s inexplicable decision to abandon the fully

    suspensive administrative process, not to any wrongful conduct of the Secretary.

                   1.     Neither PPGC nor the Individual Plaintiffs have been injured.

           To establish standing, a plaintiff must demonstrate an invasion of a legally

    protected interest which is “actual or imminent, not conjectural or hypothetical.”

    Mississippi State Democratic Party, 529 F.3d at 544-45 (quoting Lujan, 504 U.S. at

    560–61). In this instance, Plaintiffs simply have not been harmed. PPGC’s provider

    privileges have not been terminated and the Individual Plaintiffs have not been



    12
       The District Court repeatedly references PPCG’s withdrawal of it due process claim while
    rejecting the authority cited by the Secretary, but failed to consider how such withdrawal impacts
    PPGC’s standing to pursue PPGC’s remaining claims. It made no findings that PPGC has suffered,
    or will suffer, any interest protected by Section 1396a(a)(23) or by the Constitution.



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    denied care from a qualified provider.                   The District Court’s finding that

    disqualification of PPGC is imminent because the Secretary “has made it clear she

    intends to terminate” PPGC’s provider agreements (ROA.914) effectively declares

    the administrative review process required by the Medicaid Act a sham. The court

    arrived at this finding by drawing a negative inference from the Secretary’s

    withdrawal of the initial at-will termination. Rather than correctly declare the at-

    will issues moot, the District Court instead used that event to bootstrap its erroneous

    findings on standing and ripeness.13

           “Threatened injury must be certainly impending to constitute injury in fact.”

    Clapper, 133 S.Ct. at 1147-48, 185 L.Ed.2d 264 (2013) (quoting Whitmore v.

    Arkansas, 495 U.S. 149, 158 (1990) (internal quotation marks omitted)). None of

    the injuries alleged by Plaintiffs are impending, and the termination of PPGC’s

    provider agreements was not certain to occur “but for this Court’s intervention.”

    ROA.916. Indeed, the process mandated by PPGC’s provider agreements, state law

    and federal Medicaid law ensures that an interruption does not occur prior to the


    13
       See ROA.895-903, 913-915, 947. The court’s finding that the Secretary had “never retracted”
    the answer made by defense counsel at the hearing on September 2 concerning the competence of
    PPGC is plainly improper. ROA.948. In fact, the competence of PPGC was not an issue at that
    time because the notice to disqualify – and all issues raised by the pleadings – related to the at-will
    disqualification. Counsel’s answer, “At this time, I would agree with that” in response to the
    question about PPGC’s competence, was entirely accurate. ROA. 543 (Hr’g Tr. 11:11-16, Sept.
    2, 2015). Similarly, the District Court improperly relied on the Statement of Interest filed by the
    US Department of Justice on August 31 (ROA.256-278) concerning whether the Secretary
    possessed the authority to disqualify PPGC at will.



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    administrative appeal process running its course. PPGC had until Monday, October

    19, to file its request, which would have continued the administrative stay.

          It is important that PPGC did not disavow the administrative process in its

    pleadings, but instead made vague allegations of injury while enjoying the

    administrative stay and hoping for a sign from the court regarding its inclination.

    PPGC got the signal it was hoping for when the court declined to dismiss the suit on

    the face of the pleadings and instead scheduled a hearing for October 16, three days

    before the deadline for PPGC to file its request for administrative review. Only then,

    during the hearing, did PPGC announce its intention to forego administrative review

    - after it appeared that the District Court was inclined to rule in favor of Plaintiffs.

          The restraining order issued by the District Court on Sunday, October 18

    (ROA.802) effectively suspends the administrative process with time remaining for

    PPGC to request a hearing. ROA.809, 884. At this stage of the process, affirmation

    of the disqualification and any resulting injury to PPGC and the Individual Plaintiffs

    is purely speculative and not certainly impending to constitute an injury in fact.

    Accordingly, the argument that PPGC’s contracts may be terminated (and PPGC

    deemed disqualified) or that the Individual Plaintiffs may lose their ability to seek

    medical services from their provider of their choice is insufficient to establish

    standing and Plaintiffs’ claims should be dismissed.

          Neither PPGC nor the Individual Plaintiffs have a legally protected interest



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    injured or threatened by the disqualification decision.

                2.      Plaintiffs’ alleged injury is not traceable to LDHH.

          An additional element of Article III standing is that the purported injury must

    be “fairly traceable” to the defendant’s action. Lujan, 504 U.S. at 560. Plaintiffs

    “cannot manufacture standing merely by inflicting harm on themselves based on

    their fears of hypothetical future harm that is not certainly impending.” Clapper, 133

    S.Ct. at 1151 (citing Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976) (per

    curiam); National Family Planning & Reproductive Health Assn., Inc., 468 F.3d

    826, 831 (D.C. Cir. 2006)). Moreover, to support standing, Plaintiffs’ injuries must

    be “fairly traceable to [the defendant’s actions].” Clapper, 133 S.Ct. at 1151.

          PPGC’s provider agreements will be terminated only if (1) PPGC voluntarily

    forfeits its rights to an administrative appeal by allowing the remaining time on the

    clock to expire without requesting a hearing or (2) the disqualification decision is

    upheld following the full administrative process. If PPGC allows the administrative

    appeal delay to expire without requesting review, its disqualification will occur by

    virtue of its voluntary and willful failure to participate in the process that it agreed

    to follow under its provider agreements. Effectively, PPGC will have injured itself

    by forfeiting protection offered to it by the Medicaid Act. And because the claims

    of the Individual Plaintiffs are derivative of PPGC’s status as a qualified Medicaid

    provider, if PPGC forfeits its right to challenge the disqualification, the Individual



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    Plaintiffs will suffer no injury traceable to misconduct by the Secretary.

          C.     The Claims are not Ripe for Judicial Review.

          The doctrines of ripeness and standing are closely related as both are

    justiciability doctrines originating in Article III. Ripeness is a component of subject

    matter jurisdiction because a court has no power to decide disputes that are not yet

    justiciable. Lopez v. City of Houston, 617 F.3d 336, 341 (5th Cir. 2010) (citing

    Sample v. Morrison, 406 F.3d 310, 312 (5th Cir. 2005) (per curiam)). Accordingly,

    “a court should dismiss a case for lack of ‘ripeness’ when the case is abstract or

    hypothetical.” Id.

          This Court has explained:

                 Article III of the United States Constitution provides that
                 federal courts have the power to decide only actual cases
                 or controversies. The justiciability doctrines of standing,
                 mootness, political question, and ripeness “all originate in
                 Article III's ‘case’ or ‘controversy’ language”.... The
                 ripeness doctrine also is drawn “from prudential reasons
                 for refusing to exercise jurisdiction.” The ripeness
                 doctrine's “basic rationale is to prevent the courts, through
                 avoidance of premature adjudication, from entangling
                 themselves in abstract disagreements ....”

    Choice Inc. of Texas v. Greenstein, 691 F.3d 710, 714-15 (5th Cir. 2012) (internal

    citations omitted). The doctrine of ripeness is somewhat akin to the doctrines of

    abstention, which likewise operate to discourage premature adjudication of claims




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    in federal court.14 Admittedly, the elements for abstention do not squarely fit the

    circumstances of this case, as concluded by the District Court. ROA.932. But the

    rationale for restraint based on abstention resonates because the State is following a

    state-law process required by a federal statutory scheme. Congress plainly intended

    that provider eligibility challenges would be subject to administrative review in

    accordance with state law.15 A federal court should not interrupt that process lightly.

              To be clear, this jurisdictional challenge is based on ripeness not exhaustion.

    As recognized by the District Court, the focus in a ripeness determination, is when

    an action may be brought (ROA.924), not whether an action may be brought. LDHH

    acknowledges that PPGC has a right to judicial review16 and that the existence of an

    administrative review process does not in and of itself implicate a need to exhaust

    those procedures. See ROA.921. Likewise, LDHH takes no quarrel with the

    proposition that exhaustion is often not a barrier to a claim based on 42 U.S.C. §

    1983. Rather, LDHH asserts that Plaintiffs’ resort to federal court is premature

    during the pendency of the state administrative process under these unique


    14
       Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 814 (1976); Younger
    v. Harris, 401 U.S. 37 (1971); Burford v. Sun Oil Co., 319 U.S. 315 (1943); Railroad Comm'n of
    Texas v. Pullman Co., 312 U.S. 496 (1941).
    15
      States are required to allow Medicaid providers “‘the opportunity to submit documents and
    written argument against’ such exclusion and ‘any additional appeal rights that would otherwise
    be available under procedures established by the State.’” Guzman, 552 F.3d at 951 (quoting 42
    C.F.R. § 1002.213).
    16
         La. R.S. § 46:107 authorizes review in state court following the administrative process.


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    circumstances, where the Medicaid scheme obligates the state to provide an

    administrative remedy and further development of the case may moot a claim in

    federal court.17

           Neither Roach nor Bentley cited in the District Court’s Ruling discuss ripeness

    and therefore do not stand for the proposition that “…a congressional requirement

    that states establish administrative review procedures… rarely, if ever, implies that

    … a case is unripe when the process has not been invoked but an injury plainly

    looms.” ROA.921. To the contrary, the Supreme Court has recognized that the

    judicial doctrine of exhaustion of administrative remedies is conceptually distinct

    from the question of whether an “initial decisionmaker [sic] has arrived at a

    definitive position on the issue that inflicts an actual, concrete injury.” Williamson

    County Reg’l Planning Comm’n v. Hamilton Bank of Johnson City, 473 U.S. 172,

    191-92 (1985); see also, Bethlehem Steel Corp. v. E.P.A., 669 F.2d 903, 908 (3d Cir.

    1982) (“In general, exhaustion refers to the steps which the litigant must take,

    whereas finality refers to the conclusion of activity by the agency.”). The initial

    decision maker, the State of Louisiana, through LDHH, has not taken final action on




    17
      The District Court misinterpreted LDHH’s position. “Defendant argues that the administrative
    appellate process, having been accepted as generally valid by CMS, essentially foreclosed both
    PPGC’s and the Individual Plaintiffs’ resort to this (and any other) court.” ROA.920. LDHH
    recognizes that Plaintiffs may have a right to judicial review but that right has not yet come into
    existence.



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    the issue of whether PPGC’s provider contracts were properly terminated.

    Accordingly, the issue is not ripe for judicial review.

          “[A] ripeness inquiry is often required when a party is seeking pre-

    enforcement review of a law or regulation.” Roark & Hardee LP v. City of Austin,

    522 F.3d 533, 544 (5th Cir. 2008) (citing Poe v. Ullman, 367 U.S. 497, 81 S.Ct.

    1752, 6 L.Ed.2d 989 (1961)); Lake Carriers' Ass'n v. MacMullan, 406 U.S. 498, 92

    S.Ct. 1749, 32 L.Ed.2d 257 (1972)). Ripeness hinges on “(1) the fitness of the issues

    for judicial resolution, and (2) the potential hardship to the parties by declining court

    consideration.” Lopez, 617 F.3d at 341; Choice Inc. of Texas, 691 F.3d at 714-15

    (citing Abbott Labs v. Gardner, 387 U.S. 136, 148, 87 S.Ct. 1507, 18 L.Ed. 2d 781

    (1967)). Generally, a case is ripe if purely legal questions remain and, conversely,

    not ripe “if further factual development is required.” Choice Inc. of Texas, 691 F.3d

    at 715 (citing New Orleans Pub. Serv., Inc. v. Council of New Orleans, 833 F.2d

    583, 586 (5th Cir. 1987)). Nevertheless, if an issue is purely legal, “the plaintiff

    must show some hardship in order to establish ripeness.” Id. (citing Cent. & S.W.

    Servs., Inc. v. EPA, 220 F.3d 683, 690 (5th Cir. 2000)). “In this sense, the doctrines

    of ripeness and standing ‘often overlap in practice, particularly in an examination of

    whether a plaintiff has suffered a concrete injury.’” Lopez, 617 F.3d at 342 (citing

    Texas v. United States, 497 F.3d 491, 498 (5th Cir. 2007), cert denied, 55 U.S. 811

    (2008)). “If the purported injury is ‘contingent [on] future events that may not occur



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    as anticipated, or indeed may not occur at all,’ the claim is not ripe for adjudication.”

    Id. (citing Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 580-81

    (1985)).

           This case is not fit for judicial review because Plaintiffs have suffered no

    injury and further factual development is necessary. Further, Plaintiffs cannot

    demonstrate hardship by being required to participate in a fully suspensive review

    process in accordance with the terms of its Medicaid provider agreements.

                  1.      Fitness for judicial resolution

                          a.      Plaintiffs have suffered no injury.

               The District Court erred in finding this case fit for judicial review. As

    analyzed above, Plaintiffs have suffered no concrete injury. Their claims are based

    solely on “uncertain or contingent future events that may not occur as anticipated,

    or indeed may not occur at all.” ROA.912 (quoting Tarrant Reg’l Water Dist. v.

    Herrmann, 656 F.3d 1222, 1250 (10th Cir. 2011)). That is, the administrative

    process, which was in place prior to the issuance of the preliminary injunction, may

    result in a favorable ruling to PPGC.18 Indeed, “‘one of the principal reasons to

    await the termination of agency proceedings’ is the possibility that a dispute may be

    mooted if the party ultimately prevails before the agency, thereby obviating all

    18
       The District Court incorrectly concluded that “[N]o state proceeding predated the initiation of
    this federal action….” ROA.921. While no state judicial proceeding predated the federal lawsuit,
    there was a legitimate, parallel state administrative proceeding take place.



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    occasion for judicial review.” Bethlehem Steel Corp. v. E.P.A., 669 F.2d 903, 908

    (3d Cir.1982) (quoting F.T.C. v. Standard Oil Co. of California, 449 U.S. 232

    (1980)). Further, discovery between the parties during the administrative process

    may prompt a different administrative outcome.

                       b.     Further factual development is required.

          In addition to the missing injury component, this lawsuit is not ripe for judicial

    review because further factual development is required at the administrative level.

    LDHH agreed that no additional discovery was necessary and that the record was

    complete solely for the sole purpose of converting the temporary restraining order to

    a permanent injunction to allow for an appeal. ROA.886, 888. LDHH has not

    agreed that additional factual development is unnecessary for any purpose as

    concluded by the District Court. ROA.922. To the contrary, factual development is

    necessary as it may “affect the claims in this suit.” Rush v. Barham, No. 14-30872,

    2015 WL 4467848 (5th Cir. July 22, 2015) (per curiam).

          The charges against PPGC include alleged misrepresentations, a failure to

    cooperate, and the circumstances and resolution of fraud charges elsewhere.

    ROA.498-509. LDHH has requested additional information from PPGC, and PPGC

    moved to propound discovery on LDHH. Clearly, there are facts to discover that

    bear upon whether PPGC should be deemed unqualified to participate as a plan

    provider. The court erred in accepting Plaintiffs’ arguments that these charges have



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    nothing to do with PPGC’s qualifications as a Medicaid provider without the benefit

    of a fully developed administrative record.

                2.      Plaintiffs will suffer no hardship by withholding judicial review
                        at this early stage of the administrative process.

          The second factor in the test for ripeness is the hardship on the parties by

    withholding judicial review. Lopez, 716 F.3d at 342. Plaintiffs, as the parties

    seeking to invoke jurisdiction, have the burden of demonstrating hardship. Choice

    Inc. of Texas, 691 F.3d at 715-716. The District Court erred by effectively equating

    the administrative process to a hardship, flipping the burden to the Secretary to prove

    otherwise. ROA.918. This process is required by federal law and forms part of the

    state Medicaid plan. 42 C.F.R. § 1002.213. It is illogical to conclude that resort to

    this suspensive review process somehow creates hardship on the very parties it was

    designed to protect. By requiring that States provide an administrative process,

    Congress is presumed to have balanced the hardship of administrative delay against

    the need to avoid premature adjudication. See Heckler v. Ringer, 466 U.S. 602, 626

    (1984). Further, proof of hardship surely requires more than alleging the potential

    results of an unfavorable outcome on the merits, particularly where the claim is

    grounded in the Medicaid Act, which has a severely restrictive exhaustion

    requirement for virtually all legal attacks. See Southwest Pharmacy Solutions, Inc.

    v. Centers for Medicare & Medicaid Servs., 718 F.3d 436 (5th Cir. 2013) (rejecting

    a hardship claim to 42 U.S.C. § 1395ii).

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              The District Court erred in finding that Plaintiffs satisfied Article III’s

    requirements of standing and ripeness.

    II.       Plaintiffs Do Not Have a Private Right of Action.

              A.     Standard of Review
              The question of statutory standing in this case—which is antecedent to any

    evaluation of the preliminary injunction factors—is subject to de novo review.

    McCaig v. Wells Fargo Bank (Texas), N.A., 788 F.3d 463, 472 (5th Cir. 2015) (citing

    Janvey v. Brown, 767 F. 3d 430, 437 (5th Cir. 2014)).

              B.     The District Court’s expansive interpretation of 42 U.S.C. §
                     1396a(a)(23) – to provide for a private right of action to challenge
                     the decertification of a provider – is at odds with Armstrong19 and
                     in direct conflict with O’Bannon.20

              To seek redress through § 1983, “a plaintiff must assert a violation of a federal

    right, not merely a violation of federal law.” Blessing v. Freestone, 520 U.S. 329,

    340 (1997) (citation omitted) (emphasis added). In Spending Clause cases that

    standard is very high. The Supreme Court has insisted that “unless Congress speaks

    with a clear voice, and manifests an unambiguous intent to confer individual rights,

    federal funding provisions provide no basis for private enforcement.” Gonzaga

    University v. Doe, 536 U.S. 273, 280 (2002). The party asserting a right of action



    19
         Armstrong v. Exceptional Child Center, Inc., 135 S.Ct. 1378 (2015).
    20
         O’Bannon v. Town Court Nursing Center, 446 U.S. 773 (1980).



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    must demonstrate that (1) “Congress . . . intended that the provision in question

    benefit the plaintiff;” (2) “the right assertedly protected by the statute is not so

    “vague and amorphous” that its enforcement would strain judicial competence;” and

    (3) “the statute . . . unambiguously impose[s] a binding obligation on the States.”

    Blessing, 520 U.S. at 340. Moreover, a § 1983 claim does not lie if Congress has—

    expressly or impliedly—foreclosed a private remedy. Blessing 520 U.S. at 340

    (noting that Congress could impliedly foreclose a private remedy “by creating a

    comprehensive scheme of enforcement that is incompatible with individual

    enforcement under § 1983”).

           The District Court held that the Individual Plaintiffs have a private right of

    action pursuant to Section 1396a(a)(23) to collaterally attack LDHH’s decision to

    disqualify PPGC from Medicaid. This expansive holding is at odds with the

    Supreme Court’s most recent analysis of a private enforcement action under the

    Medicaid Act. Armstrong, 135 S.Ct. 1378 (2015).

           Moreover, even assuming a private enforcement action exists, as found by

    three circuit courts prior to Armstrong,21 the Supreme Court’s 1980 decision in



    21
      Harris v. Olszewski, 442 F.3d 456 (6th Cir. 2005) (challenge to single source provider contract
    that excluded certain incontinence products); Planned Parenthood of Indiana v. Commissioner of
    Indiana State Department of Health, 699 F.3d 962 (7th Cir. 2012) (challenge to constitutionality
    of state law prohibiting agencies from contracting with or making grants to any entity that
    performed abortions); Planned Parenthood Arizona v. Betlach, 727 F.3d 960 (9th Cir. 2013)
    (challenge to state law prohibiting any health care provider who performed elective abortions).



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    O’Bannon involving a disqualified nursing home makes clear Section 1396a(a)(23)

    does not authorize a Medicaid recipient to challenge a State’s decision to disqualify

    a provider. 44 U.S. at 786. The District Court did not consider O’Bannon,22 and

    none of the opinions interpreting Section 1396a(a)(23) relied upon by the District

    Court considered the contours of the statute in the light of O’Bannon, as those cases

    did not involve disqualification decisions.23 That Section 1396a(a)(23) creates a

    private right of action in favor of individual Medicaid recipients does not end the

    analysis. The more narrow question that must be answered is whether this right

    authorizes an action to challenge a State’s decision to disqualify a provider.

    O’Bannon squarely answers that question in the negative. At most, a private right

    of action under Section 1396a(a)(23) authorizes a Medicaid recipient to demand care

    from any provider in the pool of Medicaid-approved (i.e., qualified) providers.

              C.     Under the Rationale of Armstrong, Section 1396a(a)(23) Does Not
                     Support a Private Right of Action.

              The Supreme Court has acknowledged its evolution towards “reject[ing]

    attempts to infer enforceable rights from Spending Clause statutes.” Gonzaga Univ.,




    22
       Presumably, the District Court found O’Bannon distinguishable because it involved a due
    process challenge, given that the court expressly declared a line of Second Circuit cases relying on
    O’Bannon “irrelevant.” The court was clearly wrong in this regard. See discussion infra at pages
    31 through 36.
    23
         See Harris, 442 F.3d 456; Planned Parenthood of Indiana, 699 F.3d 962; Betlach, 727 F.3d 960.



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    536 U.S. at 280.24 The 2015 Armstrong decision is the most recent of these cases

    wherein the Court recognized this trend25 and refused to find a private right of action

    to enforce 42 U.S.C. § 1396a(a)(30)(A). See Armstrong, 135 S.Ct. at 1385 (“the

    Medicaid Act implicitly precludes private enforcement of [§ 1396a(a)(30)(A) 26], and

    respondents cannot, by invoking our equitable powers, circumvent Congress’s

    exclusion of private enforcement.”). The Court rejected a private right of action

    based on “[t]wo aspects of” the statute. First, “the sole remedy Congress provided

    for a State’s failure to comply with Medicaid’s requirements—for the State’s breach

    of the Spending Clause contract—is the withholding of Medicaid funds by the

    Secretary . . . ” noting that “the ‘express provision of one method of enforcing a


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      The Supreme Court in Gonzaga held that the Family Educational Rights and Privacy Act did
    not create a private right of action to enforce under § 1983.
    25
       The District Court did not acknowledge this trend. Rather, it incorrectly asserted that Wilder v.
    Virginia Hospital Association, 496 U.S. 498 (1990), “remain[s] binding and undisturbed.”
    ROA.937. While not explicitly overruled, the Supreme Court has recognized that its decision in
    Gonzaga “plainly repudiates the ready implication of a § 1983 action that Wilder exemplifies.”
    Armstrong, 135 S.Ct. at n.2 (citing Gonzaga, 536 U.S. at 283). Similarly, the District Court found
    this Court’s decision in Romano v. Greenstein, 721 F.3d 373 (5th Cir. 2013) “persuasive (and
    decisive). . . .” ROA.940. However, Romano relied heavily on Wilder. The District Court failed
    to reconcile the impact of the Supreme Court’s announced movement away from Wilder-esque
    decisions on cases like Romano.
    26
       42 U.S.C. § 1396a(a)(30)(A) requires state Medicaid plans to “provide such methods and
    procedures relating to the utilization of, and the payment for, care and services available under the
    plan (including but not limited to utilization review plans as provided for in section 1396b(i)(4) of
    this title) as may be necessary to safeguard against unnecessary utilization of such care and services
    and to assure that payments are consistent with efficiency, economy, and quality of care and are
    sufficient to enlist enough providers so that care and services are available under the plan at least
    to the extent that such care and services are available to the general population in the geographic
    area[.]”



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    substantive rule suggests that Congress intended to preclude others.” Id. at 1385

    (quoting Alexander v. Sandoval, 532 U.S. 275, 290 (2001)). And second, the

    “judicially unadministrable nature” of Section 1396a(a)(30)(A) based on the

    statute’s broad language and “judgment-laden standard.” 27

           The language of 42 U.S.C. § 1396a(a)(23) warrants a similar conclusion when

    read in the context of the Act’s provisions regarding disqualification.                     First,

    “qualified” is not defined in the Medicaid Act “and the term is not self-defining.”

    Planned Parenthood of Indiana, 399 F.3d at 978.                   Second, the Act provides

    discretionary grounds upon which a State may exclude providers (42 U.S.C. §

    1320a-7(b))28 and authorizes a State to exclude providers “for any reason for which

    the Secretary could exclude that individual or entity from participation” and “for any

    reason or period authorized by State law.” 42 U.S.C. § 1396a(p); 42 C.F.R. §

    1002.2(a)-(b). The agency-based enforcement system Congress created allows

    for—indeed requires—the federal agency and state agency to use their technical and



    27
       Id. The Court concluded that “[e]xplicitly conferring enforcement of this judgment-laden
    standard upon the Secretary alone establishes, we think, that Congress ‘wanted to make the agency
    remedy that it provided exclusive,’ thereby achieving ‘the expertise, uniformity, widespread
    consultation, and resulting administrative guidance that can accompany agency decisionmaking’
    and ‘avoiding the comparative risk of inconsistent interpretations and misincentives that can arise
    out of an occasional application of the statute in a private action.” Id. (quoting Gonzaga Univ.,
    536 U.S. at 292 (Breyer, J., concurring)).
    28
       To name only a few, those grounds include convictions for certain crimes, license revocations
    or suspensions, exclusions or suspensions under federal or state health care programs, and making
    false statements or misrepresentations. 42 U.S.C. § 1320a-7(b).



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    experience-based expertise to collaborate on the meaning and application of these

    provisions. The District Court’s resort to a plain-meaning interpretation of the term

    “qualified” without the benefit of agency expertise oversimplifies the eligibility

    process for Medicaid participation, which requires more than mere medical

    competence.

          D.      Section 1396a(a)(23) does not create a private right of action for a
                  Medicaid recipient to challenge a State’s decision to disqualify a
                  provider.

          If there is a federal right to be enforced by §1983, it must be strictly limited

    to the right Congress intended. That proposition follows logically from Congress’s

    refusal to find a private right of action in a Spending Clause statute unless it clearly

    and unmistakably provided for it. Gonzaga Univ., 536 U.S. at 280 (citing Pennhurst

    State School and Hospital v. Halderman, 451 U.S. 1, 17, 28 and n. 21 (1981)))

    (“[U]nless Congress ‘speak[s] with a clear voice,’ and manifests an ‘unambiguous’

    intent to confer individual rights, federal funding provisions provide no basis for

    private enforcement by § 1983.”) Moreover, the Blessing factors focus on what

    benefit Congress was trying to provide and to whom it was trying to provide that

    benefit. See, e.g., id. at 285-86.

          The Medicaid Act sets forth the mandatory requirements of a state plan for

    medical assistance. Among other requirements, a state plan must:

                  provide that . . . any individual eligible for medical
                  assistance (including drugs) may obtain such assistance

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                 from any institution, agency, community pharmacy, or
                 person qualified to perform the service or services
                 required . . . who undertakes to provide him [or her] such
                 services.

    42 U.S.C. § 1396a(a)(23) (emphasis added). If Armstrong leaves room for a private

    right of action under this provision, it does not extend to allow Medicaid recipients

    to dictate which providers are deemed qualified plan participants. The right to

    receive care from any provider in a pool of providers fundamentally differs from the

    right to define the pool of providers. The former is authorization for access. The

    latter is authorization for control, which has much broader implications.

          Indeed, a quarter of a century ago, the Supreme Court in O’Bannon v. Town

    Court Nursing Center expressly recognized this distinction, holding that “while a

    patient has a right to continued care in the qualified institution of his choice, he has

    no enforceable expectation of continued benefits to pay for care in an institution that

    has been determined to be unqualified.” 447 U.S. at 785 (expressly noting that 42

    U.S.C. §1396a(a)(23) does not “confer a right on a recipient to continue to receive

    benefits for care [from a provider] that has been decertified”). The plaintiffs in

    O’Bannon were Medicaid residents of a nursing home whose provider agreement

    was revoked because it no longer qualified as a skilled nursing facility under

    Medicaid regulations. See id. at 776-77. The nursing home and several residents

    filed suit alleging that the residents were entitled to an evidentiary hearing on the

    merits of the revocation based on a constitutionally protected right grounded in 42

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    U.S.C. § 1396a(a)(23). See id. at 784. The Supreme Court rejected this argument,

    explaining that Section 1396a(a)(23) only allows Medicaid recipients to choose from

    a pool of qualified healthcare providers, and does not give Medicaid recipients the

    right to participate in decisions regarding which providers are qualified. See id. at

    785. The Court explained:

                 Title 42 U.S.C. § 1396a(a)(23) gives recipients the right to
                 choose among a range of qualified providers, without
                 government interference. By implication, it also confers
                 an absolute right to be free government interference with
                 the choice to remain in a home that continues to be
                 qualified. But it clearly does not confer a right on a
                 recipient to enter an unqualified home and demand a
                 hearing to certify it, nor does it confer a right on a recipient
                 to continue to receive benefits for care in a home that has
                 been decertified.

                                               ***

                 In holding that these provisions create a substantive right
                 to remain in the home of one’s choice absent specific
                 cause for transfer, the Court of Appeals failed to give
                 proper weight to the contours of the right conferred by the
                 statutes and regulation. As indicated above, while a
                 patient has a right to continued benefits to pay for care in
                 the qualified institution of his choice, he has no
                 enforceable expectation of continued benefits to pay for
                 care in an institution that has been determined to be
                 unqualified.

    Id. (emphasis in original). This rationale is squarely on point to the instant case.

          O’Bannon was a 7-1 decision with Justice Blackmun issuing a cautious

    concurrence more sympathetic to the rights of the residents who were uprooted by



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    the revocation of the nursing home’s provider agreement. Nevertheless, Justice

    Blackmun concluded:            “I am willing to recognize in this case that ‘the very

    legislation which ‘defines’ the ‘dimension’ of the [patient’s] entitlement, while

    providing a right to [remain in a home] generally, does not establish this right free

    of [disqualification of the home] in accord with [federal statutory] law.’” 447 U.S.

    at 802. This same result is inescapable here.

            The Second Circuit found O’Bannon dispositive of this issue in Kelly Kare,

    Ltd. v. O’Rourke, 930 F.32d 170 (2d Cir. 1991). In that case, a home health provider,

    its employees and patients sought an injunction to prevent the termination of a

    Medicaid provider agreement. 29 The court rejected the claims by the individual

    patients based Section 1396a(a)(23):

                    Medicaid’s freedom of choice provision is not absolute.
                    See O’Bannon v. Town Court Nursing Center, 447 U.S.
                    773, 100 S.Ct. 2467, 65 L.Ed.2d 506 (1980). In
                    O’Bannon, the Supreme Court held that Medicaid-eligible
                    nursing home patients did not have a vested right to choose
                    a nursing home that was being decertified as a health-care
                    provider. Id. at 785, 100 S.Ct. at 2475. The Court stated
                    that the freedom of choice provision was intended to give
                    beneficiaries “the right to choose among a range of
                    qualified providers, without government interference.” Id.
                    (emphasis in original).

    29
       The individual patients asserted the same statutory right as the Individual Plaintiffs in the instant
    case. “A separate group of plaintiffs, the ‘McNulla plaintiffs,’ several Kelly Kare patients, claimed,
    as they do now, that they had been deprived of their rights under the Medicaid program’s so-called
    “freedom of choice” provision. See 42 U.S.C. § 1396a(a)(23)(A). They argued that since the
    Medicaid statute gives them the right to choose any qualified Medicaid provider, they must be
    allowed to choose Kelly Kare.” 930 F.2d at 173.



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                   We read O’Bannon as holding that a Medicaid recipient’s
                   freedom of choice rights are necessarily dependent on a
                   provider’s ability to render services. No cognizable
                   property interest can arise in the Medicaid recipient unless
                   the provider is both qualified and participating in the
                   Medicaid program. When the source of government
                   benefits runs dry through legitimate state action,
                   beneficiaries are hard-pressed to establish a legitimate
                   entitlement to that benefit. See O’Bannon, 447 U.S. at 798,
                   100 S.Ct. at 2482 (Blackmun, J. concurring).

                   We therefore conclude that the McNulla plaintiffs do not
                   have a property interest in their freedom to choose Kelly
                   Kare as their provider because Westchester County has
                   properly cancelled Kelly Kare’s contract.

    970 F.2d at 177-78. The court below categorically rejected the reasoning of Kelly

    Kare (and presumably O’Bannon) merely because it involved a due process claim. 30

    This reasoning disregards that Kelly Kare followed the Supreme Court’s

    interpretation of the “contours” of Section 1396a(a)(23), which is the same

    foundational issue in this case. O’Bannon, 447 U.S. at 785. 31




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      The District Court concluded, “when statutes like Section 1396a(a)(23) provide the gravamen
    and no procedural due process claim is made, Defendant’s cases cannot be legally relevant.”
    ROA.920.
    31
      The opinions relied upon by the District Court from the Sixth, Seventh and Ninth Circuits did
    not involve disqualification decisions about individual providers and thus are not directly at odds
    with O’Bannon. Harris, 442 F.3d 456 (challenge to single source provider contract that excluded
    certain incontinence products); Planned Parenthood of Indiana, 699 F.3d 962 (challenge to
    constitutionality of state law prohibiting agencies from contracting with or making grants to any
    entity that performed abortions); Betlach, 727 F.3d 960 (challenge to state law prohibiting any
    health care provider who performed elective abortions).



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           The District Court’s decision wrongly conflicts with O’Bannon and disregards

    the Supreme Court’s edict that private rights of action shall not be found in federal

    funding provisions unless Congress has “manifest[ed] an ‘unambiguous’ intent to

    confer individual rights.” Gonzaga Univ., 536 U.S. at 280 (quoting Pennhurst State

    School and Hospital, 451 U.S. at 17, 28 and n. 21). If Congress had intended

    Medicaid patients to have a right of action to collaterally challenge qualification

    determinations made by state or federal agencies, it would have done so in a more

    conspicuous and straight-forward manner. It would not have buried the provision in

    a long list of instructions on how to prepare a state Medicaid plan—especially given

    that Congress devised a specific federal agency-enforcement regime to apply and

    enforce the instructions in that list.

           Certainly, the provision, viewed in the context and structure of the Medicaid

    Act, does not include an “unambiguously conferred right” to collaterally challenge

    a state or federal agency’s determination that a specific provider should be excluded

    from the Medicaid program as unqualified based on misconduct. See Gonzaga

    Univ., 536 U.S. at 283 (rejecting “the notion that our cases permit anything short of

    an unambiguously conferred right to support a cause of action under § 1983”), at

    280 (noting that “the key” to the very few prior decisions allowing a § 1983 action

    to enforce Spending Clause legislation was that “Congress spoke in terms that ‘could

    not be clearer’”).



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           At a minimum, the District Court erred in its broad interpretation of the private

    right of action conferred by Section 1396a(a)(23).

    III.   The Court Erred in Issuing the Preliminary Injunction

           A.    Standard of Review

           A preliminary injunction is an “extraordinary and drastic remedy . . . that

    should not be granted unless the movant, by a clear showing, carries the burden of

    persuasion. Mazerek v. Armstrong, 520 U.S. 968, 972 (1997) (citation and quotation

    omitted). The District Court correctly set forth the factors that must be established

    to secure a preliminary injunction:

                 (1) a substantial likelihood of success on the merits, (2) a
                 substantial threat of irreparable injury if the injunction is
                 not issued, (3) that the threatened injury if the injunction
                 is denied outweighs any harm that will result if the
                 injunction is granted, and (4) that the grant of an injunction
                 will not disserve the public interest.”

    ROA.933 (internal citations omitted). Because the four prerequisites are mixed

    questions of fact and law, the standard of review differs. The District Court’s factual

    conclusions will be upheld unless clearly erroneous while the legal conclusions “are

    subject to broad review and will be reversed if incorrect.” Apple Barrel Prods., Inc.

    v. Beard, 730 F.2d 384, 386 (5th Cir. 1984) (quoting Commonwealth Life Insurance

    Co. v. Neal, 669 F.2d 300, 304 (5th Cir. 1982)).




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              B.     Plaintiffs are Not Likely to Succeed on the Merits of Their Claims

              The Medicaid Act gives a state agency, like LDHH, the power to exclude

    providers from the Medicaid program for a wide variety of reasons. And because

    42 U.S.C. § 1396a(a)(23)’s free-choice-of-provider provision is expressly limited to

    choosing among qualified providers, the statute does not give Medicaid patients the

    right to choose providers who have been legitimately removed from the Medicaid

    program. Accordingly, the Individual Plaintiffs are not likely to succeed on the

    merits of their § 1396a(a)(23) claim.

                    1.      The District Court erred in narrowly interpreting “qualified”
                            to mere medical competence.

              The District Court erred in confining the term “qualified” in §

    1396a(a)(23)(A) to medical competence (ROA.947-953) as that term is not so

    limited by federal or state law.32 The free choice of provider provision confers upon

    Medicaid recipients “the right to choose among a range of qualified providers,



    32
         This holding was summarized in the following statement by the District Court:

                     [I]t is clear that a provider ‘qualified to perform the services or
                     services required’ is one who is ‘capable and competent’ of
                     ‘perform[ing]’ the ‘service or services’ for which he, she, or it has
                     been contracted by the Medicaid eligible individual seeking
                     ‘medical assistance. 42 U.S.C. § 1396a(a)(23). If it is competent to
                     offer those services, an individual “may” choose them without a
                     state intruding . . . .

    ROA.947. See also ROA.906 (“This Free-Choice-of-Provider Provision bans Defendant from
    excluding PPGC from Medicaid for a reason unrelated to its fitness to provide medical services.”).



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    without government interference.” O’Bannon, 447 U.S. at 785 (emphasis added).

    The Medicaid Act does not define the term “qualified” in relation to a provider and

    “the term is not self-defining.” Planned Parenthood of Indiana, 699 F.3d at 978.

    As the Seventh Circuit has explained, “‘qualified’ means fit to provide the necessary

    medical services—that is, capable of performing the needed medical services in a

    professionally competent, safe, legal, and ethical manner.” Planned Parenthood

    of Indiana, 699 F.3d at 978 (emphasis added).

           The Medicaid Act, its implementing regulations and federal courts have

    recognized that a state has “broad authority to exclude unqualified providers from

    its Medicaid program.” Planned Parenthood of Indiana, 699 F.3d at 968.33

    Accordingly, a state participating in Medicaid retains the power to establish

    “reasonable standards relating to the qualifications of providers....” 42 C.F.R. §

    431.51(c)(2). The Medicaid exclusion statute, found at 42 U.S.C. § 1396a(p), allows

    a state to exclude health care providers from participation in Medicaid “for any

    reason for which the Secretary could exclude the [provider] from participation [in

    Medicare, such as fraud, misrepresentation or other malfeasance],” “[i]n addition to




    33
      “No one disputes that the states retain considerable authority to establish licensing standards and
    other related practice qualifications for providers – this residual power is inherent in the
    cooperative-federalism model of the Medicaid program and expressly recognized in the Medicaid
    regulations.” Planned Parenthood of Indiana, 699 F.3d at 980.



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    any other authority.”34 Further, federal law is clear that no provisions contained

    within the regulations pertaining to state-initiated exclusions from Medicaid “should

    be construed to limit a State’s own authority to exclude an individual or entity from

    Medicaid for any reason or period authorized by State law.” 42 C.F.R. § 1002.2.

    Essentially, the state’s determination of “qualified” is a “judgment-laden standard”

    that was intended by Congress and the Medicaid statute to be enforced by CMS and

    the Secretary, not Medicaid participants as contended by Plaintiffs. Armstrong, 135

    S. Ct. at 1385. As such, “[a] court applying the free-choice-of provider provision . .

    . does not usurp a state’s authority to set medical qualifications; instead it defers to

    and applies the state’s own determination of appropriate qualifications for the

    services provided.” Betlach, 727 F.3d at n.6.35




    34
       Louisiana law sets froth several circumstances under which a provider may be terminated or
    excluded from participating in Medicaid. La. R.S. § 46:437.11; La. Admin. Code § 50:4147 (also
    referred to as Surveillance and Utilization Review Subsystem or “SURS”). Those reasons include
    but are not limited to failure to comply with federal laws and regulations, failure to comply with
    the Medicaid provider agreement, entering into a settlement agreement under the Federal False
    claims Act, and making false or misleading statements. See La. Admin. Code § 50:4147. Further,
    La. R.S. § 46:437.14 sets forth several grounds for denying or revoking enrollment in the state’s
    medical assistance programs, including but not limited to misrepresentations by the health care
    provider.
    35
      This is assuming arguendo that the Individual Plaintiffs have a right of action in this lawsuit.
    Betlach was decided by the Ninth Circuit more than two years prior to the Supreme Court’s
    decision in Armstrong. As discussed in preceding sections of this brief, Armstrong applies by
    analogy to and makes clear that the Individual Plaintiffs do not have a right of action to enforce 42
    U.S.C. § 1396a(a)(23).



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          For example, the First Circuit has determined that the language in the

    Medicaid exclusion statute, “in addition to any other authority,” “permit[s] a State

    to exclude an entity from its Medicaid program for any reason established by state

    law.” First Medical Health Plan v. Vega-Ramos, 479 F.3d 46, 53 (1st Cir. 2007)

    (emphasis added). Vega-Ramos recognized that “[w]hile Medicaid is a state-run

    program, [the state] accepts federal Medicaid funds and thus must comply with

    federal Medicaid laws.” Id. In reaching its conclusion, the First Circuit quoted from

    the legislative history of the Medicaid Act:

                 The [Medicaid exclusion] statute expressly grants states
                 the authority to exclude entities from their Medicaid
                 programs for reasons that the Secretary could use to
                 exclude entities from participating in Medicare. But it also
                 preserves the state’s ability to exclude entities from
                 participating in Medicaid under ‘any other authority.’ The
                 legislative history clarifies that this ‘any other authority’
                 language was intended to permit a state to exclude an
                 entity from its Medicaid program for any reason
                 established by state law. The Senate Report states:

                       The Committee bill clarifies current
                       Medicaid Law by expressly granting States
                       the authority to exclude individuals or
                       entities from participation in their Medicaid
                       programs for any reason that constitutes a
                       basis for an exclusion from Medicare. . . .
                       This provision is not intended to preclude a
                       State from establishing, under State law, any
                       other bases for excluding individuals or
                       entities from its Medicaid program.




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    Id. (emphasis by the court) (quoting S. Rep. 100-109, reprinted in 1987

    U.S.C.C.A.N. at 700).

          Informational bulletins issued by CMS also reveal the broad discretion of

    States to define “qualified” beyond medical competence and acknowledge that

    States may terminate a provider agreement in accordance with state law.              For

    example, a May 31, 2011 bulletin discussing “for-cause” Medicaid exclusions

    explains, “For cause may include, but is not limited to, termination for reasons based

    upon fraud, integrity, or quality.” CMS, CPI-CMCS Informational Bulletin (May

    31,   2011),      at   https://downloads.cms.gov/cmsgov/archived-downloads/CMCS

    Bulletins/downloads/6501-Term.pdf. Additionally and even more persuasive is the

    CMS Bulletin issued on January 20, 2012 clarifying:

                    CMS understands that States must follow their own State
                    law regarding terminations. CMS recognizes that there are
                    numerous circumstances which may qualify as ‘for cause’
                    terminations and that States may have different
                    interpretations of what constitutes ‘for cause’
                    terminations.

     CMS, CPI-CMCS Informational Bulletin, at 2 (January 20, 2012), at

    https://www.medicaid.gov/Federal-Policy-Guidance/downloads/CIB-01-20-12.pdf.

          Neither the June 1, 2011 CMS Bulletin cited by the District Court (ROA.951-

    952   (citing     CMS,    CMCS      Informational   Bulletin   (June   1,   2011),    at

    https://www.medicaid.gov/Federal-Policy-Guidance/downloads/6-1-11-Info-

    Bulletin.pdf)) nor the Statement of Interest filed by CMS in this lawsuit (ROA.225)

                                               41



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    stand for the proposition that CMS confines “qualified” to medical competence. It

    is important to point out that the Statement of Interest filed by CMS was filed in

    response to the initial, at-will termination. CMS has offered no comment on the for-

    cause termination.

             The June 1, 2011 CMS bulletin addressed the very narrow question of whether

    states may exclude providers based solely on the scope of services they provide.

    CMS,          CMCS         Informational        Bulletin      (June        1,   2011),     at

    https://www.medicaid.gov/Federal-Policy-Guidance/downloads/6-1-11-Info-

    Bulletin.pdf. This is the same issue later addressed by the Seventh and Ninth

    Circuits in Planned Parenthood of Indiana and Betlach, which is not at issue here.36

    Unlike those cases, the instant matter involves the disqualification of a single

    provider on the basis of misconduct. LDHH has not categorically excluded an entire

    class of providers or services.

             Statements made at the September 2 hearing regarding PPGC’s medical

    competence do not support a finding that PPGC was a qualified provider. The

    District Court found that “[LDHH] conceded that PPGC is competent to provide the

    services required by the Agreements and by the Medicaid Act” (ROA.948.), and that

    an injunction, at worst, “will halt [LDHH’s] exercise of a particular power as to a

    single provider as to whose medical competency it has already admitted.” ROA.960-


    36
         Planned Parenthood of Indiana, 699 F.3d 962; Betlach, 727 F.3d 960.


                                                    42



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    961.37 Those statements were made in connection with the initial, at-will termination

    before PPGC’s competence was at issue.

              The District Court’s finding that the “concession was never retracted”

    (ROA.948, citing Hr’g Tr. 22:4-23:5, Oct. 2, 2016) is incorrect. First, the rescission

    of the initial termination combined with the September 15 for-cause termination

    effectively retracted that statement. Second, assuming arguendo that the statement

    was not retracted, it was not a judicial admission as it was made in a different

    procedural context. See Dartez v. Owens-Illinois, Inc., 910 F.2d 1291, 1294 (5th

    Cir. 1990). Third, during the October 16 hearing, counsel for LDHH attempted to

    explain that “qualified” for purposes of 42 U.S.C. § 1396a(a)(23) is much broader

    than medical competence. The District Court refused counsel’s explanation while

    seemingly recognizing that whether a provider is qualified is “a whole different bag

    of snakes. . . .” (ROA. 1010, Hr’g Tr. 22:22-25, Oct. 2, 2016).




    37
         Similarly, it explained:

                      PPGC’s competence to provide the Medicaid services was also
                      discussed. In response to this Court’s question regarding wither
                      DHH had yet ‘raised any suggestion or made any suggestion that the
                      reason for terminating the contract has anything to do with
                      competency or the adequacy of the care that is give’ by PPGC ‘to
                      the patients who get their care at those facilities,’ Plaintiffs’ counsel
                      answered, ‘No.’ (Hr’g Tr. 3:19-214, Sept. 2, 2015).

    ROA.900.


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           The September 15 Letters set forth several valid grounds for finding PPGC

    unqualified to maintain its provider agreements within the scope of Section

    1396a(a)(23). ROA.498-509.38

                  2.      LDHH Provided Valid Reasons for Disqualifying PPGC.

           In addition to erroneously concluding that “qualified to perform the service”

    translates to medically competent, the District Court likewise erred in concluding

    that “even if [LDHH’s] definition of ‘qualified’ prevails, [LDHH’s] reasons for

    disqualifying PPGC likely will not.” ROA.953. LDHH provided several valid

    grounds to terminate PPGC’s Medicaid provider agreements. ROA.498-509.

           The first was fraud.           The September 15 Letters stated that “under

    consideration in our departmental proceedings are provider audits and false claims

    cases against [PPFA] affiliates,” including certain cases against PPGC. See La.

    Admin. Code § 50:4103 (defining “affiliate” and “provider-in-fact”).39 The letter




    38
       The District Court’s reliance on the February 19, 2014 report from the Louisiana Legislative
    Auditor is also misplaced. ROA.892. The Louisiana Legislative Auditor has no authority to
    interpret or enforce the law with regard to PPGC. La. R.S. §24.513. Further, that audit was in
    response to Senate Concurrent Resolution No. 57 and House Resolution No. 105 of the 2013
    Regular Session. It was wholly unrelated to the facts and issues currently pending in this lawsuit
    and PPGC’s qualifications. ROA.472-475. Specifically, the Auditor determined that payments
    were made to PPGC by the state for allowable family planning procedure codes under Medicaid
    and that there was no indication that PPGC had performed or recommended abortions to patients.
    Id.
    39
      The Louisiana Administrative Code provides that program violations by an affiliate or provider-
    in-fact can subject a Louisiana enrolled provider (as an affiliate) to enrollment termination. See,
    e.g., La. Admin Code § 50:4103 (Definition of “Exclusion from Participation,” part b.).


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    cited a $4.3 million Federal False Claims Act settlement paid by PPGC to the State

    of Texas and the United States who “contended that PPGC submitted false claims”

    based on PPGC’s qui tam claim that it “submitted false claims for medically

    unnecessary or unneeded items or services” over a six-year period. ROA.722-745,

    Settlement Agreement, Reynolds v. Planned Parenthood Gulf Coast, 9:09-cv-124

    (E.D. TX, Lufkin Div. July 25, 2013). The letter also cited PPGC’s failure to inform

    LDHH of the Reynolds settlement as required by the Louisiana Administrative

    Code.40 Further, it cited an additional False Claims Action that is currently pending

    against PPGC, in which the judge concluded that the information already provided

    “allows the court to draw the reasonable inference that Planned Parenthood

    knowingly filed false claims.” Memorandum Opinion and Order at 17, Carroll v.

    Planned Parenthood Gulf Coast, No. 4:12-cv-03505 (S.D. TX, Houston Div.) (May

    14, 2014)(Docket Entry #74 sets final pretrial conference for 1/27/2016).

           Louisiana law allows LDHH to disqualify providers for, among other reasons,

    “entering into a settlement agreement under . . . the Federal False Claims Act. . . .”

    La. Admin. Code § 50:4147. PPGC did just that as a result of PPGC’s settlement in



    40
      LDHH cited La. Administrative Code, title 50, as well as La. R.S. § 46:437.14(A)(10) and (12)
    which allows LDHH to revoke enrollment if a provider is found in violation of licensing or
    certification conditions, or “any condition of enrollment,” which includes fiscal integrity. See, e.g.,
    ROA.358.




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     the Reynolds case. ROA.722-745. The District Court erred in literally interpreting

     Louisiana Administrative Code § 50:4147.A.12(c) to discount the effect of the

     settlement and to disregard the appearances of the United States and of Texas based

     on a provision stating, “If a False Claims act action or other similar civil action is

     brought by a Qui-Tam plaintiff, no violation of this provision has occurred until the

     defendant has been found liable in the action.” The Supreme Court has long been

     of the opinion that “[a]ll laws are to be given a sensible construction; and a literal

     application of a statute, which would lead to absurd consequences, should be avoided

     whenever a reasonable application can be given to it, consistent with the legislative

     purpose.” United States v. Katz, 271 U.S. 354, 357 (1926). That provision is

     designed to protect providers from being disqualified on the basis of unsubstantiated

     qui tam actions by competitors, aggrieved employees or the like. ROA.1025-1026

     (Hr’g Tr. 37:16-38:8, Oct. 16, 2015). When the federal government or a state

     government approves of or participates in the qui tam action, that concern is

     dissipated. In Reynolds, both the United States government and the State of Texas

     contended “that PPGC submitted false claims and made false statements. . . .”

     ROA.727-728. The District Court’s interpretation of the regulation would exclude

     all qui tam actions unless there was a trial and a finding of liability.

           Additionally, PPGC’s failure to notify LDHH of violations arising out of the

     Reynolds settlement and the Carroll case is a violation of Louisiana Law. LDHH’s



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     knowledge of the Reynolds settlement long before October 14, 2015 is immaterial.

     See ROA.954. The failure to notify is a separate and independent ground for

     disqualification, and LDHH was not notified by PPGC in either case. La. Admin.

     Code § 50:4147A.12.b.41

            The second ground for disqualification was PPGC’s misrepresentations. The

     Second Termination Letters cited La. R.S. § 46:437.14(A)(1), which gives LDHH

     the authority to deny or revoke a provider’s enrollment in the Medicaid program in

     cases of misrepresentation. Citing the PPGC letters in response to its inquiries,

     LDHH expressed its belief that

                   PPGC misrepresented its actions therein and had
                   contradictions within the body of the letter and with the
                   statements and admissions made in the CMP videos,
                   including but not limited to the video released on August
                   4, 2014 and taped in April of this year, containing
                   conversations with PPGC senior management, including
                   the PPGC director of research and the PPCFC facility
                   director.

     ROA.498-509. The District Court criticized LDHH’s lack of specificity regarding

     the PPGC’s misrepresentations; however, this should be addressed at an

     administrative hearing.       PPGC has the right to request additional information

     regarding the reasons for its disqualification, to seek an informal hearing, to conduct


     41
       The email cited by the District Court demonstrates that State did not have credible evidence of
     Medicaid fraud by PPGC at that time. (ROA.954, citing to email from Olivia Watkin to Kyle
     Plotkin, et al. on July 25, 2013 at ROA.531). Importantly, a finding of Medicaid fraud is not
     required to disqualify a provider from participation in the state’s Medicaid program.



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     discovery and to have a formal hearing before an administrative law judge. La.

     Admin. Code §§ 50:4169, 4203, 4211.          This is precisely the reason for the

     administrative process.

           Finally, the September 15 for-cause letter also cited La. R.S. §

     46:437.11(D)(2), which provides that “[t]he secretary may terminate a provider

     agreement immediately and without written notice if a health care provider is the

     subject of a sanction or of a criminal, civil, or departmental proceeding.” LDHH

     correctly determined that “PPGC currently fits within this statute due to the

     investigations by both [LDHH] and the Louisiana Office of Inspector General.” See,

     e.g., ROA.499.

           Notably, the disqualification was consistent with the January 20, 2012 CMS

     Bulletin’s list of “Examples of For Cause Terminations,” such as “Providers that are

     terminated by State Medicaid Agencies because they have engaged in fraudulent

     conduct,” or “due to abuse of billing privileges, e.g., billing for services not

     rendered” (as was the claim in the Reynolds v. PPGC $4.3 million False Claims

     settlement), or “due to falsification of information … submitted to maintain

     enrollment” (such as the apparent misrepresentations made in the PPGC letters). Id.

           At no point after LDHH’s issuance of the September 15 “for cause” notice of

     termination did CMS ever contact LDHH with any complaints or guidance, nor did

     it communicate (as it did after the at-will termination) that LDHH may be in



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     violation of the broad authority granted to the LDHH Secretary under the Medicaid

     Act.

            C.    Plaintiffs Cannot Prove Irreparable Harm.

            “An indispensable prerequisite to issuance of a preliminary injunction is

     prevention of irreparable injury.” Van Arsdel v. Texas A&M University, 628 F.2d

     344, 346 (5th Cir. 1980).    To succeed in demonstrating a threat of irreparable

     injury, the “injury must be both certain and great; it must be actual and not

     theoretical.” Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 997 (5th Cir.

     1985) (quoting Wisconsin Gas Co. v. F.E.R.C., 758 F.2d 669, 674 (D.C. Cir.

     1985). “Speculative injury is not sufficient [to make a clear showing of irreparable

     harm].” Id. Further, “[m]ere “injuries, however substantial, in terms of money, time

     and energy necessarily expended in the absence of [an injunction], are not enough.”

     Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 279 (5th Cir. 2012)

     (quoting Morgan v. Fletcher, 518 F.2d 236, 240 (5th Cir. 1975)). It is not “the

     magnitude [of the harm], but the irreparability that counts for purposes of a

     preliminary injunction.” Id. (quoting Enter. Int'l, Inc. v. Corporacion Estatal

     Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985)).

            The District Court erroneously concluded that “Plaintiffs have met their

     burden of showing irreparable harm.” ROA.958. Despite expressly declining to

     address the PPGC’s alleged right of action, the District Court found that PPGC was



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     likely to suffer irreparable harm. ROA.958. This analysis puts the cart before the

     horse. Before reaching the merits of the preliminary injunction as to PPGC, the

     Court was required to evaluate the legal basis for PPGC’s claims and to conduct a

     jurisdictional analysis in response to the LDHH’s motion to dismiss. Assuming that

     consideration of whether PPGC was irreparably harmed was proper, its harm was

     self-inflicted. Self-inflicted harm is not irreparable. As the Tenth Circuit has

     explained, purported harm resulting from:

                  . . . [T]he express terms of a contract [the plaintiff]
                  negotiated, and therefore the removal of [its] managers is
                  a harm that it inflicted upon itself. We will not consider a
                  self-inflicted harm to be irreparable, and we therefore
                  reject [the plaintiff’s] contention that [the acts complained
                  of] constitute an irreparable harm.

     Salt Lake Tribune Pub. Co., LLC v. AT & T Corp., 320 F.3d 1081, 1106 (10th Cir.

     2003).

           Further, the District Court erred in finding that the Individual Plaintiffs will

     suffer irreparable harm. First, as noted above, to the extent the Individual Plaintiffs

     have a right of action, that right under 42 U.S.C. § 1396a(a)(23) does not encompass

     using a provider that is not in the Medicaid program. Rather, the right entails a

     choice among a pool of qualified providers in the state Medicaid program. LDHH

     has not interfered with the Individual Plaintiffs’ right to choose such a qualified

     provider. Indeed, LDHH provided a list of available providers and a map of provider

     locations in connection with this lawsuit. ROA.321-326.

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           Second, and more fundamentally, irreparable harm may not be presumed

     merely from a statutory violation, even one enforceable by a private right of action.

     See Canal Auth. of State of Fla. v. Callaway, 489 F.2d 567, 574 (5th Cir. 1974)

     (“[W]here no irreparable injury is alleged and proved, denial of a preliminary

     injunction is appropriate.”). Rather, courts must apply the usual test of whether a

     particular harm is concrete, great, and imminent enough to constitute irreparable

     harm. See Flynn v. Siren-BookStrand, Inc., 2013 WL 53159595 at *5 (D. Neb.

     2013). The Individual Plaintiffs have failed to establish the type of harm that is

     concrete, great, and imminent enough to constitute irreparable harm. The inability

     to exercise a “preference” for a disqualified provider does not meet this test.

           The District Court did not find that patient plaintiffs would be unable to locate

     qualified providers to provide the services they sought. Instead, the District Court

     concluded that PPGC’s current patients may not have a “ready and convenient

     outlet” for family planning services. ROA.959. This does not constitute the type of

     imminent, concrete, and great harm required for a finding of irreparable harm.

           Whether or not the Individual Plaintiffs will face longer wait times after

     arriving for an appointment at other providers or longer lead times when scheduling

     appointments is speculative. Both depends on the provider each Individual Plaintiff

     chooses to visit, the time of year, and what services the patient needs. While, the

     difference in lead times needed to schedule an appointment may slightly increase the



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     difficulty of juggling family and work responsibilities, these inconveniences are

     common to everyone who needs to obtain healthcare. They are certainly not the type

     of great and concrete harm that would justify irreparable harm or necessitate the

     extraordinary relief of a preliminary injunction.

            D.    The Balance of Harm and Public Interest Factors Weigh in Favor
                  of Denying the Preliminary Injunction.

            The District Court erroneously concluded that Plaintiffs met their burden with

     regard to the final two factors of the preliminary injunction analysis. See ROA.960-

     962.    As explained in the preceding section, the Individual Plaintiffs’ harm is

     minimal. On the other hand, states have a substantial interest in administering their

     Medicaid program, overseeing the expenditure of state Medicaid funds and ensuring

     that Medicaid providers are complying with applicable laws and regulations. See

     e.g., Frew ex rel. Frew v. Hawkins, 540 U.S. 431, 441 (2004) (explaining that states

     have legitimate concerns regarding actions that “undermine the sovereign interests

     and accountability of state governments”). Similarly, the general public, whose tax

     dollars fund the Medicaid program, have an interest in the proper expenditure of

     those funds, including the oversight of providers who are receiving those funds.

     These concerns outweigh the mere inconvenience to the Individual Plaintiffs of

     having longer wait times or longer lead times for appointments for family planning

     services.




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           Finally, the interest of the public was contemplated by Congress within the

     Medicaid Act when granting states authority to disqualify providers and in providing

     for administrative review. Louisiana law makes that process suspensive. Thus, the

     public interest is fully protected by allowing that process to run its course.

                                        CONCLUSION

           For the foregoing reasons, LDHH respectfully requests this Court to reverse

     the District Court’s decision and dismiss this case for lack of subject matter

     jurisdiction, or alternatively, reverse the District Court’s entry of the preliminary

     injunction and remand for further proceedings.


                                      Respectfully submitted,

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                                      IN HER OFFICIAL CAPACITY AS
                                      SECRETARY OF THE LOUISIANA
                                      DEPARTMENT OF HEALTH AND
                                      HOSPITALS




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                              CERTIFICATE OF SERVICE

           I hereby certify that a copy of the above and foregoing Original Appellant

     Brief and record excerpts have this day been filed with the Clerk of Court for the

     Fifth Circuit Court of Appeals (and copies provided to the following opposing

     counsel) utilizing the CM/ECF System in accordance with Fed. R. App. P. Rule 25

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           Baton Rouge, Louisiana, this 8th day of January, 2016.

                                  /s/ Jimmy R. Faircloth, Jr.
                                    Jimmy R. Faircloth, Jr.




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               CERTIFICATE OF COMPLIANCE WITH RULE 32(a)

     1.   This brief complies with the type-volume limitation of Fed. R. App. P. 32

          (a)(7)(B) because this brief contains 13,509 words, excluding the parts of the

          brief exempted by Fed. R. App. P. 32 (a)(7)(B)(iii).

     2.   This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

          and the type style requirements of Fed. R. App. P. 32 (a)(6) because this brief

          has been prepared in proportionally spaced typeface using Microsoft Word in

          14-point font (Times New Roman).

     3.   If the Court so requests, the undersigned will provide an electronic version of

          the Brief and/or a copy of the word count printout.



                                 /s/ Jimmy R. Faircloth, Jr.
                                   Jimmy R. Faircloth, Jr.




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                                                                         Page 1

 1               IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
 2                         AMARILLO DIVISION
 3    United States of America     *
      ex rel. ALEX DOE, Relator, * CIVIL ACTION NO. 2:21-CV-
 4                                 * 00022-Z
                                   *
 5    The State of Texas           *
      ex rel. ALEX DOE, Relator    *
 6                                 *
      The State of Louisiana       *
 7    ex rel. ALEX DOE, Relator    *
                                   *
 8              Plaintiffs,        *
      V.                           *
 9                                 *
      Planned Parenthood           *
10    Federation of America,       *
      Inc., Planned Parenthood     *
11    Gulf Coast, Inc., Planned    *
      Parenthood of Greater        *
12    Texas, Inc., Planned         *
      Parenthood South Texas,      *
13    Inc., Planned Parenthood     *
      Cameron County, Inc.,        *
14    Planned Parenthood San       *
      Antonio, Inc.,               *
15                                 *
                Defendants         *
16
17              *******************************************
18                   ORAL AND VIDEOTAPED DEPOSITION OF
19               TEXAS HEALTH AND HUMAN SERVICES COMMISSION
20                        AND THE STATE OF TEXAS
21                       30(b)(6) EMILY ZALKOVSKY
22                           DECEMBER 6, 2022
23              ********************************************
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25

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                                                                         Page 44

 1    claims for Texas Medicaid go through MCOs as opposed to

 2    Fee For Service?

 3                         MR. BRISSENDEN:       Object to form.

 4           A.    Yes, I would agree.

 5           Q.    Okay.     Great.    So it's pretty important that

 6    the MCOs know which providers are enrolled.                   Right?

 7                         MS. STEPHENS:      Object to form.

 8           A.    Correct.

 9           Q.    Isn't it true that the Texas affiliates were on

10    the MPF well past February of 2017?

11           A.    That is correct.

12           Q.    Okay.     Into March of 2021?

13           A.    Let me check.       That is correct.

14           Q.    Okay.     What's -- are you familiar with the

15    acronym SAR, S-A-R?

16           A.    I am.

17           Q.    Okay.     What's a SAR?

18           A.    It's stands for, I believe, State Action

19    Request.

20           Q.    And what is that?

21           A.    That is a way for the State to give direction

22    to TMHP to take an action.

23           Q.    And I should have asked.           Just give me a high

24    level of what TMHP does as the State's Medicaid

25    contractor.

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                                                                         Page 1

 1               IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
 2                         AMARILLO DIVISION
 3    United States of America     *
      ex rel. ALEX DOE, Relator, * CIVIL ACTION NO. 2:21-CV-
 4                                 * 00022-Z
                                   *
 5    The State of Texas           *
      ex rel. ALEX DOE, Relator    *
 6                                 *
      The State of Louisiana       *
 7    ex rel. ALEX DOE, Relator    *
                                   *
 8              Plaintiffs,        *
      V.                           *
 9                                 *
      Planned Parenthood           *
10    Federation of America,       *
      Inc., Planned Parenthood     *
11    Gulf Coast, Inc., Planned    *
      Parenthood of Greater        *
12    Texas, Inc., Planned         *
      Parenthood South Texas,      *
13    Inc., Planned Parenthood     *
      Cameron County, Inc.,        *
14    Planned Parenthood San       *
      Antonio, Inc.,               *
15                                 *
                Defendants         *
16
17              *******************************************
18                   ORAL AND VIDEOTAPED DEPOSITION OF
19               TEXAS HEALTH AND HUMAN SERVICES COMMISSION
20                        AND THE STATE OF TEXAS
21                      30(b)(6) JEFFREY GOLDSTEIN
22                           DECEMBER 7, 2022
23              ********************************************
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                                                                             App.0994
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                                                                         Page 96

 1           Q.    And because it was federally mandated.

 2    Correct?

 3           A.    Correct.

 4           Q.    Let's do the next one.          The next one is 37.

 5                         (Exhibit No. 37 marked)

 6           Q.    Have you had a chance to review Exhibit 37?

 7           A.    Yes.

 8           Q.    Okay.     So I'll represent to you that Exhibit 37

 9    is a printout of information that we obtained by doing a

10    provider search on the TMHP website.                Okay?

11           A.    Okay.

12           Q.    And you're familiar with TMHP?

13           A.    Yes.

14           Q.    What is TMHP?

15           A.    Texas Medicaid, I think, Health Partnership.

16           Q.    What does it -- what does it functionally do

17    with respect to Texas Medicaid?

18           A.    They are the entity that enrolls providers.

19           Q.    They're a contractor to HHSC?

20           A.    Yes, they are contracted.

21           Q.    Okay.     And you can tell from Exhibit 37 that

22    AOC TX, LLC is on Page 3 of 4 showing as a provider on

23    the TMHP website, and that it is accepting new patients

24    under traditional Medicaid.             Do you see that?

25           A.    Yes, I do.

                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
                                                                              App.0995
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

 United States of America                           §
                                                    §
 ex rel. ALEX DOE, Relator,                         §
                                                    §
                                                    §   CIVIL ACTION NO. 2:21-CV-
                                                    §   00022-Z
 The State of Texas                                 §
                                                    §   Date:   March 9, 2022
 ex rel. ALEX DOE, Relator,                         §
                                                    §
                                                    §
                                                    §
 The State of Louisiana                             §
                                                    §
 ex rel. ALEX DOE, Relator,                         §
                                                    §
        Plaintiffs,                                 §
                                                    §
 v.                                                 §
                                                    §
 Planned Parenthood Federation of America, Inc.,    §
 Planned Parenthood Gulf Coast, Inc., Planned       §
 Parenthood of Greater Texas, Inc., Planned         §
 Parenthood South Texas, Inc., Planned Parenthood   §
 Cameron County, Inc., Planned Parenthood San       §
 Antonio, Inc.,                                     §
                                                    §
        Defendants.                                 §
                                                    §

                  DEFENDANTS’ RULE 26(a)(1) INITIAL DISCLOSURES




                                                                                App.0996
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        Defendants Planned Parenthood Gulf Coast (“PPGC”), Planned Parenthood of Greater

 Texas, Inc., (“PPGT”), Planned Parenthood South Texas, Inc., (“PP South Texas”), Planned

 Parenthood Cameron County, Inc. (“PP Cameron County”), Planned Parenthood San Antonio, Inc.

 (“PP San Antonio”) (collectively, the “Texas Affiliates”); and Planned Parenthood Federation of

 America, Inc. (“PPFA”), (together, the “Defendants”) hereby submit their Initial Disclosures to

 Relator Doe and the State of Texas (“Plaintiffs”) pursuant to Rule 26(a)(1) of the Federal Rules of

 Civil Procedure.

        These disclosures are made based on the information presently available to Defendants and

 are subject to supplementation or modification as more information becomes available. By making

 these disclosures, Defendants are not representing that they are identifying every document,

 tangible thing, or witness possibly relevant to this lawsuit. These disclosures are not intended to

 prejudice or waive any privileges or objections any of the Defendants may have with respect to

 any outstanding or subsequent requests for discovery.1

 I.     RULE 26(a)(1)(A)(i) WITNESSES

        Defendants hereby disclose this list of persons who Defendants believe are likely to have

 discoverable information that Defendants may use to support their claims or defenses, unless solely

 for impeachment, based on Defendants’ knowledge to date.




 1
   Defendants understand that discovery will not begin until after the Court issues a Scheduling
 Order. Order (March 7, 2022) (finding that Defendants’ outstanding motion to dismiss constitutes
 “good cause” for delay and stating that the “Court anticipates it will rule on the pending Motions
 to Dismiss (ECF Nos. 44, 47, 48, 50) before it issues a Scheduling Order that includes Rule 34
 production and other relevant discovery deadlines”).
                                                1


                                                                                         App.0997
Case 2:21-cv-00022-Z Document 439 Filed 02/21/23       Page 116 of 163 PageID 24308



            Name                 Contact Information             Subject Matter

                                                       May have knowledge of facts related
  Melaney Linton              This witness should be   to PPGC’s Texas and Louisiana
  PPGC President & Chief      contacted through        Medicaid termination, Texas &
  Executive Officer           undersigned counsel.     Louisiana Medicaid claims process,
                                                       and research agreements.

  Melissa Farrell             This witness should be
                                                       May have knowledge of facts related
  Former PPGC Research        contacted through
                                                       to PPGC’s research agreements.
  Director                    undersigned counsel.

                                                       May have knowledge of facts related
  Alfred Curtis               This witness should be   to PPGC’s Texas and Louisiana
  PPGC Chief Operating        contacted through        Medicaid termination, Texas &
  Officer                     undersigned counsel.     Louisiana Medicaid claims process,
                                                       and research agreements.

  Ronda Exnicious
                                                       May have knowledge of facts related
  Clinical Health Network                              to PPGC’s Texas and Louisiana
  for Transformation, Chief   This witness should be   Medicaid termination and Texas and
  Revenue Officer             contacted through        Louisiana Medicaid claims process,
  Former PPGC Vice            undersigned counsel.     including during the period covered
  President, Revenue Cycle                             by the injunction of the termination
  Management                                           notice.

                                                       May have knowledge of facts related
                                                       to PP South Texas’ Texas Medicaid
  Jeffrey Hons              This witness should be     termination, Texas Medicaid claims
  PP South Texas President contacted through           process, including during the period
  & Chief Executive Officer undersigned counsel.       covered by the injunction of the
                                                       termination notice, and research
                                                       agreements.

  Polin Barraza
                                                       May have knowledge of facts related
  PP South Texas Senior                                to PP South Texas, PP Cameron
  Vice President & Chief
                                                       County, and PP San Antonio’s Texas
  Operating Officer           This witness should be
                                                       Medicaid termination, Texas
                              contacted through
  PP Cameron County                                    Medicaid claims process, including
                              undersigned counsel.
  President                                            during the period covered by the
                                                       injunction of the termination notice,
  PP San Antonio President
                                                       and research agreements.



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                                                                              App.0998
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           Name               Contact Information             Subject Matter

                                                    May have knowledge of facts related
                                                    to PPGT’s Texas Medicaid
  Ken Lambrecht            This witness should be   termination, Texas Medicaid claims
  PPGT President & Chief   contacted through        process, including during the period
  Executive Officer        undersigned counsel.     covered by the injunction of the
                                                    termination notice, and research
                                                    agreements.

                                                    May have knowledge of facts related
                                                    to PPGT’s Texas Medicaid
  Sheila McKinney          This witness should be   termination, Texas Medicaid claims
  PPGT Chief Operating     contacted through        process, including during the period
  Officer                  undersigned counsel.     covered by the injunction of the
                                                    termination notice, and research
                                                    agreements.

                                                    May have knowledge of facts related
                                                    to PPGT’s Texas Medicaid
  Dan Sannes               This witness should be   termination, Texas Medicaid claims
  PPGT Chief Financial     contacted through        process, including during the period
  Officer                  undersigned counsel.     covered by the injunction of the
                                                    termination notice, and research
                                                    agreements.

                                                    May have knowledge of facts related
  Kasia White                                       to PPGT’s Texas Medicaid
                           This witness should be   termination, Texas Medicaid claims
  PPGT Vice President      contacted through        process, including during the period
  Quality, Risk            undersigned counsel.     covered by the injunction of the
  Management & Training                             termination notice, and research
                                                    agreements.

                                                    May have knowledge of facts related
                                                    to PPGT’s Texas Medicaid
  Beth Watson              This witness should be   termination, Texas Medicaid claims
  PPGT Vice President      contacted through        process, including during the period
  Health Services          undersigned counsel.     covered by the injunction of the
                                                    termination notice, and research
                                                    agreements.




                                           3


                                                                          App.0999
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            Name                  Contact Information              Subject Matter

  Kim Custer
  PPFA Executive Vice          This witness should be   May have knowledge of facts related
  President & Chief            contacted through        to PPFA’s relationship with its
  Federation Engagement &      undersigned counsel.     member-affiliates.
  Impact Officer

  Relator Alex Doe

  Unknown individuals
  currently or formerly
                                                        May have knowledge of facts related
  employed by the Center
                               Unknown                  to the administration of the federal
  for Medicare and
                                                        Medicaid program.
  Medicaid Services
  (“CMS”)

  Unknown individuals
  currently or formerly
                                                        May have knowledge of facts related
  employed by the Texas
                               Unknown                  to a visit by the Texas Rangers to
  Ranger Division of the
                                                        PPGC to discuss research contracts.
  Texas Department of
  Public Safety

  Unknown individuals                                   May have knowledge of facts related
  currently or formerly                                 to Texas Affiliates’ eligibility to
                               Unknown
  employed by the Texas                                 participate and participation in Texas
  Health & Human Services                               Medicaid.

  Unknown individuals
  currently or formerly                                 May have knowledge of facts related
  employed by the Texas        Unknown                  to the decision to terminate the Texas
  HHSC Office of Inspector                              Affiliates from Texas Medicaid.
  General

  Senator Chuck Grassley                                May have knowledge of facts related
                                                        to Relator’s contact with the
  Former Chair of Senate       Unknown
                                                        committee and other Members of
  Judiciary Committee                                   Congress.

  Senator Marsha Blackburn                              May have knowledge of facts related
  Chair of 2015 House                                   to Relator’s contact with the
                               Unknown
  Select Panel of the Energy                            committee and other Members of
  & Commerce committee                                  Congress.


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                                                                                App.1000
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             Name                      Contact Information                  Subject Matter

   All Designated Fed. R.                                         Topics for which witnesses are or
                              To be determined
   Civ. P. 30(b)(6) Witnesses                                     have been designated.

        Defendants also reserve the right to call any witness identified in Plaintiffs’ complaints,

 any witnesses that Defendants identify in response to Plaintiffs’ discovery requests, and any

 witness that Plaintiffs identify as persons with relevant knowledge.

 II.    RULE 26(a)(1)(A)(ii) DOCUMENTS AND TANGIBLE THINGS

        Pursuant to Rule 26(a)(1)(A)(ii), Defendants identify the following categories of

 documents, electronically stored information, and tangible things that Defendants have in their

 possession that they may use to support their defenses presented in this case:

        1.      Communications between Plaintiffs and Defendants;

        2.      Communications between Relator and Texas Affiliates, their employees, and/or

                their staff members;

        3.      Materials from Texas Affiliates regarding site visits by Relator or other

                “investigators” to any of the Texas Affiliates;

        4.      Communications related to Texas Affiliates’ Texas Medicaid claims after receiving

                termination notices;

        5.      Communications related to Texas Affiliates’ Louisiana Medicaid claims after

                receiving termination notices;

        6.      Documents related to Texas Affiliates’ Texas Medicaid claims submissions;

        7.      Documents related to Texas Affiliates’ Louisiana Medicaid claims submissions;

        8.      Documents regarding Texas Affiliates’ eligibility to participate in Texas Medicaid;

                and



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                                                                                         App.1001
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        9.      Documents regarding Texas Affiliates’ eligibility to participate in Louisiana

                Medicaid.

 III.   RULE 26(a)(1)(A)(iii) DAMAGES

        Not applicable.

 IV.    RULE 26(a)(1)(A)(iv) INSURANCE

        Not applicable.

 V.     Supplementation

        Defendants’ Initial Disclosures are made without prejudice to Defendants’ rights to change

 or supplement their responses, Defendants’ rights to assert privileges or objections with respect to

 any requests for discovery, and Defendants’ rights to introduce at trial additional evidence and

 documents as warranted by the development of the facts underlying this lawsuit.



  Dated: March 9, 2022                                Respectfully submitted,

                                                      ARNOLD & PORTER KAYE SCHOLER
                                                      LLP



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                                                  6


                                                                                          App.1002
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                                             Fax: (806) 350-7716

                                             Attorneys for Defendants




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                                                                          App.1003
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 9, 2022, the foregoing Defendants’ Rule 26(a)(1) Initial

 Disclosures were served upon all counsel of record for Plaintiffs by e-mail.



                                              /s/ Craig D. Margolis
                                              Craig D. Margolis




                                                                                       App.1004
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

  United States of America                     §
  ex rel. ALEX DOE, Relator,                   §
                                               §
  The State of Texas                           §
  ex rel. ALEX DOE, Relator,                   §   CIVIL ACTION NO. 2:21-CV-00022-Z
                                               §
  The State of Louisiana                       §
  ex rel. ALEX DOE, Relator,                   §
                                               §
         Plaintiffs,                           §
                                               §
  v.
                                               §
  Planned Parenthood Federation of             §
  America, Inc., Planned Parenthood Gulf       §
  Coast, Inc., Planned Parenthood of Greater   §
  Texas, Inc., Planned Parenthood South        §
  Texas, Inc., Planned Parenthood Cameron      §
  County, Inc., Planned Parenthood San         §
  Antonio, Inc.,                               §
                                               §
         Defendants.                           §
                                               §

       DEFENDANTS’ SUPPLEMENTAL RULE 26(a)(1) INITIAL DISCLOSURES




                                                                             App.1005
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           Defendants Planned Parenthood Gulf Coast (“PPGC”), Planned Parenthood of Greater

 Texas, Inc. (“PPGT”), Planned Parenthood of South Texas, Inc. (“PP South Texas”), Planned

 Parenthood of Cameron County, Inc. (“PP Cameron County”), Planned Parenthood San Antonio,

 Inc. (“PP San Antonio”) (collectively, the “Texas Affiliates”) and Planned Parenthood Federation

 of America, Inc. (“PPFA” and, together with the Texas Affiliates, the “Defendants”) hereby

 supplement Defendants’ Rule 26(a)(1) Initial Disclosures as follows:

 I.        RULE 26(a)(1)(A)(i) WITNESSES

           Defendants disclose the following list of persons who Defendants believe are likely to have

 discoverable information that Defendants may use to support their claims or defenses, unless solely

 for impeachment, based on Defendants’ knowledge to date.


                Name                         Contact Information                       Subject Matter

     Jeffrey Hons 1                    This witness should be                  See Initial Disclosures.
                                       contacted through Arnold &
     Former PP South Texas             Porter.
     President & Chief Executive
     Officer

     Vickie Barrow-Klein               This witness should be                  May have knowledge of
                                       contacted through O’Melveny.            PPFA operations, PPFA’s
     PPFA Chief Financial                                                      relationship with the Texas
     Officer and Chief Operating                                               Affiliates, and PPFA’s
     Officer                                                                   general corporate structure.

     Unknown individuals               200 Independence Avenue,                May have knowledge of
     currently or formerly             S.W., Washington, D.C. 20201            facts related to the
     employed by the                                                           administration of the federal
     U.S. Department of Health                                                 Medicaid program.
     & Human Services
     (“DHHS”)




 1
  Defendants include Mr. Hons here merely to alert Plaintiffs to Mr. Hons’s new status as a former employee of PP
 South Texas following his recent retirement.




                                                                                                      App.1006
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            Name                    Contact Information                 Subject Matter

  Unknown individuals           628 N. 4th Street, Baton Rouge,   May have knowledge of
  currently or formerly         Louisiana 70802                   facts related to PPGC’s
  employed by the Louisiana                                       eligibility to participate and
  Department of Health                                            participation in Louisiana
  (“LDH”)                                                         Medicaid and the Louisiana
                                                                  termination proceedings and
                                                                  related litigation.

  Unknown individuals           7500 Security Boulevard,          See Initial Disclosures.
  currently or formerly         Baltimore, Maryland 21244
  employed by the Centers for
  Medicare and Medicaid
  Services (“CMS”)

  Individuals currently         North Austin Complex, 4601        See Initial Disclosures.
  employed by Texas Health      W. Guadalupe St., Austin, TX
  & Human Services              78751-3146
  Commission (“HHSC”),
  which may include, for
  example, Cecile Erwin
  Young, HHSC’s Executive
  Commissioner, or Stephanie
  Stephens, HHSC’s Chief
  Medicaid & CHIP Services
  Officer

  Unknown individuals           11501 Burnet Road, Building       See Initial Disclosures.
  currently or formerly         902, Austin, Texas 78758
  employed by the Texas
  HHSC Office of Inspector
  General (“HHSC-OIG”)

  Stuart Bowen                  4010 Long Champ Drive, #1,        May have knowledge of
                                Austin, TX 78746                  facts related to Texas’s
  Former Inspector General,                                       decision to terminate the
  HHSC-OIG                                                        Texas Affiliates from Texas
                                                                  Medicaid, the preliminary
                                                                  injunction proceedings, and
                                                                  the order enjoining Texas
                                                                  from terminating the Texas
                                                                  Medicaid Provider
                                                                  Agreements.




                                               3
                                                                                      App.1007
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             Name                      Contact Information                 Subject Matter

  Ted Spears, M.D.               11501 Burnet Road, Building        May have knowledge of
                                 902, Austin, Texas 78758           facts related to Texas’s
  Chief Medical Officer,                                            decision to terminate the
  HHSC-OIG                                                          Texas Affiliates from Texas
                                                                    Medicaid.

  Charles Smith                  Unknown (Austin, Texas)            May have knowledge of
                                                                    facts related to Texas’s Final
  Former Executive                                                  Termination Notice, the
  Commissioner, HHSC                                                preliminary injunction
                                                                    proceedings, and Texas’s
                                                                    payment of Medicaid claims
                                                                    during the pendency of
                                                                    preliminary injunction.

  Individuals or Fed. R. Civ.    One Baylor Plaza, Houston, TX      Defendants dispute BCM’s
  P. 30(b)(6) Witnesses for      77030                              relevancy to the claims
  Baylor College of Medicine                                        alleged, but if the Court
  (“BCM”)                                                           disagrees and deems BCM
                                                                    relevant, then BCM
                                                                    witnesses may have
                                                                    knowledge of facts related
                                                                    to the research studies
                                                                    and/or negotiations alleged
                                                                    in Relator’s Complaint.

  Individuals or Fed. R. Civ.    301 University Boulevard,          May have knowledge of
  P. 30(b)(6) Witnesses for      Galveston, TX 77555                facts related to the research
  University of Texas Medical                                       studies and/or negotiations
  Branch                                                            alleged in Relator’s
                                                                    Complaint.

  Individuals or Fed. R. Civ.    Unknown (Austin, Texas)            May have knowledge of
  P. 30(b)(6) Witnesses for                                         facts related to Medicaid
  Texas Medicaid &                                                  claims submitted by the
  Healthcare Partnership                                            Texas Affiliates and
                                                                    Medicaid reimbursements.


        The Defendants also reserve the right to call any witness identified in Plaintiffs’

 complaints, any witnesses that Defendant identifies in response to Plaintiffs’ discovery requests,

 and any witness that Plaintiffs identify as persons with relevant knowledge.


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                                                                                        App.1008
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        These supplemental disclosures are made without prejudice to Defendants’ rights to change

 or supplement the responses, Defendants’ rights to assert privileges or objections with respect to

 any requests for discovery, and Defendants’ rights to introduce at trial additional evidence and

 documents as warranted by the development of the claims and facts underlying this lawsuit.




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                                                                                        App.1009
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  Dated: August 25, 2022             Respectfully submitted,

                                     O’MELVENY & MEYERS LLP

                                          /s/ Danny S. Ashby
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                                          Attorneys for Planned Parenthood
                                          Federation of America, Inc.




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                                                                             App.1010
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                                          Fax: (806) 350-7716

                                          Attorneys for Planned Parenthood Gulf
                                          Coast, Inc., Planned Parenthood of Greater
                                          Texas, Inc., Planned Parenthood South
                                          Texas, Inc., Planned Parenthood Cameron
                                          County, Inc., Planned Parenthood San
                                          Antonio, Inc.




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                                                                           App.1011
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 25, 2022, Defendants’ Supplemental Rule 26(a)(1) Initial

 Disclosures were served upon all counsel of record for Plaintiffs by e-mail.



                                              /s/ Danny S. Ashby
                                              Danny S. Ashby




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                                                                     App.1014
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Subject:                         RE: US ex rel Doe v. Planned Parenthood ‐ CMS documents
Sent time:                       Nov 23 2022 02:59:18
Sent files:                      PPTHIRD008.zip

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CC:                              m
Recipient name                   Action                                        File name             Event time (GMT)       Event time (CST)
jennifer.rowell@oag.texas.gov    downloaded                                    PPTHIRD008.zip        Nov 28 2022 14:17:58   Nov 28 2022 08:17:58
heather@hackerstephens.com       view_mail                                                           Nov 25 2022 16:50:34   Nov 25 2022 10:50:34
jennifer.rowell@oag.texas.gov    downloaded                                    PPTHIRD008.zip        Nov 23 2022 19:58:30   Nov 23 2022 13:58:30
jennifer.rowell@oag.texas.gov    view_mail                                                           Nov 23 2022 19:58:06   Nov 23 2022 13:58:06
meghan.martin@arnoldporter.com   view_mail                                                           Nov 23 2022 03:05:24   Nov 22 2022 21:05:24
andrew@hackerstephens.com        downloaded                                    PPTHIRD008.zip        Nov 23 2022 03:04:34   Nov 22 2022 21:04:34
andrew@hackerstephens.com        view_mail                                                           Nov 23 2022 03:04:23   Nov 22 2022 21:04:23




                                                                                                                                         App.1015
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

 United States of America                               §
                                                        §
 ex rel. ALEX DOE, Relator,                             §
                                                        §
                                                        §     CIVIL ACTION NO. 2:21-CV-
                                                        §     00022-Z
 The State of Texas                                     §
                                                        §     Date:      December 2, 2022
 ex rel. ALEX DOE, Relator,                             §
                                                        §
                                                        §
                                                        §
 The State of Louisiana                                 §
                                                        §
 ex rel. ALEX DOE, Relator,                             §
                                                        §
        Plaintiffs,                                     §
                                                        §
 v.                                                     §
                                                        §
 Planned Parenthood Federation of America, Inc.,        §
 Planned Parenthood Gulf Coast, Inc., Planned           §
 Parenthood of Greater Texas, Inc., Planned             §
 Parenthood South Texas, Inc., Planned Parenthood       §
 Cameron County, Inc., Planned Parenthood San           §
 Antonio, Inc.,                                         §
                                                        §
        Defendants.                                     §
                                                        §

      AFFILIATE DEFENDANTS’ RULE 26(a)(1) FIFTH SUPPLEMENTAL INITIAL
                              DISCLOSURES

        Defendants Planned Parenthood Gulf Coast (“PPGC”), Planned Parenthood of Greater Texas,

 Inc. (“PPGT”), Planned Parenthood of South Texas, Inc. (“PP South Texas”), Planned Parenthood of

 Cameron County, Inc. (“PP Cameron County”), and Planned Parenthood San Antonio, Inc. (“PP San

 Antonio”) hereby supplement their Rule 26(a)(1) Initial Disclosures as follows:




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 I.       RULE 26(a)(1)(A)(i) WITNESSES

          Defendants hereby disclose this list of persons who Defendants believe are likely to have

 discoverable information that Defendants may use to support their claims or defenses, unless solely

 for impeachment, based on Defendants’ knowledge to date.

              Name                    Contact Information                      Subject Matter

        Anne Marie Costello       U.S. Centers for Medicare &           Knowledge of facts related to
      Deputy Director, Center          Medicaid Services              Affiliate Defendants terminations
       for Medicaid & CHIP         7500 Security Boulevard,         from Texas and Louisiana Medicaid,
                                     Baltimore, MD 21244             the administration of Medicaid, and
      Services at Centers for                                           CMS’s recoupment practices.
       Medicare & Medicaid
             Services1                                                       Declarant for CMS.




          Defendants also reserve the right to call any witness identified in the Plaintiffs’ complaints,

 any witnesses that Defendants identify in response to Plaintiffs’ discovery requests, and any

 witness that Plaintiffs identify as persons with relevant knowledge.


     Dated: December 2, 2022                            Respectfully submitted,

                                                        ARNOLD & PORTER KAYE SCHOLER
                                                        LLP



                                                        By:    /s/ Tirzah S. Lollar____________




 1
   Defendants disclosed CMS as a potential witness on March 9, 2022 and again on August 25,
 2022. Plaintiffs have been aware of Ms. Costello specifically as a witness from CMS since
 November 22, 2022, when her declaration was produced to them by Defendants. Out of an
 abundance of caution, however, Affiliate Defendants provide this supplemental disclosure to
 identify Ms. Costello as the individual likely to provide information on behalf of CMS in this
 proceeding. Affiliate Defendants make this supplemental disclosure without prejudice to, and
 hereby reserve, their right to present another or different witness from CMS should Ms. Costello
 become unavailable.



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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 2, 2022 the foregoing Affiliate Defendants’ Rule

 26(a)(1) Fifth Supplemental Disclosures were served upon all counsel record by e-mail.



                                             /s/ Tirzah S. Lollar
                                             Tirzah S. Lollar




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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                        AMARILLO DIVISION

    UNITED STATES OF AMERICA,    §
    ex rel. ALEX DOE, Relator,   §
                                 §
    THE STATE OF TEXAS,          §
    ex rel. ALEX DOE, Relator,   §
                                 §
    THE STATE OF LOUISIANA,      §
    ex rel. ALEX DOE, Relator,   §
                                 §
                                 §
                Plaintiffs,      §
                                 §
    v.                           §            Civil Action    No.   2:21-CV-
                                 §            00022-Z
    PLANNED PARENTHOOD           §
    FEDERATION OF AMERICA, INC., §
    PLANNED PARENTHOOD GULF §
    COAST, INC., PLANNED         §
    PARENTHOOD OF GREATER        §
    TEXAS, INC., PLANNED         §
    PARENTHOOD SOUTH TEXAS,      §
    INC., PLANNED PARENTHOOD     §
    CAMERON COUNTY, INC.,        §
    PLANNED PARENTHOOD SAN       §
    ANTONIO, INC.,               §
                                 §
                Defendants.      §
                                 §




         STATE OF TEXAS’S OBJECTIONS, STATEMENTS OF
     PRIVILEGES, AND RESPONSES TO DEFENDANTS’ FIRST SET
                    OF INTERROGATORIES



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         The State of Texas files these objections, statements of privileges, and
    Responses to Defendants’ First Set of Interrogatories.

                                     OBJECTIONS
    1.     The State objects to the Interrogatories where they exceed the
    requirements imposed by Federal Rule of Civil Procedure (FRCP) 33, other
    FRCPs, or elsewhere. The State will respond to the Interrogatories in
    accordance with FRCP 33, other FRCPs, and applicable law.
    2.     The State objects to the Interrogatories where they seek disclosure of
    information protected by the attorney-client privilege, the work-product
    doctrine, the investigative-communications privilege, the common-interest
    privilege, and/or any other privileges and exemptions set forth in applicable
    law.
    3.     The State objects to the Interrogatories where they seek information not
    within the State's possession, custody, or control.
    4.     The State objects to the Interrogatories where they call for information
    to be disclosed that is protected by the HIPAA Privacy Rule or is confidential
    by law.
    5.     The State objects to the Interrogatories where they are not properly
    limited to an appropriate time period. Answering Interrogatories outside of
    the Specified Time Period from February 1, 2017 to the present will be overly
    broad, unduly burdensome, and neither relevant to any party’s claim or
    defense, nor proportional to the needs of the case, under FRCP 26(b)(1). Texas
    claims are only for the time period February 1, 2017 to the present.
    6.     The responses made at this time are without prejudice to the State's
    rights to amend or supplement its responses as appropriate under FRCP 33 or
    other rules or law.
    7.     By answering these Interrogatories, the State does not concede the
    relevance or admissibility of answers or other information. The State further
    does not waive, but instead, expressly preserves, the objections here.
    8.     The State incorporates by reference the Objections above into the
    responses set forth below. The failure to repeat any of the Objections above
    does not waive any Objection to the specific Interrogatory.
    9.     The State intends to not produce documents which are privileged under

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    the attorney-client privilege or work-product protection. Any production of
    documents which are privileged under the attorney-client privilege or work-
    product protection is inadvertent under Federal Rule of Evidence (FRE) 502.
    10. The State reserves its rights to object under Texas Government Code
    402.004 to any Response to these Interrogatories – or to any response to
    discovery – being used in this suit, either at trial, in hearings, or otherwise.
    Texas Government Code 402.004 reads: “An admission, agreement, or waiver
    made by the attorney general in an action or suit to which the state is a party
    does not prejudice the rights of the state.”
    11. The State objects to all uses by Defendants of a Time Period which is
    irrelevant to the claims in this case.




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               OBJECTIONS TO DEFENDANTS’ DEFINITIONS

    1.      Defendants’ Definition 1. Defendants’ definition and use of the terms
    “Texas,” “you,” and “your” is overly broad and neither relevant to any
    party’s claim or defense, nor proportional to the needs of the case, under
    FRCP 26(b)(1). Answering Interrogatories, and identifying and producing
    documents, with those terms as defined would be unduly burdensome. These
    terms as defined by Defendants include persons and entities with no relation
    to this matter. The terms’ vagueness and overbreadth make any Interrogatory
    with the terms as defined by Defendants exceed the scope of the specific
    claims and issues in this case and therefore makes those Interrogatories
    objectionable. The Attorney General of Texas brings this suit on behalf of
    the Texas Medicaid program, which is part of the Texas Health and Human
    Services Commission (“HHSC”). In this suit, the plaintiff, the “State,” does
    not represent any other agency, office, division, department, program,
    commission, board, or administrator of the Texas Government, or
    individuals. Where Defendants use those terms and overbroad definitions of
    the terms to seek information that is beyond the possession and reasonable
    control of the Office of the Attorney General as counsel for the HHSC;
    beyond the possession and reasonable control of the HHSC; or beyond the
    possession and reasonable control of the state agencies under the HHSC’s
    organizational umbrella, or their successor agencies, the State requests that
    Defendants show cause as to why such information should be provided. Until
    such cause is shown, the State will only provide responses to Interrogatories
    on behalf of the Texas Medicaid Program and within the reasonable control
    of the Office of the Attorney General as counsel for the HHSC; within the
    reasonable control of the HHSC; or within the reasonable control of the state
    agencies under the HHSC’s organizational umbrella, or their successor
    agencies. The State further objects to this definition to the extent its use in an
    Interrogatory seeks information protected by the attorney-client or work
    product privileges.

    2.     Defendants’ Definition 22. Defendants’ definition of the term
    “documents” is overly broad, vague, and answering Interrogatories with that
    definition would be unduly burdensome where the definition departs from
    the FRCPs and other applicable law; including but not limited to, for
    example, adding “any other tangible thing of whatever nature” to the
    definition of “documents.” The State will interpret the term “documents”
    consistent with FRCP 33 and other applicable FRCPs, rules, and law.


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    3.     Defendants’ Definition 23. Defendants’ definition of the terms
    “related to,” “relating to,” and “concerning” is overly broad, vague, and
    answering Interrogatories with that definition would be unduly burdensome.
    Defendants’ definition of the terms includes these unlimited descriptions:
    “involving in any way whatsoever the subject matter of the request” and “A
    document may ‘relate to’ or [sic.] an individual or entity without specifically
    mentioning or discussing that individual or entity by name.” The State will
    interpret the terms “related to,” “relating to,” and “concerning” consistent
    with applicable FRCPs, rules, law, and common usage.

    4.     Defendants’ Definitions 24 and 26. Defendants’ definitions of the
    terms “communication” and “communications” are overly broad, vague, and
    answering Interrogatories with those definitions would be unduly
    burdensome. Defendants’ definitions of the terms include “all oral. . .
    expressions, or other occurrences whereby thoughts, opinions, information,
    or data are transmitted between two or more persons.” The State will interpret
    the terms “communication” and communications” consistent with applicable
    FRCPs, rules, law, and common usage.

    5.     Defendants’ Definition 27. Defendants’ definitions of the terms
    “Identify” or “state the identity of” are overly broad, vague, and answering
    Interrogatories with those definitions would be unduly burdensome.
    Defendants’ definitions of the terms include “state all dates, names of all
    persons with knowledge, descriptions of the knowledge of each person, and
    descriptions of all documents relating to your response” plus overbroad
    requirements for “meetings or communications,” “invoices or payments,”
    “persons,” “companies,” “documents,” and “act[s] or event[s].” The State
    will interpret the terms “Identify” and “state the identity of” consistent with
    applicable FRCPs, rules, law, and common usage.

    6.     Defendants’ Definition 28. Defendants’ definition of “Describe in
    detail” is overly broad, vague, and answering Interrogatories with that
    definition would be unduly burdensome. Defendants’ definition of the phrase
    includes: “identify any document or communication concerning the item in
    question and to provide a complete, factual summary chronologically setting
    forth the substance of, and identifying any person participating in,
    witnessing, or having knowledge of, whether firsthand or otherwise, any fact,
    action, occurrence, conduct, event, condition, or circumstance concerning
    the item in question.” The State will interpret the phrase “Describe in detail”
    consistent with applicable FRCPs, rules, law, and common usage.
                                                                                  5

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             OBJECTIONS TO DEFENDANTS’ INSTRUCTIONS

    1.    The State objects to all of Defendants’ Instructions which exceed the
    requirements of FRCP 33, or other applicable Rules or law. The State will
    answer these Interrogatories as required by FRCP 33, and other applicable
    Rules and law.

    2.     The State objects to all uses by Defendants of a Time Period which is
    irrelevant to the claims in this case.

          Designated discovery in this case has not been completed.

          The State is ready to confer or attempt to confer, in good faith, to
    resolve any disputes related to objections, claims of privilege, or other
    matters.




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                               INTERROGATORIES

    1.     Identify each claim for payment submitted by each of the Affiliate
    Defendants that you contend was submitted in violation of the Texas
    Medicaid Fraud Prevention Act. For each claim, state the date of submission;
    the name of the Affiliate Defendant that submitted the claim; the amount of
    the claim submitted; the person(s) who submitted or signed the claim;
    identify the recipient of the claim; state the amount paid to Affiliate
    Defendants on the claim; describe in detail what is allegedly fraudulent about
    the claim; identify the principal and material facts supporting your assertion
    that the claim was fraudulent; and identify all persons with knowledge
    concerning the allegedly fraudulent claim. This request does not seek patient
    names, patient dates of birth, patient marital status, insured names, insured
    dates of birth, insured marital status, or other patient information associated
    with the claims.

    OBJECTIONS:

    Not Relevant. Texas’s Complaint in Intervention is brought under
    Section 36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. This Interrogatory misstates the elements of the State’s claims
    in its Complaint in Intervention and is therefore in large part irrelevant.
    The State’s Complaint has no allegations the Defendants “submitted
    claims” that were “fraudulent” in violation of the TMFPA, therefore this
    Interrogatory is irrelevant.

    ANSWER:

    Without waiving its Objections, Texas does not allege that the Defendants
    submitted claims to Texas in violation of the TMFPA. Rather, Texas
    alleges that Defendants failed to repay money to the State of Texas that
    they were obligated to repay. Defendants were paid for delivering Texas
    Medicaid services to Texas Medicaid patients during a time window when
    Defendants were not eligible Texas Medicaid providers. The TMFPA
    unlawful act giving rise to the Texas suit is the obligation Defendants had
    to repay money that Defendants were paid for services delivered when
    they were not eligible Texas Medicaid providers. TMFPA § 36.002(12).
    For further information about the amounts of those payments see Expert
    reports and claims data. The burden of deriving or ascertaining any
                                                                                  7

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    relevant answers to this Interrogatory is substantially the same for the
    Defendants as it is for the State. Designated discovery has not been
    completed.

    2.     Identify each overpayment received by each of the Affiliate
    Defendants that you contend Affiliate Defendants were obligated to report
    and return, but did not. For each overpayment, identify any associated claim
    by stating the date of submission of the claim; the name of the Affiliate
    Defendant that submitted the claim, the amount of the claim; the person(s)
    who submitted or signed the claim; identify the recipient of the claim; state
    the amount paid to Affiliate Defendants on the claim; describe in detail what
    is allegedly fraudulent about the claim; identify the principal and material
    facts supporting your assertion that the claim was fraudulent; and identify all
    persons with knowledge concerning the allegedly fraudulent claim. This
    request does not seek patient names, patient dates of birth, patient marital
    status, insured names, insured dates of birth, insured marital status, or other
    patient information associated with any associated claims.

    OBJECTIONS:

    Not Relevant. Texas’s Complaint in Intervention is brought under
    Section 36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. This Interrogatory misstates the elements of the State’s claims
    in the State’s Complaint in Intervention and is therefore irrelevant. The
    State’s Complaint alleges that the Defendants knowingly and improperly
    avoided an obligation to repay money owed to Texas Medicaid. The
    Complaint has no allegations the Defendants “submitted claims” that
    were “fraudulent” in violation of the TMFPA, therefore this
    Interrogatory is irrelevant.

    ANSWER:

    Without waiving its Objections, Texas does not allege that the Defendants
    submitted claims to Texas in violation of the TMFPA. Rather, Texas
    alleges that Defendants failed to repay money to the State of Texas that
    they were obligated to repay. Defendants were paid for delivering Texas
    Medicaid services to Texas Medicaid patients during a time window when
    Defendants were not eligible Texas Medicaid providers. The TMFPA
    unlawful act giving rise to this Texas suit is the obligation Defendants had
                                                                                  8

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    to repay money that Defendants were paid for services delivered when
    they were not eligible Texas Medicaid providers. TMFPA § 36.002(12).
    For further information about the amounts of those payments see Expert
    reports and claims data. The burden of deriving or ascertaining any
    relevant answers to this Interrogatory is substantially the same for the
    Defendants as it is for the State. Designated discovery has not been
    completed.

    3.     For each violation of the Texas Medicaid Fraud Prevention Act that
    you allege in this case, state the damages that you believe Texas incurred as
    a result of the conduct you have alleged. Your answer should include a
    detailed description of how the damages are calculated, the facts supporting
    your contention that each Planned Parenthood Defendant is liable for those
    damages, and all persons with knowledge of the foregoing.

    OBJECTIONS:

    Not Relevant. The remedies the State is entitled to in this TMFPA case
    are not “damages.” See In re Xerox, 555 S.W.3d 518, 534 (Tex. 2018)
    (holding that “[c]onstruing the [TMFPA] as a whole” it “employs a
    penalty scheme” rather than an “action for the recovery of damages”);
    Nazari v. State, 561 S.W.3d 495, 502 (Tex. 2018) (citing Xerox, 555 S.W.3d
    at 534). This Interrogatory, asking the State to “state damages” is asking
    for inapplicable, and irrelevant information.

    ANSWER:

    Without waiving its Objections, Texas is not seeking damages here under
    its allegations of unlawful acts under the TMFPA. The State is seeking all
    available remedies under the TMFPA, which do not include damages.
    This remedies model is detailed in our Expert reports.

    4.     Identify and describe in detail the principal and material facts that form
    the basis for Texas’s termination of each of the Planned Parenthood Affiliates
    from Texas Medicaid. Your response should include the basis of your
    contention that the affiliate: (A) is not qualified to provide medical services
    under Texas Medicaid, including but not limited to all laws, regulations,
    policies, agreements, manuals, or other guidance that you contend each of
    the Planned Parenthood Affiliates violated; (B) engaged in practices that
    violated generally accepted medical standards, including which generally
                                                                                    9

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    accepted medical standards you contend were violated and how they were
    violated; and/or (C) engaged in misrepresentations about its activity relating
    to fetal tissue procurements, including identifying any such
    misrepresentations.

    OBJECTIONS:

    Not Relevant. Texas’s Complaint in Intervention is brought under
    Section 36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. The “termination of each of the Planned Parenthood
    Affiliates” is not an issue in this case. That issue was decided as a matter
    of law when the Defendants did not properly contest their status as
    terminated from Texas Medicaid. This has been recognized by the Fifth
    Circuit and the Honorable Judge Lora Livingston in Travis County
    District Court. This question, therefore, asks for information that is
    irrelevant to any of the State’s claims or to defenses to the State’s claims
    in this case.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of Defendants
    termination from Texas Medicaid, which has been decided as a matter of
    law and which is not an issue in this case.

    ANSWER:

    The State stands on its Objections and will not answer this Interrogatory.

    5.    Identify and describe in detail the principal and material facts that form
    the basis of your contention that PPGT, PPST, PP Cameron County, and PP
    San Antonio are each “a person that is affiliated with a person who commits
    a program violation” under 1 Tex. Admin. Code Sec. 371.1703(c)(7) and/or
    are otherwise not qualified to provide medical services under Texas
    Medicaid.

    OBJECTIONS:

    Not Relevant. Texas’s Complaint in Intervention is brought under
    Section 36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
                                                                                  10

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    Medicaid. The “commission of program violations” is not an issue in this
    case. That issue, and the ensuing termination of the Defendants, was
    decided as a matter of law when the Defendants did not properly contest
    their status as terminated from Texas Medicaid. This has been recognized
    by the Fifth Circuit and the Honorable Judge Lora Livingston in Travis
    County District Court. This question, therefore, asks for information that
    is irrelevant to any of the State’s claims or to defenses to the State’s claims
    in this case.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of
    Defendants’ termination from Texas Medicaid, which has been decided
    as a matter of law and which is not an issue in this case.

    ANSWER:

    The State stands on its Objections and will not answer this Interrogatory.

    6.     State when you were first contacted by Relator, the Center for Medical
    Progress, or third parties acting on Relator’s behalf regarding allegations that
    any Planned Parenthood Affiliate was improperly engaged in fetal tissue
    procurement or otherwise violating laws or regulations related to medical
    research or to fetal tissue procurement. Describe in detail the information
    provided to you by Relator, the Center for Medical Progress, or third parties
    acting on Relator’s behalf, including but not limited to any documents or other
    evidence that was provided to you.

    OBJECTION:

    Not Relevant. Texas’s Complaint in Intervention is brought under
    Section 36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. When the “Relator, the Center for Medical Progress, or third
    parties” first contacted the State, and “fetal tissue” are not relevant to the
    State’s claims or to defenses to the State’s claims in this case.

    STATEMENT OF PRIVILEGES:

    Core Work Product, Common Interest, and Attorney/Client: This
    Interrogatory inquiring into when Texas was first contacted by “Relator,
                                                                                 11

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    The Center for Medical Progress, or third parties acting on Relator’s
    behalf regarding allegations” of “fetal tissue procurement or otherwise
    violating laws or regulations related to medical research or to fetal tissue
    procurement” asks for information which is covered by the attorney-
    client, common interest, and work product privileges and protections.
    This is especially true with the almost unlimited definitions of “related
    to,” and “you.”

    Government Code Medicaid Investigative Privilege. This Interrogatory
    inquiring into when Texas was first contacted by “Relator, The Center
    for Medical Progress, or third parties acting on Relator’s behalf
    regarding allegations” of “fetal tissue procurement or otherwise violating
    laws or regulations related to medical research or to fetal tissue
    procurement” especially with its overbreadth, asks for information
    which is privileged under the Government Code Medicaid Investigative
    Privilege. Texas Government Code § 531.102(k) and Texas Government
    Code § 531.1021(g) (“All information and materials subpoenaed or
    compiled by the [OIG] office in connection with an audit or investigation
    or by the office of the attorney general in connection with a Medicaid
    fraud investigation are confidential and not subject to disclosure under
    Chapter 552, and not subject to disclosure, discovery, subpoena, or other
    means of legal compulsion for their release to anyone other than the office
    or the attorney general or their employees or agents involved in the audit
    or investigation conducted by the office or the attorney general, except
    that this information may be disclosed to the state auditor's office, law
    enforcement agencies, and other entities as permitted by other law.”).

    ANSWER:

    The State stands on its Objections and Statement of Privileges and will
    not answer this Interrogatory.

    7.     Describe in detail your communications with the Government, if any,
    regarding the qualifications of each of the Planned Parenthood Affiliates to
    provide Medicaid or Texas Medicaid services, whether each of the Planned
    Parenthood Affiliates engaged in practices that violated generally accepted
    medical standards and if so which ones, whether each of the Planned
    Parenthood Affiliates engaged in misrepresentations about its activity relating
    to fetal tissue procurements and if so which misrepresentations, Texas’s
    termination of each of the Planned Parenthood Affiliates from Texas
                                                                                12

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    Medicaid, and whether the termination of each of the Planned Parenthood
    Affiliates from Texas Medicaid violates Medicaid’s free choice of provider
    requirement. Your response should include, but not be limited to, a detailed
    description of any response from Texas to the August 11, 2016 letter from
    Vikki Wachino, Director, Centers for Medicare & Medicaid Services,
    addressed to Gary Jessee, Associate Commissioner for Medicaid/CHIP, Texas
    Health and Human Services Commission (attached as Ex. A).

    OBJECTIONS:

    Not relevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. Neither Defendants’ “qualifications” and possible
    “misrepresentations,” “generally accepted medical standards,” “fetal
    tissue,” Defendants’ terminations from Texas Medicaid, nor “Medicaid’s
    free choice of provider requirement” are relevant to the State’s claims or
    to defenses to the State’s claims in this case.

    Lacking specificity. It is unclear what the term “the Government” means
    in this Interrogatory which is directed to the State, which is a
    “Government.”

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of Defendants
    termination from Texas Medicaid, which has been decided as a matter of
    law and which is not an issue in this case. This issue was decided when
    Defendants did not properly contest their status as terminated from
    Texas Medicaid. This has been recognized by the Fifth Circuit and the
    Honorable Judge Lora Livingston in Travis County District Court.

    Overbroad. This request is overbroad because of the objectionably very
    broad definition of “your” here which encompasses untold persons and
    entities who have nothing to do with any claims or defenses in this case.

    STATEMENT OF PRIVILEGES:

    Core Work Product, Common Interest, and Attorney/Client: This
    Interrogatory inquiring into “your communications with the
    Government” “regarding” Defendants’: “qualifications to provide
                                                                             13

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    Medicaid or Texas Medicaid services,” engaging “in practices that
    violated generally accepted medical standards” and misrepresentations
    about “fetal tissue procurements,” Texas’s termination of Defendants,
    and “whether the termination of each of the Planned Parenthood
    Affiliates from Texas Medicaid violates Medicaid’s free choice of
    provider requirement” asks for information which is covered by the
    attorney-client, common interest, and work product privileges and
    protections. This is especially true with the almost unlimited definition of
    “your.”

    Government Code Medicaid Investigative Privilege. This Interrogatory
    inquiring into “your communications with the Government” “regarding”
    Defendants’: “qualifications to provide Medicaid or Texas Medicaid
    services,” engaging “in practices that violated generally accepted medical
    standards” and misrepresentations about “fetal tissue procurements,”
    Texas’s termination of Defendants, and “whether the termination of each
    of the Planned Parenthood Affiliates from Texas Medicaid violates
    Medicaid’s free choice of provider requirement,” especially with its
    overbreadth, asks for information which is privileged under the
    Government Code Medicaid Investigative Privilege. Texas Government
    Code § 531.102(k) and Texas Government Code § 531.1021(g) (“All
    information and materials subpoenaed or compiled by the [OIG] office
    in connection with an audit or investigation or by the office of the
    attorney general in connection with a Medicaid fraud investigation are
    confidential and not subject to disclosure under Chapter 552, and not
    subject to disclosure, discovery, subpoena, or other means of legal
    compulsion for their release to anyone other than the office or the
    attorney general or their employees or agents involved in the audit or
    investigation conducted by the office or the attorney general, except that
    this information may be disclosed to the state auditor's office, law
    enforcement agencies, and other entities as permitted by other law.”).

    ANSWER:

    The State stands on its Objections and Statement of Privileges and will
    not answer this Interrogatory.

    8.    Describe in detail all investigations, reviews, or other inquiries
    conducted by Texas related to Texas’s termination of each of the Planned
    Parenthood Affiliates from Texas Medicaid. Your response should identify
                                                                             14

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    the persons involved in such investigations, reviews, or other inquiries and
    describe each person’s role in the investigations, reviews, or other inquiries.

    OBJECTIONS:

    Not relevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. Defendants’ terminations from Texas Medicaid, is not relevant
    to the State’s claims or to defenses to the State’s claims in this case.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of Defendants
    termination from Texas Medicaid, which has been decided as a matter of
    law and which is not an issue in this case. This issue was decided when
    Defendants did not properly contest their status as terminated from
    Texas Medicaid. This has been recognized by the Fifth Circuit and the
    Honorable Judge Lora Livingston in Travis County District Court.

    STATEMENT OF PRIVILEGES:

    Core Work Product, Common Interest, and Attorney/Client: This
    Interrogatory inquiring into “all investigations, reviews, or other
    inquiries conducted by Texas related to Texas’s termination” asks for
    information which is covered by the attorney-client, common interest,
    and work product privileges and protections. This is especially true with
    the almost unlimited definition of “Texas.”

    Government Code Medicaid Investigative Privilege. This Interrogatory
    inquiring into “all investigations, reviews, or other inquiries conducted
    by Texas related to Texas’s termination” asks for information which is
    privileged under the Government Code Medicaid Investigative Privilege.
    Texas Government Code § 531.102(k) and Texas Government Code §
    531.1021(g) (“All information and materials subpoenaed or compiled by
    the [OIG] office in connection with an audit or investigation or by the
    office of the attorney general in connection with a Medicaid fraud
    investigation are confidential and not subject to disclosure under Chapter
    552, and not subject to disclosure, discovery, subpoena, or other means
    of legal compulsion for their release to anyone other than the office or the
    attorney general or their employees or agents involved in the audit or

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    investigation conducted by the office or the attorney general, except that
    this information may be disclosed to the state auditor's office, law
    enforcement agencies, and other entities as permitted by other law.”).

    ANSWER:

    The State stands on its Objections and Statements of Privileges and will
    not answer this Interrogatory.

    9.     Identify each person with knowledge of the principal and material facts
    relevant to the allegations in your Complaint, including but not limited to,
    your allegations that any of the Planned Parenthood Affiliates are not qualified
    to provide medical services under Texas Medicaid, whether any of the
    Planned Parenthood Affiliates engaged in practices that violated generally
    accepted medical standards and if so which ones, whether any of the Planned
    Parenthood Affiliates engaged in misrepresentations about its activity relating
    to fetal tissue procurements and if so which misrepresentations, that Texas’s
    decision to terminate each of the Planned Parenthood Affiliates’ participation
    in Texas Medicaid was justified, that each of the Planned Parenthood
    Affiliates were effectively terminated from Texas Medicaid, at the latest, by
    February 1, 2017, that each of the Planned Parenthood Affiliates were
    obligated to repay to Texas Medicaid dollars it received in reimbursements,
    that each of the Planned Parenthood Affiliates were effectively terminated
    from Texas Medicaid, at the latest, by February 1, 2017. Your response should
    describe the facts about which each person has knowledge.

    OBJECTIONS:

    Not relevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. Neither Defendants’ “qualifications” and possible
    “misrepresentations,” “generally accepted medical standards,” “fetal
    tissue,” Defendants’ terminations from Texas Medicaid, nor “Medicaid’s
    free choice of provider requirement,” let alone any person’s knowledge
    of such, are relevant to the State’s claims or to defenses to the State’s
    claims in this case.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack on
                                                                                 16

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    Defendants’ termination from Texas Medicaid, which has been decided
    as a matter of law and which is not an issue in this case. This issue was
    decided when Defendants did not properly contest their status as
    terminated from Texas Medicaid. This has been recognized by the Fifth
    Circuit and the Honorable Judge Lora Livingston in Travis County
    District Court.

    ANSWER:

    Without waiving any Objections, the Complaint speaks for itself. The
    burden of deriving or ascertaining any relevant answers to the discrete
    subparts of this Interrogatory is substantially the same for the Defendant
    as it is for the State. Designated discovery has not been completed.

    10. Identify the sources of all information underlying your allegations in
    this case and for each source, describe what Texas learned from that source,
    state when Texas received information from and/or consulted the source, and
    identify any documents the source showed Texas, provided to Texas, or
    directed Texas to.

    OBJECTIONS:

    Not relevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. Neither “information” shared by “sources” nor “when Texas
    received that information” nor other requests are relevant to the State’s
    claims or to defenses to the State’s claims in this case.

    Overbroad. This request is overbroad because of the very wide definition
    of “Texas” which encompasses persons and entities here who have
    nothing to do with any claims or defenses in this case. The request to
    “describe what Texas learned,” and other details is also overbroad.

    STATEMENT OF PRIVILEGES:

    Core Work Product, Common Interest, and Attorney/Client: This
    Interrogatory inquiring into “what Texas learned from sources” and
    other details asks for information which is covered by the attorney-client,
    common interest, and work product privileges and protections.
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    Government Code Medicaid Investigative Privilege. This Interrogatory
    inquiring into “what Texas learned from sources” and other details asks
    for information which is privileged under the Government Code
    Medicaid Investigative Privilege. Texas Government Code § 531.102(k)
    and Texas Government Code § 531.1021(g) (“All information and
    materials subpoenaed or compiled by the [OIG] office in connection with
    an audit or investigation or by the office of the attorney general in
    connection with a Medicaid fraud investigation are confidential and not
    subject to disclosure under Chapter 552, and not subject to disclosure,
    discovery, subpoena, or other means of legal compulsion for their release
    to anyone other than the office or the attorney general or their employees
    or agents involved in the audit or investigation conducted by the office or
    the attorney general, except that this information may be disclosed to the
    state auditor's office, law enforcement agencies, and other entities as
    permitted by other law.”).

    ANSWER:

    See the Answer to RFP 1 in the State’s Responses to the Affiliated
    Defendants’ First Set of Requests for Production, and the State’s
    Complaint in Intervention. The burden of deriving or ascertaining any
    relevant and discoverable answers to the discrete subparts of this
    Interrogatory is substantially the same for the Defendant as it is for the
    State. Designated discovery has not been completed. Other than that
    Answer, the State stands on its Objections and Statements of Privileges
    and will not further answer this Interrogatory.

    11. Describe in detail your views, including the basis for those views,
    regarding whether a payment, to which a Medicaid provider is entitled at the
    time of payment, can become an overpayment based on a subsequent change
    in law and/or a judicial decision. See, e.g., Centers for Medicare & Medicaid
    Services, Medicare Program; Reporting and Returning of Overpayments, 81
    Fed. Reg. 7653, 7658 (Feb. 12, 2016) (“We agree that payments that were
    proper at the time the payment was made do not become overpayments at a
    later time due to changes in law or regulation, unless otherwise required by
    law.”).

    OBJECTIONS:


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    Not Relevant. Texas’s Complaint in Intervention is brought under
    Section 36.002(12) of the TMFPA, alleging the Defendants, and not any
    other Medicaid provider, knowingly and improperly avoided an
    obligation to repay money owed to Texas Medicaid. No relevant claims
    or defenses in this suit are related to Texas’s personnel’s “views
    regarding” payments, subsequent changes in law, judicial decisions,” etc.
    Such subsequent changes in law, judicial decisions, etc., speak for
    themselves and Texas personnel cannot change them, making the State’s
    personnel’s views not relevant to any of the State’s claims or defenses to
    the State’s claims in this case.

    Overbroad. This request is overbroad because of the very wide definition
    of “your” here which encompasses untold persons and entities who have
    nothing to do with any claims or defenses in this case.

    ANSWER:

    The State stands on its Objections and will not answer this Interrogatory.

    12. Identify every Texas Medicaid provider that Texas has terminated from
    Texas Medicaid from 2010 to the present. Your response should state the
    name of the provider, the reason(s) for the termination, the date of the
    termination, whether Texas requested or required repayment of any Texas
    Medicaid dollars that had been paid to the provider, and the amounts the
    provider returned, if any.

    OBJECTIONS:

    Not relevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. Defendants’ terminations from Texas Medicaid – an issue
    which has been decided as a matter of law – is not relevant to the State’s
    claims or to defenses to the State’s claims in this case. Equally, the
    termination of Medicaid providers who are not Defendants is not relevant
    to the State’s claims or to defenses to the State’s claims in this case. The
    number of, reasons for termination of, and any other facts surrounding
    the termination of Medicaid providers who are not Defendants is not
    relevant to the State’s claims or to defenses to the State’s claims in this
    case. Those facts cannot be the basis of defenses of disparate treatment,
                                                                             19

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    estoppel, or other common law defenses – which are not available against
    the State in this TMFPA action.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of Defendants
    termination from Texas Medicaid, which has been decided as a matter of
    law and which is not an issue in this case. This issue was decided when
    Defendants did not properly contest their status as terminated from
    Texas Medicaid. This has been recognized by the Fifth Circuit and the
    Honorable Judge Lora Livingston in Travis County District Court.

    ANSWER:

    The State stands on its Objections and will not answer this Interrogatory.

    13. For every former Texas Medicaid provider (whether affiliated to a
    Planned Parenthood Defendant or not) whose participation in Texas Medicaid
    was terminated from 2010 to the present on the basis that the provider was not
    qualified to provide medical services under Texas Medicaid, engaged in
    practices that violated generally accepted medical standards; and/or engaged
    in misrepresentations about its activity relating to fetal tissue procurements,
    identify the provider by name, state the date of the termination, describe the
    principal and material facts that lead to the provider’s termination, state
    whether Texas asked or required the provider to return amounts reimbursed
    under Texas Medicaid, and state the provider returned, if any.

    OBJECTIONS:

    Not relevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. The termination of Texas Medicaid providers “(whether
    affiliated to a Planned Parenthood Defendant or not)” is not at issue in
    this case. The issue of Defendants’ termination has been decided as a
    matter of law and is not relevant to the State’s claims or to defenses to
    the State’s claims in this case. Equally, the termination of Medicaid
    providers who are not Defendants is not relevant to the State’s claims or
    to defenses to the State’s claims in this case. The number of, reasons for
    termination of, and any other facts surrounding the termination of
    Medicaid providers who are not Defendants is not relevant to the State’s
                                                                                20

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    claims or to defenses to the State’s claims in this case. Those facts cannot
    be the basis of defenses of disparate treatment, estoppel, or other common
    law defenses – which are not available against the State in this TMFPA
    action.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of
    Defendants’ termination from Texas Medicaid, which has been decided
    as a matter of law and which is not an issue in this case. This issue was
    decided when Defendants did not properly contest their status as
    terminated from Texas Medicaid. This has been recognized by the Fifth
    Circuit and the Honorable Judge Lora Livingston in Travis County
    District Court.

    ANSWER:

    The State stands on its Objections and will not answer this Interrogatory.

    14. Describe in detail your efforts, if any, to determine whether providers
    under Texas Medicaid have engaged in fetal tissue procurement that, in your
    view, might render them unqualified to provide medical services under Texas
    Medicaid or might violate generally accepted medical standards. Your
    response should describe the extent to which Texas Medicaid providers are
    informed of any such efforts. Your response should also identify any Texas
    Medicaid providers identified as a result of these efforts and describe in detail
    Texas’s consideration of potentially terminating such providers, whether such
    providers were terminated, whether such providers asked or required to repay
    amounts reimbursed under Texas Medicaid, and the amounts returned, if any.

    OBJECTIONS:

    Not Relevant. Texas’s Complaint in Intervention is brought under
    Section 36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. “Fetal tissue,” “generally accepted medical standards,” and
    informing and terminating Medicaid providers are not relevant to the
    State’s claims or to defenses to the State’s claims in this case.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of
                                                                                  21

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    Defendants’ termination from Texas Medicaid, which has been decided
    as a matter of law and which is not an issue in this case. This issue was
    decided when Defendants did not properly contest their status as
    terminated from Texas Medicaid. This has been recognized by the Fifth
    Circuit and the Honorable Judge Lora Livingston in Travis County
    District Court.

    ANSWER:

    The State stands on its Objections and will not answer this Interrogatory.

    15. Describe in detail why Texas granted the Grace Period, including but
    not limited to its basis for its apparent assertion that granting the Grace Period
    is not inconsistent with its contention in the Texas Complaint that the Planned
    Parenthood Affiliates were obligated to repay Texas Medicaid dollars that it
    received during the Grace Period.

    OBJECTIONS:

    Not relevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. Texas’s Complaint does not seek payment of civil remedies
    from Defendants or any recovery of Texas Medicaid dollars paid to
    Defendants for services delivered during the Grace Period. This makes
    facts regarding that Grace period not relevant to any of the State’s claims
    or to defenses to the State’s claims in this case.

    ANSWER:

    The State stands on its Objections and will not answer this Interrogatory.

    16. Describe in detail your view on whether each of the Planned Parenthood
    Affiliates’ was a Texas Medicaid provider prior to January 4, 2021, whether
    each of the Planned Parenthood Affiliates’ was a Texas Medicaid provider
    between January 4, 2021 and February 3, 2021, and whether each of the
    Planned Parenthood Affiliates’ was a Texas Medicaid provider after February
    3, 2021. Your response should describe the basis for your views regarding the
    status of each of the Planned Parenthood Affiliates for each of the three time
    periods.
                                                                                   22

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    OBJECTIONS:

    Irrelevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
    Medicaid. The “view” of Texas personnel is not relevant to the State’s
    claims or to defenses to the State’s claims in this case.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of
    Defendants’ termination from Texas Medicaid, which has been decided
    as a matter of law and which is not an issue in this case. This issue was
    decided when Defendants did not properly contest their status as
    terminated from Texas Medicaid. This has been recognized by the Fifth
    Circuit and the Honorable Judge Lora Livingston in Travis County
    District Court. The “view” of Texas personnel cannot change that.

    Overbroad. This request is overbroad because of the very wide definition
    of “your” here which encompasses untold persons and entities who have
    nothing to do with any claims or defenses in this case.

    ANSWER:

    Without waiving its Objections, by operation of Texas law, after January
    2017 Defendants were not valid Texas Medicaid providers. For additional
    details, see the State’s Complaint in Intervention, and the Answer to RFP
    1, in the State’s Responses to the Affiliated Defendants’ First Set of
    Requests for Production. The burden of deriving or ascertaining any
    relevant answers to the discrete subparts of this Interrogatory from those
    sources is substantially the same for the Defendant as it is for the State.

    17. Describe in detail why Texas believes that the termination of each of
    the Planned Parenthood Affiliates from Texas Medicaid does not violate
    Medicaid’s free choice of provider requirement.

    OBJECTIONS:

    Not relevant. Texas’s Complaint in Intervention is brought under Section
    36.002(12) of the TMFPA, alleging the Defendants knowingly and
    improperly avoided an obligation to repay money owed to Texas
                                                                            23

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    Medicaid. Why anyone “believes” the termination of Defendants from
    Texas Medicaid does not violate Medicaid’s free choice of provider
    requirement” is not relevant to the State’s claims or to defenses to the
    State’s claims in this case.

    Improper collateral attack of decided issues. This Interrogatory seeks
    irrelevant information and is an improper collateral attack of
    Defendants’ termination from Texas Medicaid, which has been decided
    as a matter of law and which is not an issue in this case. This issue was
    decided when Defendants did not properly contest their status as
    terminated from Texas Medicaid. This has been recognized by the Fifth
    Circuit and the Honorable Judge Lora Livingston in Travis County
    District Court. The “belief” of Texas personnel, and certainly the details
    of that “belief,” cannot change that.

    Overbroad. This request is overbroad because of the very wide definition
    of “Texas” here which encompasses untold persons and entities who with
    their “beliefs” or otherwise have nothing to do with any claims or
    defenses in this case.

    ANSWER:

    The State stands on its Objections and will not answer this Interrogatory.

    18. If you deny any of the Requests for Admission issued by any of the
    Defendants in this case in full or in part, describe in detail the basis for your
    denial.

    OBJECTIONS:

    Discrete subparts. Each RFA answer will be a discrete subpart,
    functioning as a separate Interrogatory, under FRCP 33(a)(1).

    ANSWER:

    Without waiving its Objections, the State will answer this Interrogatory
    under the Rules and law at a reasonable time. The State has not answered
    Requests for Admission in this case, as designated discovery has not been
    completed. Each RFA answer here will be a discrete subpart, functioning
    as a separate Interrogatory under FRCP 33(a)(1).
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                              CERTIFICATE OF SERVICE

          I hereby certify that a true and accurate copy of the foregoing document

    was filed electronically via CM/ECF on July 1, 2022, causing electronic

    service on all counsel of record.

                                          /S/___Raymond Charles Winter___
                                                Raymond C. Winter




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